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                                      The Courts
In the Tel Aviv-Jaffa District Court               Serious Crime Case 1158/02


Before the panel:

The Honorable Judge Sarah Sirota, Deputy Presiding Judge
The Honorable Judge Avraham Tal
The Honorable Judge Dr. Amiram Benyamini




The State of Israel                                             The Prosecution
The Department for Criminal Matters, Security and Special
Affairs in the Attorney General’s Office
Represented by Counsel, D. Chen, R. Hazan and A. Bar-Natan


                            - v. -

Marwan Bin Khatib Barghouti                                       The Defendant
Born in 1959, Identity No. 959251745
Of Ramallah (in custody since April 15, 2002)
Represented by the Office of the Public Defender




                                      Verdict




                                                                [Stamp] Gilmore 00749

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                                                        Verdict

Part I:        Introduction




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1.   On August 14, 2002, an Indictment was filed against Defendant, which charged him with
     several counts of premeditated murder, in accordance with Section 300 (a) (2) of the
     Penal Code, 5737 – 1977 (hereinafter: “the Penal Code”); Accessory to murder, in
     accordance with Section 300 (a) (2) together with Section 31 of the Penal Code;
     Incitement to murder, in accordance with Section 300 (a) (2) together with Section 30 of
     the Penal Code; Attempted murder, in accordance with Section 305(1) of the Penal Code;
     Conspiracy to commit a crime, in accordance with Section 499 of the Penal Code;
     Activity and membership in a terrorist organization, in accordance with Sections 2 and
     3 of the Prevention of Terrorism Ordinance 5708 – 1948.

2.   The Indictment charges the Defendant with participation in [and] the organization and
     execution of acts of terrorism against Israeli targets, which commenced in September 2000,
     within the framework of the events that are referred to as the “Al Aqsa Intifada”
     (hereinafter – “the intifada”). According to that which has been alleged in the Indictment,
     the Defendant headed terrorist organizations in the region of Judea and Samaria: the
     “Fatah” Organization (hereinafter – the “Fatah”), the “Tanzim” Organization (hereinafter
     – the “Tanzim”) that is part of Fatah, and the “Al Aqsa Martyrs Brigades” Organization,
     which includes the groups of Tanzim terrorism operatives that perpetrate acts of terrorism
     against Israeli targets (hereinafter – “Al Aqsa Martyrs Brigades”). The Defendant was the
     one who coordinated between and communicated with the senior operatives in the field in
     all three of these organizations (which shall jointly be called the “Terrorist
     Organizations”) that were responsible for the perpetration of acts of terrorism against
     Israeli targets.

     The Indictment lists the names of eight senior terrorism operatives, who acted under the
     Defendant’s leadership and who perpetrated acts of terrorism. They are Nasser Aweis
     (hereinafter – “Aweis”), Ahmed Barghouti, Nasser Abu Hamid (hereinafter – “Abu
     Hamid”), Ra’ed Karmi (hereinafter – “Karmi”), Muhaned Diria (Abu Halawa),
     (hereinafter – “Muhaned”) Muhammad Musalah (Abu Satha) (hereinafter – “Abu
     Satha”), Mansour Shrim (hereinafter – “Shrim”) and Mahmoud Titi (hereinafter – “Titi”).

     The Defendant and the field commanders recruited operatives for the terrorist
     organizations, deployed them and supplied them with weapons, explosives and money. The
     Defendant was also involved in training the terrorism operatives for their purpose and
     raising funds for terrorist organizations. In addition, the Defendant solicited and
     encouraged the terrorism operatives to wage offensives against the State of Israel through
     the media, at various conferences and by way of the distribution of inflammatory posters.



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     Sections 8-15 of the Indictment charge the Defendant with involvement in and
     responsibility for the perpetration of 37 terrorist attacks and acts of terrorism, most of
     which were perpetrated within the borders of the State of Israel, by the field commanders
     and operatives during the period of time from December 2000 through April 2002, in
     which many civilians and soldiers of the State of Israel lost their lives and many more were
     injured. Some of the acts of terrorism have been set forth in the Indictment and most of
     them have been set forth only in the appendix thereto.

3.   The Prosecution’s evidence includes the testimony of officials from the defense
     establishment, Israel Security Agency interrogators and police officers who were involved
     in the interrogation of the Defendant; documents that were seized by the Israeli Defense
     Forces at the offices of the Fatah and at the office of the Defendant; Expert Opinions from
     specialists in the security forces with respect to the activities of the terrorist organizations
     and the status and the role of the Defendant in them; testimony that was given by
     operatives in the terrorist organizations and the information that they gave during their
     interrogations by the Israel Security Agency and the police; statements by the Defendant
     that were documented by Israel Security Agency personnel in written reports and, in some
     cases, were recorded and transcribed; things that Defendant said to agents who were
     planted in his cell during the course of the interrogation, as well as to his close associate,
     Ahmed Barghouti, who was arrested with him; statements that were made by the Defendant
     to the media prior to his arrest and the statements of the Defendant to the police.

     The transcripts of the interrogation of the Defendant by the Israel Security Agency were
     submitted by the Israel Security Agency interrogators who conducted the interrogation,
     which was recorded, and who identified the voice of the Defendant in the recording
     (“Mofaz”, on page 58, “Nadav”, on page 79, “Smith”, on pages 85 – 86, and “Danny”, on
     page 90). The Defendant’s conversation with Ahmed Barghouti was submitted by an
     interrogator by the name of “Robert” (on page 65). The recordings from the interrogation
     of the Defendant and the interrogations of agents John Doe No. 1 and John Doe No. 3 were
     transcribed by Natan Basso (on page 174).

     The Israel Security Agency interrogators who testified confirmed that the content of the
     transcript written during the course of the interrogation of the Defendant is accurate
     (Transcript Prosecution/6 – Prosecution/96). This refers to reports that were recorded in
     Hebrew, and which pertained to an interrogation that was conducted in Hebrew and in
     Arabic




                                                               [Stamp] Gilmore 00752 [continued]
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     (the Defendant speaks Hebrew well), in which the main points of the things that were
     stated by the Defendant were taken down (see the interrogator by the name of “Steve”, on
     page 53, the interrogator by the name of “Emil”, on page 55 and the interrogator by the
     name of “Ron”, on page 60).

4.   With respect to the statement of the Defendant to the police: indeed the Defendant declared
     throughout the course of his interrogations by the police, in contrast to his behavior during
     the course of his interrogation by the Israel Security Agency, that he denies the right of the
     police to interrogate him and that he therefore refused to answer the questions by an
     interrogator by the name ofs (see Statements Prosecution/99 – Prosecution/109). Therefore,
     the statements of the Defendant include many questions that were presented to him by an
     interrogator by the name of s and which he refused to answer. In a very few cases, the
     Defendant briefly related to what the interrogator said to him and, on those occasions, he
     completely denied all of the claims that were presented to him, including those to which he
     had confessed while being interrogated by the General Security Service. The Defendant
     denied that he was a leader of the Al Aqsa Martyrs Brigade or the Tanzim (Statement
     Prosecution/101 on page 6, Statement Prosecution/105 on page 2, Statement
     Prosecution/106 on page 3); he denied that he was acquainted with the terrorist operatives
     who testified that they were in contact with him (as shall be described below) and even
     denied that he was acquainted with Ra’ed Karmi (Prosecution/104 on page 8). All of these
     points were proven, as will be clarified below, not only by the statements by the field
     operatives but also by those of the Defendant himself, and the documents that were seized
     in his office, to which the Defendant denied any connection during the course of his
     interrogation, claiming that his handwriting does not appear on any of them (see Statement
     Prosecution/108 – Prosecution/109).

     The statements of the Defendant were submitted by an interrogator by the name of s David
     Zrihan and Rafi Nuriel (on pages 88 and 113), who explained that the Defendant had
     refused to sign the warning and the statement, because he was questioned in Hebrew.
     Zrihan even testified that the Defendant refused to give fingerprints or to be photographed.
     In his Statement Prosecution/106, the Defendant stated in general that all of the charges
     against him are incorrect and that he is innocent of any guilt.




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5.   At the outset of his trial, the Defendant set forth preliminary arguments with respect to the
     authority of this Court to judge him, and these arguments were rejected in the decision that
     was handed down by the Court, which was dated January 19, 2003 (on pages 1 – 34 of the
     transcript). The Defendant chose not to be helped by the services of a defense attorney and
     even strenuously and consistently rejected every attempt that was made by the Court to
     convince him to be assisted by the Office of the Public Defender or a defense attorney on
     his own behalf.

     In spite of this, the Court did assign the Office of the Public Defender to represent the
     Defendant, despite its repeated requests to be released from his representation, and for
     practical purposes, it does represent the Defendant even today and was present at all of the
     Court sessions. Notwithstanding, the Office of the Public Defender did choose to accede to
     the request of the Defendant that it not set forth any arguments on his behalf during the
     trial, including legal arguments, and that it not even examine the witnesses.

     The proceedings were conducted in this manner as per the wishes of the Defendant, who
     continues to deny the authority of this Court to judge him. For this reason, the Defendant
     also chose not to respond to the Indictment. In addition, the Defendant refrained from
     testifying himself or from bringing forth witnesses on his own behalf. In spite of this, the
     Defendant did occasionally respond to statements that were made by the witnesses or to
     arguments that were set forth by Counsel for the Prosecution during the course of the
     hearings, and his words were recorded in the transcript verbatim. In addition, the Defendant
     responded orally to the summations of the Prosecution (which were filed in written form,
     as well), in the context of the defense speech that he delivered within the framework of the
     summations, however he did not relate in a material manner to the essence of the charges
     that had been set forth against him. It would be superfluous to note that the Defendant
     received, through the Office of the Public Defender, all of the evidence, transcripts and
     summations.




                                                             [Stamp] Gilmore 00753 [continued]
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6.   The majority of the offenses that are the subject of the Indictment are “domestic crimes”
     that pertain to terrorist attacks that have been perpetrated in Israel, and some of them are
     “external crimes” that have been carried out in the Region (in other words: in Judea and
     Samaria). However, as we have clarified in the decision that was handed down in response
     to the preliminary arguments of the Defendant, Israeli Courts have the authority to rule in
     cases of external crimes against the security of the state or against an Israeli citizen or
     resident, regardless of the venue where the crime may have taken place (see Section 13 (a)
     – (b) of the Penal Code, 5737-1977). This is the same “protective application” that was
     intended in order to protect Israeli citizens and residents against acts of terrorism that have
     been carried out with the sponsorship and support of other countries (S. Z. Feller and M.
     Kremnizter, “Response to Article Condemning the Nationalist Application of a the Penal
     Code” in Plilim 5.1 (1996) 65, on page 83, and compare with the Expert Opinion of Y.
     Shoham, op cit., on page 5). Further, we have ruled in the decision that was handed down
     in response to the preliminary arguments of the Defendant that the conditions that have
     been set forth within the framework of Section 14 (b) of the Penal Code do not appear to be
     relevant to this matter, if they apply at all to the protective authority in Section 13 of the
     Penal Code (in contrast with the




                                                              [Stamp] Gilmore 00753 [continued]

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     personal authority in Section 14) insofar as the Palestinian Authority is not a state. The
     offenses that have been attributed to the Defendant in the Indictment are offenses against
     the security of the state, and against its citizens and residents, Therefore, they fall within
     the purview of Section 13 of the Penal Code, and this Court is competent to hear them.


Part II:      The Evidence
A.   The Fatah, the Tanzim and the Al Aqsa Martyrs Brigade as Terrorist Organizations

7.   During the course of his testimony (on page 38), the head of the Research Division of the
     Intelligence Branch of the Israeli Defense Forces, Brigadier General Y. Cooperwasser,
     filed an Expert Opinion in which he addressed the operations of the Fatah, the Tanzim and
     the Al Aqsa Martyrs Brigade (Prosecution/1). Appended to the expert opinion were
     captured documents that had been seized by the Israeli Defense Forces during Operation
     Defensive Shield that are pertinent in this regard. Since the “Fatah” (the inverted Arabic
     acronym of its name “The Movement for the Liberation of Palestine”) was founded by
     Yasser Arafat in 1959, it has espoused armed struggle against Israel, which has manifested
     in the form of the perpetration of terrorist attacks against Israeli targets in Israel and
     abroad. After the Oslo Accords were signed, the principle of “armed struggle” took on a
     marginal role, however it remained as an option for the achievement of the goals of the
     organization, in the event that negotiations with Israel were to prove unsuccessful. When
     the second intifada broke out in September 2000, the Fatah led the terrorist attacks in the
     territories, by way of the two Supreme Committees that manage its operations, one of them
     in the Judea and Samaria region and the second one in the Gaza Strip region. The
     Defendant headed the Supreme Committee in the Judea and Samaria region up until the
     day of his arrest (Sections 1 – 3 of the Expert Opinion).

     The operational echelon of the Fatah included the movement’s field operatives – the
     Tanzim (“the organization” in Arabic). The Tanzim operatives make up the forefront of the
     Fatah’s terrorist activity against Israel. The “Al Aqsa Martyrs Brigades” is a cover name
     for the terrorist organizations of the Fatah, which assume public responsibility for the acts
     of terrorism. Members of the Al Aqsa Martyrs Brigades are actually Fatah operatives and
     the majority of these organizations consider the Defendant to be a central source of
     authority for their operations (Sections 4 – 5 of the Expert Opinion).




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     The Tanzim and the Al Aqsa Martyrs Brigades constitute, in accordance with the Expert
     Opinion of Brigadier General Cooperwasser, the unofficial military arm of the Fatah,
     which was headed by the Defendant. A captured document that is appended to the Expert
     Opinion of Brigadier General Cooperwasser as Appendix A is a letter that was jointly
     signed by both the Tanzim and the Al Aqsa Martyrs Brigades.

     Other captured documents that have been appended to the Expert Opinion show that the Al
     Aqsa Martyrs Brigades asked Yasser Arafat for financial support (Document 2) and that
     the Fatah and Al Aqsa Martyrs Brigades are signatories to proclamations that were issued
     in praise of terrorist operations that have been carried out within the borders of Israel
     (Documents 3 – 5). Document 6, which was appended to the Expert Opinion, and which
     was sent on May 8, 2001, by the Al Aqsa Martyrs Brigades to the Defendant, lists the
     operations of the Al Aqsa Martyrs Brigades in the Jenin district (including a terrorist attack
     in Um el-Faham) and asks for assistance in the form of weapons, explosives and money, in
     order to continue in the perpetration of such operations. Other documents of the Al Aqsa
     Martyrs Brigades, which were addressed to Yasser Arafat, include requests for assisting
     wanted men who were being pursued by Israel and the families of operatives who had been
     killed (Appendix B and Documents 2 – 4 to this Appendix). Some of these documents had
     been written by the Defendant. It should be noted that the Defendant’s nickname, based on
     the name of his eldest son was “Abu Alkasam” (Defendant’s statement Prosecution/107,
     on page 1, and the manner in which Aweil addresses the Defendant on page 164).

8.   According to the Expert Opinion of Brigadier General Cooperwasser, Fatah operatives
     have perpetrated more than 1200 terrorist attacks against Israel (as of August 18, 2002) in
     which 176 Israelis have been killed and many more have been injured. These terrorist
     attacks included suicide [attacks] [and] the firing of mortar shells and light weapons.
     During the course of the intifada, the terrorist organizations of the Fatah moved
     increasingly towards the perpetration of suicide terrorist attacks within the borders of Israel
     (see Section 5 of the Expert Opinion). In the months that preceded Operation Defensive
     Shield, the Al Aqsa Martyrs Brigades perpetrated suicide terrorist attacks in Hadera,
     Jerusalem, Tel Aviv, Mehula, [Israeli Defense Forces Military] Base No. 80, the Maccabim
     roadblock, Netanya, Ashdod, Kfar Saba and Efrat. As a result, it was included in the
     American list of terrorist organizations that was dated March 27, 2002 (see Section 10 of
     the Expert Opinion and Appendix C, which lists the suicide terrorist attacks that have been
     perpetrated by the Fatah movement).




                                                              [Stamp] Gilmore 00754 [continued]

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9.    With respect to the Expert Opinion of Brigadier General Goldwasser, it should be noted
      that pursuant to the Rules of Evidence, we are not permitted to rely on intelligence
      assessments and conclusions that are based on various sources of information that have not
      been brought before the Court, insofar as these constitute hearsay testimony. We are
      allowed to rely on this Expert Opinion only to the extent that it is compatible with other
      admissible evidence that has been brought before us. Nevertheless, the terrorist operations
      of the three above mentioned organizations that are under the auspices of the Fatah, emerge
      clearly from a great deal of the direct evidence that has been presented in Court, including
      the confessions that the Defendant and other terrorist operatives have given during the
      course of their interrogations, as shall be set forth later on in this verdict, below.

      Nasser Abu Hamid, who was one of the senior field commanders in Judea and Samaria,
      said in his statement to the police (Prosecution/149 (8), on pages 2 – 3, 7 – 8, 13 – 17) that
      the Al Aqsa Martyrs Brigades was established on January 1, 2001, in order to serve as a
      militia for the Fatah and to carry out terrorist attacks against settlers and soldiers in the
      Israel Defense Forces. In the above mentioned statement, as well as in Statement
      Prosecution/149 (c)), he specified the terrorist attacks that had been perpetrated by his
      operatives against Israeli civilian and military targets, under the leadership and with the
      assistance of the Defendant (as shall be set forth below).

10.   It is also possible to learn about the operations of the above mentioned terrorist
      organizations from statements that were made by the Defendant during the course of his
      interrogation, as well as documents that were written in his handwriting. The Defendant
      explained the manner in which the cells that are called as “Al Aqsa Martyrs Brigades”
      operated, and which he said had carried out “military operations” (Prosecution/19 Section
      14, which was filed and approved by an interrogator by the name of by the name of
      “Mofaz”, on page 58). In the same manner, the Defendant explained, during the course of
      his interrogation, the manner in which the Al Aqsa Martyrs Brigades had been formed in
      the Judea and Samaria region, and how it and worked in an uncentralized fashion, He
      claimed that the Fatah did not supervise their activity; but he also admitted that these cells
      approached him in order to receive money because they considered him “the person who
      was in charge of the Fatah in the West Bank” (Transcript Prosecution/98 (e), on pages
      60 – 61). As shall be explained below, the terrorism operatives from the Al Aqsa Martyrs
      Brigades directed their requests for financial assistance for the purchase of weapons and
      the perpetration of terrorist attacks to the Defendant, who would subsequently approach the
      chairman of the Palestinian Authority and leader of the Fatah, Yasser Arafat, in their name
      and on their behalf. Hence, this makes the relationship between the Al Aqsa Martyrs
      Brigades and the Fatah clear, as well as the relationship between the Defendant and the Al
      Aqsa Martyrs Brigades.

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B.    The Status of the Defendant and His Position in Terrorist Organizations and His
      Support for Terrorist Attacks on Israel

11.   In his testimony, Brigadier General Goldwasser presented an additional Expert Opinion,
      which pertained to the involvement of the Defendant in terrorism (Prosecution/2). A series
      of appendices are attached to this Expert Opinion, which includes interviews that were held
      with the Defendant by different media outlets, as well as documents that were written by
      the Defendant or that were found in his office. This Expert Opinion is also subject to the
      note that has been set forth in Section 9 above, with respect to the admissibility of
      intelligence assessments that rely on information sources that have not been specified and
      that have not been brought before the Court. Therefore, in this respect as well, require
      independent, admissible evidence that has been set forth in Court.

12.   In the Expert Opinion of Brigadier General Goldwasser, Prosecution/2, it win accordance
      with that which has been set forththat the Defendant was head of the Fatah Supreme
      Committee in Judea and Samaria until the time of his arrest and that he accordingly served
      as the leader of the Fatah in the West Bank. This can be learned from the various
      documents that the Defendant wrote and which were written to him, and which are
      appended to Expert Opinions Prosecution/1 and Prosecution/2. In the above mentioned
      position, the Defendant constituted a central source of authority for senior members of the
      Fatah and served as a conduit connecting the chairman of the Palestinian Authority Yasser
      Arafat to the movement’s field echelons (Sections 1 – 2).

      It was further stated in the above mentioned Expert Opinion (see Section 4) that when the
      intifada broke out in September 2000, the Defendant played an extremely central role in
      leading the terrorism against Israel that was carried out by members of the Fatah, as well as
      in a general sense. His involvement manifested in a variety of different ways: First of all,
      the Defendant constituted a source of inspiration and created the policy for the terrorist
      attacks through personal meetings with terrorist operatives in the Fatah movement and by
      way of his public statements. Second, the Defendant was a source of authority and funding
      for terrorist operatives in the Fatah movement: he was perceived by the Al Aqsa Martyrs
      Brigades as the main leader of their operations, who served as a conduit that connected
      them to the chairman of the Palestinian Authority and who transferred sums of money to
      them that amounted to tens of thousands of shekels, for the purpose of terrorist activity.
      Third, the Defendant issued direct orders to terrorist operatives, on both the strategic level
      and on the tactical level, with respect to specific terrorist attacks.




                                                               [Stamp] Gilmore 00755 [continued]

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13.   During the course of his interrogation by the Israel Security Agency, the Defendant did not
      hide his clear position whereby the Fatah movement must be the one to lead “the armed
      struggle against Israel” and that this is the only way to achieve the goals of the Palestinian
      people after the failure of the peace process and after the Defendant himself had been a
      peace activist for many years (Transcript Prosecution/59, Sections 2-5, that was submitted
      and verified by an interrogator by the name of “Wadi”, on page 96). He made it clear that
      when he used the term “armed struggle” he was referring to terrorist attacks (Transcript of
      the Interrogation Prosecution/98 (k), on pages 2 – 3). The Defendant explained that the
      Fatah leaders feared a weakening of their power on the Palestinian street, in comparison to
      the Islamic movements and that this encouraged them to take a position that espoused
      terrorist attacks against Israel (Transcript Prosecution/21 Section 5, that was submitted and
      verified by an interrogator by the name of “Robert”, on page 63 (recorded in error the in
      the transcript Prosecution/41); Transcript Prosecution/23 Section 5, that was submitted and
      verified by an interrogator by the name of “Danny”, on page 90; Transcript Prosecution/27
      Sections 10-12 and Transcript Prosecution/55 Section 3 that were submitted and verified by
      an interrogator by the name of “Smith”, on page 85; Transcript Prosecution/30 Sections 8-
      12 and Transcript Prosecution/58 Section 5 that were submitted and verified by an
      interrogator by the name of “Emile”, on page 54; Transcript Prosecution/40 Section 15 that
      was submitted and verified by an interrogator by the name of “Mofaz”, on page 58;
      Transcript Prosecution/70 Section 3 that was submitted and verified by an interrogator by
      the name of “Steve”, on page 53).

      During the course of his interrogation, the Defendant said that “his declared position is
      for armed struggle against the Israeli occupation and that anyone who has a weapon
      should perpetrate terrorist attacks, this is the general position” (Prosecution/23 Section
      5, see also Transcript Prosecution/6 Section 11 – 12 that was submitted and verified by an
      interrogator by the name of “Robert”, on page 62). He explained that in accordance with
      his perspective, terrorist attacks that will be painful for Israel will promote peace and will
      cause Israelis to understand that they have something to lose (Prosecution/40 Section 15,
      and Prosecution/70 Section 4). The Defendant made it clear that from his point of view
      Israelis who live in settlements are an enemy that should be attacked (Transcript
      Prosecution/63, Section 16, that was submitted and verified by an interrogator by the name
      of “Naor”, on page 82). He even said that terrorist attacks against settlers in Judea and
      Samaria are legitimate even when they involved women and children (Transcript
      Prosecution/6 Section 13 that was submitted and verified by an interrogator by the name of
      “Robert”, on page 62; Transcript Prosecution/7 Section 2 that was submitted and verified
      by interrogators by the names of “Tzadok” and “Ofir”, on pages 83, 87).



                                                               [Stamp] Gilmore 00756 [continued]

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      The Defendant reiterated repeatedly during the course of his interrogation that in the debate
      that was taking place between the Authority and the Fatah with respect to the type of
      terrorist attacks against Israel, Arafat and he espoused a policy whereby terrorist attacks
      should be focused against the Israeli Defense Forces and the settlers, while other leaders
      such as Abu Ala and Abu Mazen opposed any type of violence; only a few members of the
      Fatah supported terrorist attacks within Israel (Prosecution/27 Sections 12 – 13;
      Prosecution/30 Section 8; Prosecution/70 Section 3). Despite the opposition of Arafat and
      the Defendant to terrorist attacks within Israel, they lost control of the cells and field
      operatives during the intifada (Transcript Prosecution/55 Section 3 (f), that was submitted
      and verified by an interrogator by the name of “Smith”, on page 85).

14.   The Defendant’s position, as it has been set forth above, is also manifested within the
      framework of his statements during interrogations, that have been transcribed. The
      Defendant explained his position that suicide terrorist attacks should not be perpetrated
      within Israel, saying that terrorist attacks against the settlements are the same as terrorist
      attacks against the army and there was no argument on this point within Fatah.
      Notwithstanding, he did confess that during the period of time that immediately preceded
      his arrest, the Fatah did begin to perpetrate suicide terrorist attacks within Israel and even
      confirmed that the Fatah had been drawn into this activity in order not to leave control of
      the field in the hands of the Islamic organizations (Prosecution/98 (d), on pages 27 – 29).
      The Defendant explained that he personally disagreed with any activity within Israel but
      that he supported “the armed struggle against the Israeli occupation” and did this publicly
      on television (Prosecution/98 (g), on pages 7, 10).

      The Defendant confirmed that during the five months that had led up to his arrest, the Fatah
      had assumed a central role in the escalation of violence and had led the war; the Defendant
      did not deny that he had taken part in this (Prosecution/98 (l), on page 35; Prosecution/98
      (d), on pages 3 – 4).

      During the course of the interrogation, the Defendant emphasized that he had supported the
      peace accords and worked on their behalf for 10 years but the escalation in violence was
      caused, he claimed, by a lack of hope that a political solution could be reached with Prime
      Minister Sharon (Prosecution/98 (l), on pages 44 – 45). The Defendant even expressed his
      opinion that the Palestinians had made a mistake when they rejected Israel’s proposal and,
      especially, the proposal of President Clinton at the Camp David summit, because if they
      had accepted those proposals, they would now have an independent state (Transcript
      Prosecution/95 that was submitted and verified by an interrogator by the name of “Ofir”,
      on page 87).


                                                               [Stamp] Gilmore 00756 [continued]

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15.   It is also possible to learn about the position of the Defendant with respect to terrorist
      attacks and his role in the perpetration of terrorist attacks against Israel by the Fatah from
      the conversations that he had with the agents who were planted in a cell. The agent who
      was referred to as John Doe No. 1 introduced himself to the Defendant as a Palestinian
      from Nablus. He reported the things that the Defendant had told him to Israel Security
      Agency interrogators after the conversations had taken place, and these were recorded in
      the transcript that was taken down by the Israel Security Agency interrogators who had
      testified in the trial (“Robert”, on page 154, “Mickey”, on page 155, “Ofir”, on page 156
      and “Mofaz”, on page 157). In addition, John Doe No. 1 testified himself (on pages 101 –
      107). John Doe No. 1 testified that he read all of the reports that had been recorded by
      Israel Security Agency agents with respect to his conversations with the Defendant, and
      that he had confirmed their content (on page 105). The agent, John Doe No. 3, operated and
      was employed in a similar matter. He also identified the voice of the Defendant on the
      recording Prosecution/124 (b) (see his testimony on pages 107 – 110 and in the exhibits
      Prosecution/122 – Prosecution/125).

      According to the testimony of John Doe No. 1, the Defendant had told him that he was the
      one who had established the Al Aqsa Martyrs Brigade and that he was in charge of that
      organization (on page 106). In the transcript that was written on the basis of his oral
      statements (Prosecution/117 that was submitted and verified by an interrogator by the name
      of “Robert”, on page 154), John Doe No. 1 said that the Defendant told him that the
      intifada had actually been planned because of the political situation, the expansion of the
      settlements, the continued occupation and pressure from Palestinians in the territories and
      that the visit of Ariel Sharon on the Temple Mount was only “the straw that broke the
      camel’s back” and ignited the intifada that would have happened anyway (see also
      Transcript Prosecution/25 Section 18, that was submitted and verified by an interrogator by
      the name of “Mofaz”, on page 58).




                                                                           [Stamp] Gilmore 00757

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    After the incident on the Temple Mount, the Fatah security apparatus asked Arafat to order
    the halting of the intifada, but Arafat did not respond. The Defendant himself said that he
    left the meeting in a fury in light of the request and that he is hated by the apparatus
    because he “dragged the people into an escalation of the situation.” The Defendant told
    John Doe No. 1 that the purpose of the intifada was to attack soldiers and settlers in order
    to cause their departure, and in order to prove to the world that the Palestinians are fighting
    the occupation. However, after Israel had begun its policy of targeted assassinations, and
    especially after it targeted Ra’ed Karmi, the Fatah began to act within Israel, with the
    objective of harming civilians and in order to cause damage to the Israeli economy and
    tourism and to exert pressure on the Israeli street to pressure the government to withdraw
    from the territories (op. cit., Sections 12 – 13, 17, 20 – 21). Similarly, the Defendant told
    John Doe No. 1 that, from his perspective, terrorist attacks constitute self-defense for the
    Palestinians, who are willing to extend a hand in peace, and that suicide terrorist attacks are
    an outcome of the occupation and the condition of the Palestinians in the territories
    (Transcript Prosecution/110 Sections 22, 27).

    The position of the Defendant in support of the continuation of the intifada was further
    expressed in the letter that he had sent to Yasser Arafat on December 31, 2000
    (Prosecution/5 (42a)).




                                                             [Stamp] Gilmore 00757 [continued]

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16.   With respect to Fatah’s policy on terrorist attacks, the Defendant explained, during the
      course of his interrogation, that when Arafat was interested in a cease fire he would take
      pains to convey the guideline to many different people, including the Defendant; but that
      when he was interested in the continuation of the activity, he would make sure that the
      operatives, including the Defendant, would understand this from his responses and
      especially from his non-responses. The Defendant said: “If he (Arafat) for example did
      not want a cease fire, he would take care of matters differently. He would not say
      anything at all” (Transcript Prosecution/24 Section 3 (b) that was submitted and verified
      by an interrogator by the name of “Smith”, on page 85, and the transcript of the
      interrogation of the Defendant Prosecution/98 (i), on pages 32-33). The Defendant said that
      Arafat had never explicitly ordered him to carry out terrorist attacks. Notwithstanding, he
      did add that from the fact that Arafat only opposed the perpetration of terrorist attacks
      within Israel, it was possible to understand that he supported terrorist attacks in the
      territories and therefore he did not order that they be stopped; on several occasions, Arafat
      stated in the media that “a million shahids [martyrs] are on their way to Jerusalem” and
      the Defendant asked rhetorically whether the statement wasn’t a statement of support for
      terrorist attacks (Transcript Prosecution/60 Section 4-7 that was submitted and verified by
      an interrogator by the name of “Emile”, on page 54; Transcript Prosecution/61 Sections 1 –
      8 that was submitted and verified by an interrogator by the name of “Mickey”, on page 81;
      Transcript Prosecution/62 Sections 3-5 that was submitted and verified by an interrogator
      by the name of “Danny”, on page 90).

      The Defendant explained that there was no need for direct orders from Arafat in order to
      carry out terrorist attacks since this was self-evident between the lines (Transcript
      Prosecution/63 Sections 11-13 that was submitted and verified by an interrogator by the
      name of “Naor”, on page 82). The Defendant added that even if the intifada had not
      commenced at the order of Arafat, it would not have continued if he did not support it,
      even though was not necessary for him to give explicit orders with respect to the
      perpetration of terrorist attacks (Transcript Prosecution/64 that was submitted and verified
      by an interrogator by the name of “Robert”, on page 62, and Prosecution/66 that was
      submitted and verified by an interrogator by the name of “Emile”, on page




                                                              [Stamp] Gilmore 00757 [continued]

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    54). It should also be noted that the Defendant understood that Arafat supported the
    terrorist attacks from the fact that Arafat would approve the financial requests that he
    submitted for the Fatah field operatives who were implementing the terrorist attacks
    (Transcript Prosecution/70 Section 17 (h) that was submitted and verified by an
    interrogator by the name of “Steve”, on page 53). The Defendant described his connection
    to Arafat as “personal and direct” (Transcription of Conversation Prosecution/98 (h), on
    page 55).

    It became evident that the Defendant also had his own way to inform members of the cells
    of the cessation or renewal of terrorist attacks. During the course of his interrogation, he
    explained that when he wanted a cease fire he would make contact with the large cells,
    although it would happen that there would be people who would not obey his order; when
    the Defendant was interested in renewing fire, he would announce it on television by
    calling for an “armed struggle.” When he was asked how he would announce his desire to
    renew attacks, the Defendant answered:

           “I do not want fire, I talk on television if I want peace, meaning I do not
           call up some random person and say ‘Hey, do a terrorist attack for us.
           Hey, do this or that for us.’ That is not the way we work. I speak in the
           name of the movement and I am actually calling for an intifada when I
           call for an armed struggle” (Prosecution/98 (h), on page 3).

    In spite of these statements on the part of the Defendant, it emerges from the testimony of
    terror operative Aweis that the Defendant did instruct him to cease the perpetration of
    terrorist attacks during the visit of the United States emissary Anthony Zinni (see below).
    From the testimony of Agent John Doe No. 1 during his questioning, subsequent to his
    conversations with the Defendant, it transpires that the Defendant had expressed great
    anger about the fact that Aweis had provided this information during the course of his
    interrogation (Transcript Prosecution/113 (a), Sections 8-9, Transcript Prosecution/114 (a)
    Section 8 that were submitted and verified by an interrogator by the name of “Robert”, on
    page 154). In addition, evidence was set forth with respect to other situations in which the
    Defendant had issued direct orders to terrorist operatives who were close to him, in order to
    carry out terrorist attacks against Israelis (see below).




                                                                        [Stamp] Gilmore 00758

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17.   At the outset of his interrogation by the Israel Security Agency, the Defendant denied that he
      was a leader of the Tanzim and the Al Aqsa Martyrs Brigades, but confirmed that he was the
      person in charge of the military operations of the Fatah (Transcript Prosecution/17 Section 6,
      which was submitted and verified by an interrogator by the name of “Arbel”, on page 80,
      Transcript Prosecution/43 Section 6 that was submitted and verified by an interrogator by the
      name of “Robert”, on page 62, and a Transcript of the Interrogation Prosecution/98 (a), on
      pages 43-44). The Defendant claimed that the Brigades were nothing more than scattered cells
      throughout the area of the West Bank and that they did not have any orderly organizational
      structure or central command (Transcript of Conversation Prosecution/98 (e), on pages 60-
      61). The Defendant also said during the course of his interrogation that Arafat was effectively
      his direct commander and superior and he defined himself as “responsible for all of the
      operations of the Fatah in the West Bank itself because he was secretary general of the
      organization in the West Bank” (Prosecution/24 Section 3 (b), 5).

      The Defendant confirmed that he was the leader of Fatah in the “field” while Yasser Arafat
      held the position of the head of the Fatah (Transcript of Conversation Prosecution/98 (a),
      on page 67). In this manner, the Defendant also explained during the course of his
      interrogation the fact that members of the cells approached him with requests for money
      because they considered him the “commander” as well as “the person who was in charge
      of the Fatah in the West Bank,” insofar as he was the political spokesperson of the
      movement and because he maintained a policy and a position that supported the
      continuation of the struggle against the occupation (Transcript of Conversation
      Prosecution/98 (e), on pages 3-4, 61; Prosecution/98 (d), on pages 33-35). The Defendant
      explained how he was seen in the eyes of cell members when he said: “I am their
      commander and they consider me to be their symbol.” He also confirmed that there is
      no one else whom they consider to be their leader (Prosecution 98 (i), on pages 6-7).

      In statements that he made during the course of his trial, the Defendant claimed more than
      once that he was “political leader” of the Fatah and emphasized his position as secretary
      general of Fatah in the West Bank, as well as the fact that he is a member of the Palestinian
      Parliament [Legislative Council]. He also made these claims at the outset of his interrogation
      by the Israel Security Agency. During the course of his interrogation by the police, the
      Defendant also denied that he was in charge of the Tanzim or the Al Aqsa Martyrs Brigades
      (Prosecution/106, on pages 3, 6). Notwithstanding, during the course of his interrogation by
      the Israel Security Agency, the Defendant admitted that he was the commander of the Fatah in
      the West Bank and the commander of the Tanzim (Transcript Prosecution/18 Section 3 that
      was submitted and verified by an interrogator by the name of “Nadav”, on page 78), that he
      established the Al Aqsa Martyrs Brigades and was responsible for their operations; for this
      reason he objected to the activity of the security forces belonging to the Palestinian Authority
      (in accordance with statements by John Doe No. 1 in Transcript Prosecution/117 Section 15,
      which was submitted by an interrogator by the name of “Robert”, on page 154).

                                                                [Stamp] Gilmore 00758 [continued]

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    The Defendant told Agent John Doe No. 3 in their conversation that he was indeed
    responsible for the Fatah and for the Al Aqsa Martyrs Brigades but that he was “not crazy
    to sign” his name on a piece of paper where that would be written; when the agent asked
    the Defendant if he was, In spite of this, responsible for the acts of the terrorists, the
    Defendant responded that he was indeed responsible but “not stupid enough to tell this to
    the interrogators” (Transcript Prosecution/123, on page 2, which was submitted by an
    interrogator by the name of by the name of “Ofir”). In a meeting between the Defendant
    and Ahmed Barghouti when they were arrested, which was recorded without their
    knowledge, the Defendant told Ahmed that he said during the course of his interrogation
    that he has no connection to the Al Aqsa Martyrs Brigades. The two laughed and Ahmed
    advised the Defendant to say that only he – Ahmed – had a connection to the Brigades; the
    Defendant responded that he had said during the course of his interrogation that he would
    have fired Ahmed if he knew that he had a connection to the Al Aqsa Martyrs Brigades and
    Ahmed laughed when he heard this (Transcription of Conversation Prosecution/127 (c) on
    page 87).

    The Defendant confirmed during the course of his interrogation that beyond being a
    political leader he was also in charge of the military aspects of the Fatah (Transcript
    Prosecution/59 Section 6 that was submitted and verified by an interrogator by the name of
    “Wadi”, on page 96). The Defendant defined himself as “in charge of all the activity of
    the Tanzim in the Fatah in his region” (Transcription of Conversation Prosecution/98 (d)
    on page 42). He even confessed that he was “in charge of everything done including
    supplying money to the cells, purchasing weapons and carrying out terrorist attacks”
    (Transcript Prosecution/29 Section 1 (c) that was submitted and verified by an interrogator
    by the name of “Smith”, on page 85) and that he was considered “military commander”
    and “in charge of the military aspects of Fatah,” in addition to being a political leader
    and elected official (Transcript Prosecution/19 Section 2 and Transcript Prosecution/59
    Sections 5-6, which were submitted and verified by an interrogator by the name of
    “Mofaz”, on page 58).

    The Defendant said that in the year prior to his arrest, “I began to find myself more
    involved in dealing with issues of weapons and explosives and issues of military
    operations” (Transcript Prosecution/25 Section 19, which was submitted and verified by
    an interrogator by the name of “Mofaz”, on page 58; see also Transcript of Conversation
    Prosecution/98 (d) on page 15). He explained that he was required to take part in “military
    operations” in order to control the Palestinian street and push the Hamas and Islamic Jihad
    aside, so that in the future, he could point to himself as someone who had been in favor of
    both peace and war (Transcript Prosecution/52, which was submitted and verified by an
    interrogator by the name of “Smith”, on page 85).

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C.    Testimony of Terrorism Operatives from the Movement for the Liberation of
      Palestine with Respect to Their Relationship with the Defendant, His Involvement in
      Terrorist Attacks and the Defendant’s Responses to this Testimony

18.   The Prosecution does not claim that the Defendant initiated or took a direct part in the
      perpetration of the terrorist attacks that are the subject of the Indictment, since it is aware
      of the fact that the evidence indicates that the field commanders and field operatives were
      given broad authority and much room for maneuvering when carrying out terrorist attacks,
      and that they were not required to obtain the Defendant’s approval for each terrorist attack.
      The Prosecution also agrees that the Defendant did not know in advance about each
      individual terrorist attack: he was aware of the activities of the field commanders and field
      operatives subordinate to him in a general way, and that they were acting in accordance
      with the terrorist attack policy that he had helped design; sometimes he was informed
      before a terrorist attack and sometimes only afterwards (on page 47 of the Prosecution
      Summation).

      As is shown by the evidence described below, the Defendant was the leader of terror cells
      that were part of Tanzim and Al Aqsa Martyrs Brigades. At least some members of these
      cells followed his orders and acted in accordance with policy that he set. In addition, it
      clearly emerges from the evidence that the Defendant assisted the commanders of the cells
      and terrorism operatives by supplying weapons, explosives and funding. In several cases,
      the Defendant approved terrorist attacks against Israel in advance. Therefore, this Chapter
      will examine who the terrorist operatives who acted under the Defendant’s leadership were
      and the relationship of the Defendant to these operatives. The next Chapter will examine
      the terrorist attacks in which these terrorism operatives were involved and the degree of the
      Defendant’s connection to them.

(1) Nasser Aweis

19.   Nasser Aweis (hereinafter – “Aweis”), is one of the senior terrorism operatives of the
      Tanzim in the Nablus region. As result of his activity, he was sentenced by this Court to 14
      terms of life imprisonment and another 50 cumulative years in prison (Prosecution/172 (a)
      – (b)). In his testimony (on pages 180 – 182), Aweis refused to answer questions, and after
      he was declared a hostile witness, his police statements were submitted in accordance with
      Section 10 (A) of the Rules of Evidence (Prosecution/172 – Prosecution/177). The only
      thing that Aweis was willing to say in his testimony was that everything that was recorded
      in his statement were lies of the Israel Security Agency and that the handwriting that
      appears in his statement is also that of Israel Security Agency personnel. He claimed that
      he suffered through very difficult means of interrogation.


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      The statements that Aweis made to the police were written in his handwriting and
      translated into Hebrew by an interrogator by the name of who gathered the statements,
      confirmed them and even testified that the statements were made by Aweis of his own free
      will (Advanced Staff Sergeant Ronny Amar on pages 191 – 192). Similarly, reports
      prepared by the Israel Security Agency of Aweis’s statements during interrogation were
      also submitted (Prosecution/178 (a) – (d)). These were verified by the Israel Security
      Agency interrogators who testified that Aweis said what he said of his own free will, even
      though this document is only a summary rather than a word for word transcript of his
      words (“Ariel”, on page 203, “Adi”, on page 204, “Yoel”, on pages 204 – 205). Transcript
      Prosecution/178 (c) was recorded by an interrogator by the name of “Zadok” who did not
      refer to it in his testimony (on pages 83 – 84) and did not return to testify after Aweis’s
      testimony and therefore should be ignored.

20.   Aweis says in Statement Prosecution/172 (b) (on pages 1 – 2), which is written in his own
      handwriting, that after the Al Aqsa intifada began in September 2000, he began to carry out
      terrorist attacks against Israeli targets while also serving in the Palestinian national security
      forces in Nablus with the rank of captain (Nakiv). He perpetrated shooting terrorist attacks
      and other terrorist attacks against Israeli targets in the Judea and Samaria region and also
      within Israel. In his Statements Prosecution/172 – Prosecution/174, he lists these attacks,
      which included shooting on military posts and military vehicles; transferring weapons and
      explosives to others in order for them to perpetrate suicide terrorist attacks in Jerusalem,
      Netanya and Hadera, etc.

21.   In his statement, Aweis said that he perpetrated the terrorist attacks in the name of the Al
      Aqsa Martyrs Brigades and explained that this organization belongs to the Fatah movement
      and the Tanzim Fatah (Prosecution/172 (b), on page 3). Aweis said that funding for the
      terrorist attacks came from Tanzim personnel and that the Defendant himself funded the
      weapons for the terrorist attacks in which




                                                                [Stamp] Gilmore 00760 [continued]
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      he, Aweis, was involved – sometimes directly and sometimes through Majad Almitzri –
      knowing that Aweis carried out terrorist attacks against Israeli targets. In one case, the
      Defendant gave Aweis a check that had been approved by Chairman Arafat (on pages 6 –
      7). Aweis also said during the course of his interrogation that he was in contact with the
      Defendant for an extended period of time; when asked if the Defendant knew that he was
      carrying out terrorist attacks against Israeli targets, he answered (on pages 4-5):

             “Yes he knows and my name was also publicized in newspapers, on
             television and on the radio and I would speak with him occasionally and
             when the political situation deteriorated and was bad for us, he asked
             that we continue the terrorist attacks and when Shimon Peres and
             Omri Sharon met with leaders from the Authority, Marwan Barghouti
             called me and asked us to stop the terrorist attacks… During that
             period, Zinni was in the area and Marwan said that it would be
             preferable not to carry out terrorist attacks in the name of the Al Aqsa
             Martyrs Brigades while General Zinni was meeting with leaders of the
             Authority. It should be noted that when the talks progressed, no
             terrorist attacks were perpetrated.”

      Speaking to Agent John Doe No. 1, the Defendant expressed anger that Aweis had spoken,
      under interrogation, about the Defendant’s behavior during General Zinni’s visit to the
      region (Prosecution/113 (a) Sections 8 – 9, Prosecution/114 (a) Section 8, which were
      submitted and verified by an interrogator by the name of “Robert”, on page 154; and
      transcript of the interrogation of the Defendant Prosecution/98 (h), on page 3).

22.   With respect to his relationship with the Defendant, Aweis said in his Israel Security
      Agency interrogation that he had submitted requests for assistance from several field
      operatives to the Defendant and that he himself had received money from the Defendant
      three times (Transcript Prosecution/178 (a) Section 10). The Defendant was a supervisor in
      the Tanzim and sometimes transferred financial assistance to himself and to other
      operatives, after receiving approval from Chairman Arafat (Prosecution/178 (b) Section
      10). Generally, Aweis received the money from the Defendant through the middleman
      Majad Almitzri but sometimes the Defendant would send him money directly; Aweis did
      not usually tell the Defendant the purpose of the money, but throughout the West Bank, the
      nature of Aweis’s activity was well-known (Prosecution/178 (d) Section 5 (k)).




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      Aweis said during the course of his interrogation that the terrorist attacks of the Tanzim
      were perpetrated with the knowledge and assistance of the Tanzim leadership. After the
      terrorist attack in the Hadera banquet hall and the entire time that they were discussions
      with Israel they would give orders to cease the terrorist attack; however when the talks did
      not progress, the operatives renewed the terrorist attacks until they were given a new order
      by their leaders to stop them. In this framework, the Defendant gave orders to cease the
      terrorist attacks during the visit of General Zinni and leaders from Russia and Europe in
      Israel (Prosecution/170 8 (d) Section 5 (j)).

23.   Aweis’s description of his relationship with the Defendant, in accordance with that which
      has been set forthduring the course of his interrogation, is supported by comments that the
      Defendant made during his Israel Security Agency interrogation. When the Defendant and
      Aweis met during their interrogation (Prosecution/79 (b)) and Aweis began to read his
      police statement, the Defendant ordered him to say that it was a forgery, and indeed Aweis
      quickly said this (interrogator “Zadok”, on page 84). However, the Defendant himself
      confirmed during interrogation that Aweis was the most senior military operative of the
      Tanzim Fatah in Nablus and was in charge of Al Aqsa Martyrs Brigades in Nablus
      (Transcript Prosecution/90 Section 7, which was submitted and verified by an interrogator
      by the name of “Steve”, on page 53). The Defendant admitted that he knew that Aweis was
      involved in extensive “military operations” and when he wanted to ensure that the terrorist
      attacks were halted, he would contact Aweis and instruct him to cease the terrorist attacks
      (Transcript Prosecution/24 Section 6, which was submitted and verified by an interrogator
      by the name of “Smith”, on page 85; and Transcript of Conversation Prosecution/98 (i) on
      pages 2 – 3).

      The Defendant admitted that he sent Aweis, through Majad Almitzri and Ahmed
      Barghouti, approximately 20,000 New Israeli Shekels (NIS) and possibly even NIS 50,000
      – NIS 70,000 in order to finance his activities and that he had received approval for this
      from Chairman Arafat, but without noting the purpose of the financial aid (Transcript
      Prosecution/19 Section 16, which was submitted and verified by an interrogator by the
      name of “Mofaz”, on page 58; Transcript Prosecution/38 Section 4, which was submitted
      and verified by an interrogator by the name of “Smith”, on page 85; Transcripts
      Prosecution/40 Section 8 and Prosecution/41 Section 9, which were submitted and verified
      by an interrogator by the name of “Mofaz”, on page 58; Conversation Transcript
      Prosecution/98 (i) on pages 3-4). The Defendant even admitted




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      that some of the money that he gave Aweis was intended for the purchase of 1,000 bullets
      for an M-16 rifle and for a Galil-type rifle and even declared that he “takes responsibility
      for all of the money that Nasser (Aweis) had obtained for the funding of terrorist
      attacks in the Occupied Territories, for the purchase of weapons and ammunition”
      (Prosecution/41 Sections 6 – 9).

      The Defendant also confirmed during the course of his interrogation that Aweis operated
      cells that were organized under the command of the Defendant (Transcript Prosecution/29
      Section 1, which was submitted and verified by an interrogator by the name of “Smith”, on
      page 85). However, the Defendant emphasized that he himself did not order Aweis to carry
      out terrorist attacks (Transcript Prosecution/31 Section 6). In spite of this, Agent John Doe
      No. 1 testified that the Defendant told him that he had given Aweis orders to carry out
      terrorist attacks (on page 104).

      The Defendant also admitted that subsequent to the terrorist attack in Neve Ya’akov or on
      the Atarot Bridge (the Defendant could not remember which) Aweis sent him the poster
      taking responsibility and the Defendant approved it in a conversation with Aweis
      (Transcript Prosecution/49 Section 7, which was submitted and approved by an interrogator
      by the name of “Emile”, on page 54; and Transcript Prosecution/52 that was submitted and
      verified by an interrogator by the name of “Smith”, on page 85).

(2) Nasser Naji Abu Hamid

24.   Nasser Abu Hamid (hereinafter – “Abu Hamid”) is one of the senior terrorism operatives
      of the Tanzim and Al Aqsa Martyrs Brigade in the Jerusalem and Ramallah and he, too,
      was subordinate to the Defendant and received assistance from him in order to carry out
      terrorist attacks against Israel. For this activity, Abu Hamid was sentenced, on the basis of
      his confession, to seven life sentences and another 50 consecutive years in prison
      (Prosecution/148 (a) – (b)). In his testimony, Abu Hamid refused to answer any questions;
      he was declared a hostile witness and his police statements were submitted in accordance
      with Section 10 (A) of the Rules of Evidence (on pages 40 – 41). These statements
      (Prosecution 149 (a) – (d)) were submitted by the police interrogators Ibrahim Elkura’an,
      Ya’akov Barazani and Moshe Levy (on pages 194 – 195, 207, 211) who testified that Abu
      Hamid gave them of his own free will and signed them. The statements were made in
      Hebrew, at the request of Abu Hamid, whom the interrogators said speaks Hebrew well.




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25.   In his statement, Abu Hamid listed the murderous terrorist attacks against Israelis in which
      he was involved, and said that he approached the Defendant for financial assistance in
      order to purchase ammunition, and that the Defendant had referred him to his associate,
      Ahmed Barghouti, who is known as “The Frenchman,” who did in fact give Abu Hamid
      money for the purchase of weapons and ammunition on several occasions (Prosecution/149
      (a), on page 9; Prosecution/149 (c), on pages 5 – 6). Other members of Abu Hamid’s cell
      also approached the Defendant for money in order to purchase weapons (Prosecution/149,
      on page 6). At a certain stage, Abu Hamid asked the Defendant to pay for the purchase of a
      machine gun, and he eventually was given money for this purpose by Ahmed Barghouti
      (Prosecution/149 (c), on page 7). Abu Hamid also said that the Defendant met with a
      weapons dealer with respect to the purchase of hand grenades but in the end they were only
      shock grenades (on pages 7 – 8).

      Abu Hamid said that he established the Al Aqsa Martyrs Brigade after the beginning of the
      intifada in December 2000 (on page 4). He explained that he received an offer to join the
      cell that was under the leadership of the head of the Palestinian Authority’s security
      agency, Tawfik Tirawi, but that he preferred the Defendant’s offer that he be subordinate to
      him and receive a salary for himself and his men, since he considered the Defendant “a
      political leader who would not lie” (Prosecution/149 (a), on pages 15 – 16).

      After that, Abu Hamid recruited additional operatives to support the Defendant, established
      the Al Aqsa Martyrs Brigades and began to carry out terrorist attacks against Israel Defense
      Forces roadblocks and settlers (on page 17). With respect to the Defendant, he said that he
      considered him “a political leader” although he himself was a member of the military
      branch of the organization (on page 17). When the commander of the cell was killed, Abu
      Hamid introduced the successor to the Defendant (Prosecution/149, on page 7).

      In one of his statements, Abu Hamid related an event at which he was present, together
      with other members of the cell, and one of them told the Defendant of his intention to
      perpetrate a terrorist attack in the Nablus area, and asked the Defendant for assistance in
      purchasing a weapon and a car. He also asked the Defendant to contact Aweis for him so
      that he could help him with the terrorist attack. Abu Hamid said the Defendant contacted
      Aweis who did indeed help the cell perpetrate a terrorist attack; after the terrorist attack he
      reported to the Defendant that in an encounter with Israel Defense Forces soldiers, the cell
      members lost their weapons, and the Defendant promised to take care of the matter
      (Prosecution 149 (c), on page 9).




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      Towards the end of 2001, when mortar shells began to be fired at Israeli settlements, Abu
      Hamid discussed with the Defendant the necessity of obtaining mortars with a larger range.
      Abu Hamid approach the Defendant in order to finance the purchase of mortar shells but
      the Defendant answered that they were too expensive and that “he has a surprise” in this
      regard and Ahmed Barghouti would explain; the latter explained to Abu Hamid that they
      already had a mortar and shells (Prosecution/149 (c), on page 10). Abu Hamid also
      reported to the Defendant that mortars shells had been fired at the settlement Psagot and the
      Defendant asked him not to tell anyone about and said that if Arafat knew he would jail
      him (on page 11).

26.   From the statements of Abu Hamid, it is possible to get the impression that he tried to
      prevent the Defendant from becoming directly involved in terrorist attacks and that he even
      told other operatives not to ensnare the Defendant in their actions, since the Defendant
      needed to remain “a political leader” (Prosecution/149 (c) on pages 8 – 9, 12). In the
      context of Abu Hamid’s attempts to cover up the involvement of the in terrorist attacks, he
      also tried to minimize the involvement of Ahmed Barghouti in the murder of Talia and
      Benyamin Kahane, of blessed memory, who were killed with the weapon that Ahmed
      Barghouti had given to the terrorist (Prosecution/149 (d), on page 5; see also details of the
      incident in Chapter E (1) below).

27.   The Defendant admitted during the course of his interrogation that he had instructed Ali
      Aidiya (his finance person) to purchase weapons and explosives for Tanzim activities and
      to transfer them to Abu Hamid. During the course of his interrogation, the Defendant also
      referred to the event that Abu Hamid had described in the statement, with respect to the
      purchase of non-functional hand grenades (Transcript Prosecution/43 Sections 2 – 5, which
      was submitted and verified by an interrogator by the name of “Robert”, on page 62). The
      Defendant admitted that the cells that had been led by Abu Hamid had received assistance
      from him totaling approximately NIS 40,000 (Transcript Prosecution/63 Section 20, which
      was submitted and verified by an interrogator by the name of “Naor”, on page 82). The
      Defendant said that when he made the strategic decision to carry out terrorist attacks, he
      established the cell, while the terrorist attacks were led by, inter alia, Abu Hamid
      (Transcript Prosecution/35 Section 1, which was submitted and verified by an interrogator
      by the name of “Danny”, on page 90). When the Defendant was asked during the course of
      his interrogation who were the people who belonged to the terrorist cells under his control,
      he said of Abu Hamid: “he is considered by me” (Transcription of Conversation
      Prosecution/98 (k), on page 34, where it mistakenly says “Ahmed” in the Hebrew instead
      of Abu Hamid).



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(3) Ahmed Barghouti

28.   Ahmed Barghouti (who is known as “the Frenchman”) is a family member of the
      Defendant and was his close assistant, in addition to being the Defendant’s driver and
      bodyguard (see his Statement Prosecution/165 (a) on page 1; and Transcript
      Prosecution/165 (f), which was submitted and verified by an interrogator by the name of
      “Adam” and “Danny”, on pages 200-201).

      During the course of his interrogation, Ahmed Barghouti said that he had been under the
      complete direct control of the Defendant (Transcript Prosecution/165 (j), which was
      submitted and verified by an interrogator by the name of “Adam”, on page 201). It is not a
      coincidence that Ahmed Barghouti was arrested together with the Defendant, since his
      name appears in the evidence in many contexts related to the terrorist attacks perpetrated
      by the field operatives of the Tanzim and Al Aqsa Martyrs Brigades.

      Ahmed Barghouti refused to answer any questions during his testimony (on pages 161-
      163), and after he was declared a hostile witness, his police statements were submitted in
      accordance with Section 10 (A) of the Rules of Evidence (Prosecution/165 (a)-(e)).

      These statements were submitted and verified by the police officers David Mizrahi,
      Yitzchak Ya’akoboff and Moshe Moshe (on pages 171, 184 and 206-207). The
      interrogators testified that they interrogated Ahmed Barghouti in Arabic but that they wrote
      down his testimony in Hebrew (which is not in accordance with that which is accepted and
      required). All of the interrogators testified that he gave all of the statements of his own free
      will.

      Similarly, a document was submitted that was written by Ahmed Barghouti in his own
      handwriting and in Arabic and was translated (Prosecution/165(c) (1 – 2)). During the
      course of his interrogation, he admitted that the handwriting in this document is his
      handwriting (Mizrahi, on page 185). In addition, Israel Security Agency interrogators
      submitted the transcripts that were taken down during the interrogation of Ahmed
      Barghouti (Prosecution/165 (f)-(p), which were submitted and verified as follows:
      Prosecution/165 (f) by “Adam”, on page 201 and by “Danny”, on page 200;
      Prosecution/165 (j) by “Adam”, on page 201; Prosecution/165 (m) by




                                                                [Stamp] Gilmore 00763 [continued]

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      “Adam”, on page 201; Prosecution/165 (n) by “Danny”, on page 200). Transcripts
      Prosecution/165 (g) – (h), Prosecution/165 (k) – (l) and Prosecution/165 (p) were not
      mentioned in the testimony of any of the Israel Security Agency interrogators, “Mickey,”
      “Arbel,” “Adam” and “Dekel” and therefore they are to be ignored.

29.   Ahmed Barghouti said during the course of his interrogation that he and Aweis were in
      charge of the Al Aqsa Martyrs Brigades during the year preceding his arrest (Statement
      Prosecution/165 (e)). In his statement he also related his direct and indirect involvement in
      terrorist attacks that have been carried out against Israel and about the weapons and vehicle
      that he supplied to the field operatives who went out to carry out the various terrorist
      attacks in the Judea and Samaria area and also within Israel, including suicide terrorist
      attacks.

      With respect to the terrorist attack at the restaurant Seafood Market in Tel Aviv, Ahmed
      Barghouti said when he received the announcement that the terrorist Ibrahim Hasouna
      would soon depart for the terrorist attack, and when he was told that he had already
      departed with his escort, he called the Defendant and told him about this; the Defendant
      authorized the terrorist attack before it was carried out but gave orders that it should not be
      perpetrated in Israel but rather than the territories; Ahmed Barghouti told him, “It will be
      okay” (Transcript Prosecution/165 (m), which was submitted and verified by an
      interrogator by the name of “Adam”, on page 201; and Transcript Prosecution/165 (n),
      which was submitted and verified by an interrogator by the name of “Danny”, on page
      200). Immediately after the terrorist attack at Seafood Market, in which Ahmed Barghouti
      himself was personally involved, he called the Defendant at 3:15 a.m. and reported to him
      about perpetration of the terrorist attack; the Defendant sounded annoyed (Statement
      Prosecution/165 (c) on page 1, Transcript Prosecution/165 (n)). According to Ahmed
      Barghouti, the Defendant told him to tell Aweis not to take responsibility for this attack
      before speaking with the Defendant, since the Defendant was interested in wording the
      announcement (Prosecution/165 (d) on page 1, Transcript Prosecution/165 (n)) Ahmed
      Barghouti was asked why he reported on the terrorist attack to the Defendant and he
      answered: “I reported to Marwan Barghouti in the usual manner.”




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30.   During the course of his interrogation, Ahmed Barghouti also spoke about the terrorist
      attack at the gas station in Givat Ze’ev, which was carried out as revenge for the targeted
      assassination of Ra’ed Karmi. He claimed that he asked that the perpetrator, Abu Satha, not
      inform the Defendant about it in advance. However, Abu Satha did discuss it with the
      Defendant and the Defendant told him not to carry out the terrorist attack, apparently
      because he feared for the life of Abu Satha, who was his bodyguard (Transcript
      Prosecution/165 (c) on page 2 and Transcript Prosecution/165 (m) that was submitted and
      verified by an interrogator by the name of “Adam”, on page 201). This is one example of
      Ahmed Barghouti’s efforts during the course of his interrogation to cover up the
      Defendant’s actions, since the Defendant himself took responsibility for this terrorist attack
      during his own interrogation and it is clear from his statements that he gave orders for its
      perpetration (see Sections 66 (5) and Chapter E (7), below).

      In another instance that Ahmed Barghouti related during the course of his interrogation, the
      Defendant rejected the request of the young 15 year old woman to perpetrate a suicide
      terrorist attack, saying, “She is too young to do this”, and instructed Ahmed Barghouti
      that to tell her that (Prosecution/165 (c), on page 4; and Transcript Prosecution/165 (m)
      Section 2 (j), which was submitted and verified by an interrogator by the name of “Adam”,
      on page 201). A similar version emerges from the comments of the Defendant during the
      course of his interrogation (Transcript Prosecution/25 Sections 6 – 7, which was submitted
      and verified by an interrogator by the name of “Smith”; on page 85, and the transcript of
      the Interrogation Prosecution/98 (j), on pages 8 – 9).

      In an additional incident described by Ahmed Barghouti, Jihad Jawara called the Defendant
      and asked to commit a terrorist attack, and Defendant told him not to do it in Israel or in
      Jerusalem. However, Jawara left the car bomb that exploded the following day next to the
      Malha Mall in Jerusalem despite the Defendant’s orders (Prosecution/165 on page 18).
      This description was confirmed by the Defendant during the course of his interrogation
      (see Section 66 (e) and Chapter E (20), below).

31.   Throughout the course of his entire interrogation, Ahmed Barghouti showed a clear
      tendency to minimize the Defendant’s involvement in various terrorist attacks. When he
      referred to the Defendant by name he would usually do so in order to say that the
      Defendant opposed the perpetration of the terrorist attack. However, Ahmed Barghouti did
      confirm in the statement, which he wrote by his own hand, that a series of field operatives
      in the cells received money from office of the Defendant, with his knowledge, and that the
      money received from the Defendant was used, by himself and by others, to carry out
      terrorist attacks (Statement Prosecution/165 (c) (1) on page 6, Statement Prosecution/


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      165 (c) on page 2 and Statement Prosecution/165 (m) Sections 2 (c) and 2 (g) that was
      submitted and verified by an interrogator by the name of “Adam”, on page 201).

      Similarly, it is clear from the statements that were made by Ahmed Barghouti that the
      Defendant would occasionally instruct him to cease or to postpone the perpetration of a
      terrorist attack (Transcript Prosecution/165 (m) Section 2 (g), which was submitted and
      verified by an interrogator by the name of “Adam”, on page 201). From this, it becomes
      apparent that in other cases, they were perpetrated with the Defendant’s authorization, even
      if he did not know in advance about each and every terrorist attack.

32.   At the beginning of his interrogation, the Defendant tried to protect his family member,
      Ahmed Barghouti, and he claimed that he had been arrested with him because he “just
      happened to be passing by” (Transcript Prosecution/9 Section 10 that was submitted and
      verified by an interrogator by the name of “Robert”, on page 62). The Defendant claimed
      that Ahmed Barghouti had stopped working for him as a driver eight months before his
      arrest and that there was no connection between them with regard to the perpetration of
      terrorist attacks (Transcript Prosecution/10 Section 1, which was submitted and verified by
      an interrogator by the name of “Danny”, on page 90; and Transcript Persecution/21 Section
      23, which was submitted and verified by an interrogator by the name of “Robert”, on page
      63). In his police interrogation, Defendant claimed that Ahmed Barghouti was neither his
      secretary nor his bodyguard (Prosecution/104 on page 4). In a meeting between the
      Defendant and Ahmed Barghouti at the time they were arrested, which was recorded
      without their knowledge, the two coordinated their positions with respect to the
      interrogation, and Ahmed Barghouti told the Defendant that he had claimed during the
      course of his interrogation that he is not connected to the Defendant but only served as his
      driver; the Defendant said he told them the same thing (Transcription of Conversation
      Prosecution/127 (c) on pages 2-3). Ahmed Barghouti told the Defendant at that meeting
      exactly what he had said during the course of his interrogation with respect to the
      Defendant and his relationship to the various terrorist attacks that Ahmed Barghouti
      mentioned during the course of his interrogation (on page 4).




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    However, during his Israel Security Agency interrogation, the Defendant confirmed that he
    knew that Ahmed Barghouti was connected to several cells and the perpetration of many
    terrorist attacks against Israel, and that when he wanted to stop the terrorist attacks, he
    would also tell this to Ahmed Barghouti. He claimed that he had told Ahmed Barghouti
    that he “does not permit” carrying out terrorist attacks within Israel (Transcript
    Prosecution/98 (k) on pages 18-20). The Defendant said that there was coordination
    between himself and Ahmed Barghouti, which included reporting and providing money,
    and that he considered Ahmed Barghouti in charge of military operations in the Ramallah
    region, together with Abu Hamid, and that the two would carry out terrorist attacks by
    using several cells (Transcript Prosecution/27 Sections 2-3 that was submitted and verified
    by an interrogator by the name of “Smith”, on page 85).

    The Defendant admitted that he gave money to Ahmed Barghouti and supported his
    activity although he claimed that Ahmed Barghouti did not report to him prior to the
    perpetration of terrorist attacks (Transcript Prosecution/98 (h) on pages 3, 17, 20-24; and
    Transcript/24 Section 4, which was submitted and verified by an interrogator by the name
    of “Smith”, on page 85).

    The Defendant admitted that Ahmed Barghouti would report to him subsequent to
    carrying out terrorist attacks (Transcript Prosecution/98 (g) on pages 19-25, 40; Transcript
    Prosecution 98 (k) on page 9). In his conversation with Agent John Doe No. 1, the
    Defendant said that Ahmed Barghouti dispatched four suicide terrorist attacks with his
    approval (Testimony of the agent on page 106). These statements are consistent with those
    stated by the Defendant during the course of his interrogation when he took responsibility
    for several terrorist attacks that he had personally authorized (see Section 66, below).




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    The Defendant did not hide the fact that he had given Ahmed Barghouti tens of thousand of
    dollars for the purchase of a variety of weapons, including assault rifles and pistols, for
    members of the cells that mounted terrorist attacks against Israel. Ahmed Barghouti was
    responsible, on behalf of the Defendant, for the purchase of the weapons. He worked under
    the command of the Defendant and was in charge of “military operations” in the Ramallah
    region. The Defendant admitted that he knew that Ahmed Barghouti was connected to
    terrorist attacks against Israel, including the terrorist attacks in Jerusalem and at the
    Seafood Market restaurant in Tel Aviv (with respect to all of these see: Transcript
    Prosecution/23 Sections 4-5 that was submitted and verified by an interrogator by the name
    of “Danny”, on page 90; Transcript Prosecution/25 Sections 10-11 that was submitted and
    verified by an interrogator by the name of “Mofaz”, on page 58; Prosecution/27 Sections 2,
    4 and Prosecution/29 Section 1 that were submitted and verified by an interrogator by the
    name of “Smith”, on page 85; Prosecution/28 Section 4 that was submitted and verified by
    an interrogator by the name of “Abu Wadi”, on page 96; Prosecution/65 Section 4 and
    Prosecution/70 Section 9 that were submitted and verified by an interrogator by the name
    of “Steve”, on page 53; see also the Defendant’s comments in Transcript Prosecution/98
    (g) on pages 2-6, Transcript Prosecution/98 (h) on pages 20-24, Prosecution/98 (j) on pages
    10-11 and Prosecution/98 (k) on page 8).

    In order to summarize the relationship between the Defendant and Ahmed Barghouti,
    it can be stated that the connection of the Defendant with terrorism operatives was through
    his family member and close associate, Ahmed Barghouti. As the Defendant stated when
    he was being questioned about Ahmed: “He makes contact with the cells, both directly
    and indirectly. That is to say that without him I would not have direct communication
    with any




                                                           [Stamp] Gilmore 00765 [continued]

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      cells” (Transcript Prosecution/98 (k) on page 8). When the Defendant was asked during
      questioning who headed the terrorist cells that operated under his control, the Defendant
      said, “Ahmed Barghouti was partially under my control and partially worked with
      Nassar (Aweis)” (Transcript of Conversation Prosecution/98 (k) on page 34).

(4) Muhammad Musalah (Abu Satha)

33.   Muhammad Musalah “Abu Satha” (hereinafter – “Abu Satha”) was another field operative
      who headed a cell that perpetrated murderous terrorist attacks. He was also the Defendant’s
      bodyguard for a time and his close associate. For this activity, Abu Satha was convicted, on
      the basis of his confession, and sentenced to nine cumulative terms of life imprisonment
      (Prosecution/155 (a) – (c)). In his testimony, Abu Satha began by stating that he did not
      have any connection with the Defendant and the Defendant was “a political person” who
      had no connection to the “military operations.” Beyond this, Abu Satha was not willing to
      answer any other questions and therefore was declared a hostile witness and his police
      statements Prosecution/156 (a) – (c) were submitted in accordance with Section 10 (A) of
      the Rules of Evidence (on pages 66 – 68). The Statement Prosecution/156 (a) was not
      submitted by an interrogator by the name of to whom it was given (the police officer
      Ya’akov Barazani) and therefore should be ignored. The Statements Prosecution/156 (b) –
      (c) that were submitted and verified by the police officers Marco Dahan and Moshe Levi
      (on pages 198, 210) who testified that the statements were given by Abu Satha of his own
      free will. The interrogation was conducted in Arabic but the statements were written in
      Hebrew (which is not in accordance with that which is accepted and required).

      In his statement, Abu Satha describes the terrorist attacks that he perpetrated and from his
      statements it becomes apparent that Ahmed Barghouti, the Defendant’s close assistant, was
      involved in many of them in a concrete manner.

34.   The Defendant confirmed during the course of his interrogation that Abu Satha worked in
      his office and operated under his responsibility, through Ahmed Barghouti, and that he
      knew that Abu Satha had carried out various terrorist attacks against civilians in Givat
      Ze’ev and Pisgat Ze’ev (Transcript Prosecution/30 Sections 2 – 3, which was submitted
      and verified by an interrogator by the name of “Emile”, on page 54, Prosecution/98 (k) on
      page 35). When the Defendant was asked about the leaders of the terrorist attacks cells that
      operated under his control, he included Abu Satha among them, and said “I am not
      running away from this” (Transcript Prosecution/98 (k) on page 34).




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(5) Jamal Ahawil

35.   Jamal Ahawil (hereinafter – “Ahawil”) was an additional field operative who assisted the
      Defendant and was his contact person in the Jenin refugee camp.

      Ahawil was not willing to answer any questions during the course of his testimony; he was
      declared a hostile witness and his police statements were submitted Prosecution/166, in
      accordance with Section 10 (A) of the Rules of Evidence (on pages 164 – 165), by the
      police officer Matans Hadad to whom it was made (on page 169). Ahawil gave his
      statement in his own handwriting and Hadad translated it into Hebrew.

      Ahawil operated within the framework of the Al Aqsa Martyrs Brigades and stated during
      the course of his interrogation that he had received financial, among other, assistance from
      the Defendant and that he would distribute this money to other operatives, including some
      operatives who were wanted by the Israel Defense Forces; some of the money was used for
      the purchase of weapons (Prosecution/166 on page 1). Ahawil was in continuous contact
      with the Defendant and would report to him about the operations of the Al Aqsa Martyrs
      Brigades and on offenses in the Jenin camp; sometimes operatives from these Brigades
      would report to the Defendant directly, as was the case with Aweis (Prosecution/166 on
      page 5).

      The Defendant, in his police interrogation, denied that he was acquainted with Ahawil
      (Prosecution/106 on page 6). However, while being interrogated by the Israel Security
      Agency, the Defendant did say that Ahawil was a leader from the Jenin refugee camp and a
      member of the Al Aqsa Martyrs Brigades that belong to the cells of Aweis. The Defendant
      was well acquainted with Ahawil but claimed that he never gave him weapons or money,
      although




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      Ahawil had asked him for assistance; the Defendant explained that he worked with Aweis,
      and Aweis was the one who would answer Ahawil’s requests (Transcript Prosecution/31
      Sections 7 – 9, which was submitted and verified by an interrogator by the name of
      “Mofaz”, on page 58). Similarly, the Defendant confirmed that he sent requests for
      assistance from Ahawil to Arafat (Transcript Prosecution/67 Section 4 that was submitted
      and verified by an interrogator by the name of “Emile”, on page 54).

(6) Nasser al-Shawish

36.   Nasser al-Shawish (hereinafter “Shawish”) was another operative who was involved in
      terrorist attacks that were carried out by the Al Asqa Martyrs Brigades. For this activity he
      was convicted, on the basis of his confession, and sentenced to four cumulative life
      sentences (Prosecution/157 (a) – (d)). Shawish refused to answer any questions during his
      testimony but did claim that the Defendant was a political leader who did not have any
      connection to “military affairs.” He was declared a hostile witness, denying the things that
      he said during the course of his interrogation and even claimed that he had not admitted
      anything (on pages 69 – 71). Shawish’s Statements Prosecution/158 (a) – (b) were
      submitted in accordance with Section 10 (A) of the Rules of Evidence by the police
      officers Matans Hadad and Awad Ataaf to whom it was made (on pages 165, 168).

      Reagarding his statement he testified that it was written in Arabic in his own handwriting,
      of his own free will, and translated into Hebrew by an interrogator by the name of s. Police
      officer Hadad testified that he was present at the trial of Shawish and that he verified his
      statement before his conviction, since he did not have a defense attorney.

37.   During the course of his interrogation (Statement Prosecution/158 (a), on page 6 and
      Statement Prosecution/158 (b), on pages 2 – 4) Shawish said that he had received an
      explosive belt weighing approximately 18 kg from the headquarters of the Counter-
      intelligence Force in Ramallah in order to store it in his car. Later, he met the Defendant at
      the hospital where his wife was being treated and Defendant asked to speak with him
      privately. During the course of their conversation, he was asked by the Defendant if he was
      acquainted with anyone who knew how to prepare an explosive belt or any one who had an
      explosive belt. At that time, Shawish called the person who had given him the explosive
      belt (Muzid Almitzri) called him and received his agreement for giving it to the Defendant.
      The Defendant informed him that Ahmed Barghouti would discuss the matter with him.
      The next day Ahmed Barghouti called Shawish and the latter gave him the explosive belt.
      Shawish heard later that day that the person who was carrying the belt had been caught in
      Jerusalem on his way to perpetrate a suicide terrorist attack.



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      Shawish was asked during the course of his interrogation if the Defendant knew about the
      suicide terror attacks and military operations. He answered that the day before the suicide
      terrorist attack was carried out by Mohammed Hashayka, Shawish met with the Defendant
      and told him that a person named Abed al-Kareem was supposed to be sending the suicide
      bomber to Israel; the Defendant told Shawish to call him if he needed anything for the
      terrorist attack and gave him $600 and asked to be informed of details of the terrorist attack
      (on pages 6 – 7). The terrorist attack was carried out in Jerusalem, and then the Defendant
      called Shawish, who told him that the terrorist attack had been perpetrated by the Al Aqsa
      Martyrs Brigades. The Defendant asked him to bring him the videotape of the suicide
      [bomber] Hashayka (on pages 6 – 7 of statement Prosecution/158 (a)). In his second
      statement Prosecution/158 (b), Shawish related the financial assistance that he received
      from the Defendant (on page 5).

38.   The Defendant denied in his police interrogation that he was acquainted with Shawish and
      in his statement he also denied the statements made by Shawish (Prosecution/106 on pages
      7 – 9). No additional evidence was presented to us with respect to the events that Shawish
      described during the course of his interrogation and therefore they are not supported and it
      is not possible to use them to support findings.

(7) Ali Aidiya

39.   Ali Aidiya (hereinafter – “Aidiya”) was a Tanzim operative who was primarily involved in
      training young people in the use of weapons, and in this matter he received orders from the
      Defendant. Similarly, he participated in shooting terrorist attacks aimed at soldiers. Aidiya
      refused to answer any questions during his testimony and claimed that the Defendant was a
      “man of peace” (on pages 169 – 171). Therefore, he was declared a hostile witness and his
      Statement Prosecution/168 was submitted in accordance with Section 10 (A) of the Rules
      of Evidence by the police officer Ya’akov Barazani to whom it was made in Arabic and
      who translated it into Hebrew (on page 208).




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40.   During the course of his interrogation, Aidiya spoke of the Defendant’s participation in the
      shooting course for young people (Prosecution/168, on pages 1 – 2) and the terrorist attacks
      that he himself perpetrated. Similarly, Aidiya said: “The head of the Tanzim Marwan
      Barghouti would know about all of the shooting incidents that have been carried out
      by Tanzim operatives beforehand and would approve them” (on page 5). He noted that
      several months before his arrest, the Defendant asked him “to buy a weapon of any type”
      and transfer it by way of Abu Hamid (Transcript Prosecution/43 Section 3, which was
      submitted and verified by an interrogator by the name of “Robert”, on page 92), which
      supports what Aidiya said during the course of his interrogation.

(8) Ismail Radaida, Muhaned Abu Halawa and Khamal Abu Wahr

41.   Ismail Radaida (hereinafter – “Radaida”) wanted to perpetrate a terrorist attack and
      approached the Defendant for that purpose. He perpetrated the shooting terrorist attack near
      Ma’ale Adumin, where the Greek Orthodox monk Germanos Tsibouktzakis [Translator’s
      note: as written], of blessed memory, was murdered (see Chapter E (3), below). For his
      terrorist activity, Radaida was convicted, on the basis of his confession, and sentenced to
      life in prison and another 20 consecutive years’ imprisonment. In his testimony in this case
      (on pages 42 – 44), Radaida refused to answer questions; he was declared a hostile witness
      and his police statement was submitted on the basis of Section 10 (A) of the Rules of
      Evidence (Statements Prosecution/151 (a) – Prosecution/151 (c), handwritten Statement
      Prosecution 151 (d) that was torn, reconstructed and translated and the recording in which
      Radaida reenacted the murder of the monk and its transcript – Prosecution/151 (a)).

      Radaida’s statement was submitted by an interrogator by the name of s Marco Dahan and
      Yitzchak Ya’akoboff who heard his statement in Arabic but recorded in Hebrew (which is
      not in accordance with that which is accepted and required), and testified that it was given
      by Radaida of his own free will. Radaida wrote his Statement Prosecution/151 (d) in his
      own handwriting, in the presence of Ya’akoboff (on pages 171, 198). The person who
      conducted the re-enactment (Marco Dahan) made no reference to this fact in his testimony
      and therefore the recording of the re-enactment is not to be considered, as it is an external
      statement of a witness that was not submitted as required by law.




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42.   In his first statement, Radaida (Prosecution/15 (a)) said that he decided to perpetrate the
      terrorist attack when he saw on television that a Palestinian baby girl had been killed, and
      therefore he went to the office of the Defendant. The conversation between them was held
      in private and Radaida told the Defendant that he wanted to perpetrate the terrorist attack
      and demanded a weapon for that purpose. The Defendant referred Radaida to a person
      named Muhaned (Abu Halawa) who is known as “Alea” (hereinafter – “Muhaned”) and
      instructed Muhaned to obtain a weapon for Radaida. In his second statement
      (Prosecution/15 (b)), Radaida added that he made it clear to the Defendant that he required
      the weapon in order to carry out terrorist attacks against Israeli targets, and then the
      Defendant referred him to Muhaned. Muhaned told Radaida that that he would obtain two
      Kalashnikov rifles for him and that from now on his contact would be with Muhaned and
      not with the Defendant. About two weeks later, Muhaned called Radaida – who had
      meanwhile added another person to the terrorist attack – and told him that the weapons
      were ready. Radaida received weapons and ammunition from Muhaned, who instructed
      him and his comrade in their operation.

      After several days of preparation for the terrorist attack, Radaida and his comrade Yasser
      went to an observation point on the Ma’ale Adumin Road; they perpetrated the terrorist
      attack by shooting at the car in which the monk was traveling, and then fled. The next day,
      Radaida learned from the news that he had killed a Greek monk and Muhaned called him to
      complain about this; Radaida explained that he thought it was a settler. During the course
      of his interrogation, Radaida was asked why he went to the Defendant when he wanted to
      perpetrate a terrorist attack and he answered that he had seen the Defendant several times
      on television and understood “that he is the only person who could help me obtain a
      weapon” (on page 5).

      In his third Statement (Prosecution/15 (c)), Radaida revealed that his original intention was
      to perpetrate a suicide terrorist attack but the Defendant told him, “Suicide terrorist
      attacks are the work of Hamas and the Islamic Jihad; the Tanzim perpetrates
      terrorist attacks against the army and the settlers.”.




                                                              [Stamp] Gilmore 00768 [continued]

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      Radaida continued, saying, “Marwan Barghouti said that he was willing to give me
      weapons and explosives so that I could commit terrorist attacks against soldiers and
      settlers” (on page 1). This version by Radaida also emerges from the document that he
      wrote in his own hand (Prosecution/15 (d)), although in a more condensed version.

43.   Radaida’s story is also supported by the Defendant’s version during the course of his
      interrogation (Transcript Prosecution/98 (k) on pages 37-38; and Transcript Prosecution/98 (d)
      on pages 2-4, 11-12, where it mistakenly reads Ismail Aldeba instead of Ismail Radaida). In
      his police interrogation, the Defendant denied that Muhaned worked in his office or was his
      deputy and said that Muhaned was not connected to the Tanzim (Statement Prosecution/102
      on page 3, Prosecution/103 on page 5, Prosecution/105 on page 2, Prosecution/106 on page
      1). Early during the course of his interrogation by the Israel Security Agency, the Defendant
      also denied that he was acquainted with Radaida and said that Muhaned worked in his office
      (Transcript Prosecution/9 Sections 8-9 and Transcript Prosecution/21 Section 22 that were
      submitted and verified by an interrogator by the name of “Robert”, on pages 62-63).

      However, as the interrogation continued, the Defendant admitted that Radaida had come to
      him to proprose the perpetration of a suicide terrorist attack and that the Defendant told him,
      “We do not work with suicide terrorist attacks.” The Defendant referred Radaida to
      Muhaned and told Muhaned that Radaida “needs training… find something for him.”
      Similar the Defendant said, “Muhaned reached an agreement with him that he would try
      to perpetrate a terrorist attack here on Ma’ale Adumim or someowhere else, I knew
      about it later… then they fired on a car and injured some Elhouri… meaning they
      killed him” (“Elhouri” means “Priest” in Arabic – A.B.). A similar confession with respect
      to the recruitment of Radaida through Muhaned emerges from points he made during the
      interrogation (see: Transcript Prosecution/22 Sections 12-16 and Transcript Prosecution/40
      Section 9 that were submitted and verified by an interrogator by the name of “Mofaz”, on
      page 58, Transcript Prosecution/23 Section 6 that was submitted and verified by an
      interrogator by the name of “Danny”, on page 90; and transcript of the interrogation of the
      Defendant Prosecution/98 (d) on pages 21-26; and Prosecution/98 (g), on page 8).

      The Defendant further admitted that he met with Muhaned and gave him money for the
      purpose of carrying out terrorist attacks, after Muhaned told him that his cell had
      perpetrated several terrorist attacks, including the murder of the Kahane couple, of blessed
      memory. The Defendant said that he gave Muhaned a sum of approximately $3,000 and
      also weapons (Transcript Prosecution/43 Sections 14-16 that was submitted and verified by




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      an interrogator by the name of “Robert”, on page 62; Transcript Prosecution/59 Section 10
      that was submitted and verified by an interrogator by the name of “Wadi”, on page 56;
      Transcript Prosecution/67 Section 6 that was submitted and verified by an interrogator by
      the name of “Emile”, on page 54; Transcript Prosecution/68 that was submitted and
      verified by an interrogator by the name of “Steve”, on page 53).

      In the transcript of the interrogation of the Defendant (Prosecution/98 (d), on pages 21-23)
      he said that Muhaned informed him that his cell had been caught and explained that
      Muhaned was referring to “those for whom we arranged weapons.”

44.   The relationship between the Defendant and Muhaned also emerges from remarks that
      Khamal Abu Wahr (hereinafter – “Wahr”) made in his statement regard on the subject of
      money that he had received from Muhaned, with the knowledge and the approval of the
      Defendant. In this manner, he received from the Defendant, by way of Muhaned, the sum
      of approximately NIS 25,000, most of which was intended for the purpose of the
      manufacture of mortars and the purchase of pistols. At a certain stage, the Defendant began
      to call Wahr directly, in order to clarify his needs. In addition, Wahr said said during the
      course of his interrogation that the Defendant would also transfer money to him by way of
      Jamal Ahawil, and that, after the terrorist attack in Meirav, the Defendant contacted him in
      order to find out the names of the people who participated in that terrorist attack, in order to
      transfer money to them (Prosecution/181 (b), on pages 4-5; and Transcript Prosecution/181
      Section 6). Wahr stated during the course of his interrogation that he and Muhaned would
      decide between them what he needed and then the Defendant would send them the money;
      the Defendant would call Wahr to verify that the money that he had sent him by way of
      Muhaned had in fact arrived (Transcript Prosecution/18 (d) Section 6.1). At a certain stage,
      the relationship between Wahr and Muhaned was broken off and the Defendant told Wahr
      that he was having financial problems and that he did not have money to buy bullets. At
      this point, the Defendant referred Wahr to Jamal Ahawil, in order to receive money
      (Transcript Prosecution/181 (c) Section 15 and Prosecution/18 (d) Section 6.1).

45.   Wahr carried out several shooting terrorist attacks in the context of the Al Aqsa Martyrs
      Brigades’ activities and he listed the terrorist attacks in which he participated in his police
      statement and during the course of his interrogation by the General Security Service.
      During his testimony, he refused to answer questions (on pages 181-189), and therefore his
      police statement (Prosecution/181 (a)-b) was submitted in accordance with Section 10 (A)
      of the Rules of Evidence, by an interrogator by the name of Gadir Salah who testified that
      Wahr gave the statement of his own free will in Arabic, but that it



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      was written down in Hebrew (on page 209). Similarly, the transcript from Wahr’s
      interrogation by the Israel Security Agency was submitted (Prosecution/181 (c) – (d) which
      was submitted by an interrogator by the name of “Naveh”, on page 205). Although Wahr’s
      external statements are not supported by additional evidence, there is a great deal of other
      evidence with respect to the assistance that the Defendant offered to people in the field for
      the purpose of the purchase of weapons in order to carry out terrorist attacks.

(9) Nasser (Haloum) Naji Abu-Hamid

46.   Nasser Haloum Naji Abu-Hamid (hereinafter – “Haloum”) is the brother of Abu Hamid
      and he perpetrated shooting terrorist attacks within the framework of the Al Aqsa Martyrs
      Brigades. Haloum was involved in the terrorist attack in which the policewoman Galit
      Arbiv, blessed memory, was shot to death in Neve Ya’akov, Jerusalem (see Chapter E (10),
      below). He also participated in preparing the fatal terrorist attack at the restaurant Seafood
      Market in Tel Aviv (see Chapter E (12), below). He was convicted, on the basis of his
      confession, and sentenced to five consecutive life sentences (Prosecution/161 (a)-b).

      In his testimony, Haloum refused to answer questions (on pages 73-76) but claimed that the
      Defendant was a political leader who has no connection with “military issues.” Therefore
      his police statement (Prosecution/162 (a)-c) was submitted by police officers Mizrahi and
      Elkaua’an on pages 184, 194). Haloum’s connection was with Ahmed Barghouti who was
      the Defendant’s close assistant.

(10) Ziyad Hamuda

47.   Ziyad Hamuda (hereinafter – “Hamuda”) was an operative in the Tanzim. In his
      testimony, Hamuda refused to respond to questions and his police statement was submitted
      in accordance with Section 10 (A) of the Rules of Evidence, after he was declared a hostile
      witness. He claimed that he had signed his statement so that he could undergo surgery for
      appendicitis (on pages 166-197). He denied that which he had set forth in his Statement
      Prosecution/167 (b) and claimed that the Defendant was “a man of peace.” The statement
      by Hamuda was taken by police officer Avi Akiva, who was not brought to testify and
      therefore, the statement was not filed in a lawful manner and it must be ignored.

      Hamuda was convicted, on the basis of his confession, for a long series of security crimes
      (Prosecution/167 (a)). In the Indictment to which Hamuda confessed, it is claimed that he
      had been recruited to the Tanzim by the Defendant, for the purpose of military training, and
      that he had been promised that the Defendant would see to financial assistance for him. In
      addition, in the Indictment to which Hamuda confessed, it is similarly claimed that that he

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     had asked the Defendant for a weapon, in order to perpetrate a shooting terrorist attack near
     the Psagot settlement and that the Defendant had referred him to Muhaned in order to
     receive the weapon (Items No. 5 and No. 7 of the Indictment). In his Israel Security
     Agency interrogation, the Defendant confirmed that Hamuda asked him for a weapon but
     that, to the best of his recollection, he did not receive it (Transcript Prosecution/34 Section
     5 that was submitted and then verified by an interrogator by the name of “Itai”, on page
     52).

     On another occasion, during the course of his interrogation, the Defendant said that it was
     likely that Hamuda had received an MP5 rifle from him (Transcript of Interrogation
     Prosecution/98 (e), on page 67). There is nothing in the evidence that incriminates the
     Defendant other than the confession by Hamuda to the charges in the Indictment, on the
     basis of which he was convicted and it is not possible to substantiate any findings on the
     basis of a confession of this type (see Section 132 (c), below). However, a great deal of
     additional evidence was brought forth with respect to the assistance that the Defendant
     gave to people in the field in order to purchase weapons for the purpose of the perpetration
     of terrorist attacks.

(11) Riad Amor

48. Riad Amor (hereinafter – “Amor”) was another field operative of the Tanzim who
    described, during the course of his interrogation, the terrorist attacks in which he took part.
    During his testimony, he refused to respond to questions (on pages 172 – 174), and claimed
    that he did not have any connection with the Defendant. He was declared a hostile witness
    and his statements Prosecution/169 (a) – (b) were submitted by police officers David
    Mizrahi and Ya’akov Barazani, who testified that Amor had made these statements and
    signed them of his own free will (on pages 186, 208). The statements were taken in Arabic
    but were written down in Hebrew (which is not in accordance with that which is accepted
    and required). Amor was convicted of perpetrating a large number of terrorist attacks, on
    the basis of his confession (Prosecution/169 (c)-(d)).




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49.   During the course of his interrogation, Amor said that he met the Defendant approximately
      six months prior to his arrest and that the Defendant told him that he was pleased with the
      activities of Amor and his comrades in Bethlehem, but that he would prefer that they
      perpetrate terrorist attacks against the army, not against civilian targets, because “this
      creates problems” and “it causes a headache for the Chairman” (Prosecution/169 (a),
      on page 3, Prosecution/169 (b), on page 11). The Defendant claimed in his police
      interrogation that he is not acquainted with Riad Amor in any way. (Prosecution/14 on
      page 9) and there is no evidence to contradict this claim other than an external statement by
      Amor which requires support that was not found. Notwithstanding, there is a great deal of
      additional evidence with respect to the general position of the Defendant favoring terrorist
      attacks against soldiers and settlers.

(12) Nasser Haj

50.   Nasser Haj (hereinafter – “Haj”) also worked in the framework of Fatah and described in
      his statement Prosecution/178, the terrorist attacks in which he took part. In his testimony,
      he refused to respond to any questions and later denied everything that he had said during
      the course of his interrogation (on pages 175 – 176). Therefore, his statement was filed in
      accordance with Section 10 (A) of the Rules of Evidence, by an interrogator by the name of
      Moshe Levy, who testified that Haj gave his statement of his own free will, after he was
      given a warning with respect to his rights (on pages 211-212).

      In his above mentioned statement, Haj said that he, together with other operatives, had
      approached the office of the Defendant with a request to receive money and weapons. The
      Defendant told them to look for weapons because he would finance the purchase. Later, the
      Defendant gave him $1,200 in order to purchase weapons (on pages 4-5). There is nothing
      in the evidence that supports this above mentioned external statement by Haj, which
      requires support, but there is a great deal of additional evidence of the assistance that the
      Defendant gave to people in the field for the purpose of the purchase of weapons in order
      to carry out terrorist attacks.

(13) Tahrir Barghouti




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51.   Tahrir Barghouti (hereinafter – “Tahrir”) is a family member of the Defendant who, in
      accordance with his statements during the course of his interrogation, perpetrated a large
      number of shooting terrorist attacks. He refused to respond to questions in Court (on pages
      177 – 178) and therefore his statements were filed in accordance with Section 10 (A) of the
      Rules of Evidence, (Prosecution/171 (a) – (d)) by police officer Ya’akov Barazani, who
      took them and testified that the statements were given by Tahrir, of his own free will, in the
      Arabic language, and that they were later translated into Hebrew (on page 207).

52.   During the course of his interrogation, Tahrir stated that he had asked the Defendant to help
      him to establish a cell. The Defendant promised to help Tahrir with money and ammunition
      and to help his people in the event that they were arrested. The Defendant also proposed
      that Tahrir be in charge of the cell, but that he distance himself from the actual operations.
      Tahrir explained during the course of his interrogation that he had approached the
      Defendant in order to receive weapons for the cell that he had established (Prosecution/171
      (d), on page 3). Later, the relationship was continued through Muhaned, who hinted to him
      that the Defendant was not interested in having him take part in the activity; the Defendant
      himself explained to Tahrir that this position derived from the fact that the members of the
      cell were scoundrels (Prosecution/171, on page 4).

      In his police interrogation, the Defendant denied that Tahrir said (Prosecution/104, on
      pages 9 – 10). However, in his Israel Security Agency interrogation, the Defendant did
      admit that Tahrir had approached him with respect to the perpetration of terrorist attacks
      and had asked for weapons for this purpose. Yet, the Defendant claimed that he did not
      accede to this request (Transcript Prosecution/30 Section 1 that was submitted and verified
      by an interrogator by the name of “Emile”, on page 54). There is nothing in the evidence
      that supports this external statement by Tahrir, which requires support that was not found
      for the contradiction of the claim of the Defendant. However, there is a great deal of
      additional evidence of the assistance that the Defendant had rendered to people in the field
      for the purchase of weapons in order to perpetrate suicide attacks.

(14) Ahmed Musafar




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53.   Ahmed Musafar was a weapons dealer who supplied weapons to members of the Tanzim
      and the Al Aqsa Martyrs Brigades. In his testimony (on pages 186 – 188), he refused to
      respond to questions and he denied everything that he had stated during the course of his
      interrogation. Musafar was declared a hostile witness and his police statements were filed
      in accordance with Section 10 (A) of the Rules of Evidence (Prosecution/179) by an
      interrogator by the name of Ya’akov Barazani, who testified that the statement had been
      made after Musafar had been warned about his rights and that he had signed the statement,
      which had been taken in Arabic but had been written down in Hebrew (on page 208).

      In his statement, Musafar spoke about his meeting and that of his comrades at the office of
      the Defendant, two days before Ra’ed Karmi was killed. The Defendant told them that they
      need to continue their operations in the village where they reside, not in Ramallah, and he
      promised to help them. After the death of Karmi, Musafar received orders to perpetrate a
      terrorist attack in revenge; the order came from Mahmoud Jabar, who worked at the office
      of the Defendant, and therefore Musafar understood that it came from the Defendant
      (Prosecution/179, on pages 6 – 7). During the course of his police interrogation, the
      Defendant denied what Musafar had said (Prosecution/104, on page 3), and there is no
      evidence that supports this external statement by Musafar, with the exception of the many
      pieces of evidence that were presented with respect to the Defendant’s call to avenge the
      death of the Karmi in the form of a terrorist attack.

(15) Sharif Naji

54.   Sharif Naji (hereinafter – “Sharif”) was a member of the cell that was led by his brother,
      Abu Hamid, which carried out terrorist attacks against Israeli citizens. He was also the
      bodyguard for the Defendant. Sharif was the one who escorted the suicide [terrorist]
      Ibrahim Hasouna, who perpetrated the terrorist attack on the Seafood Market [restaurant] in
      Tel Aviv. In his statement, he set forth all of his deeds.

      Sharif, like all of his comrades, refused during his testimony to respond to questions other
      than claiming that he was acquainted with the Defendant only from television. He was
      declared a hostile witness and his statement Prosecution/182, to which his handwritten
      translation into Arabic Prosecution/182a was appended, was submitted by an interrogator
      by the name of Avi Ben Lulu, who testified that the statement was given by Sharif of his
      own free will (on page 210).




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55.   In his statement Prosecution/182, Sharif talked about the shooting terrorist attacks that he
      had perpetrated against soldiers and settlers, within the framework of the Fatah Tanzim. He
      explained that he had perpetrated the terrorist attacks so that the intifada would continue,
      specifically because he was interested in peace and added: “That is what Arafat, Marwan
      Barghouti and Hussein al-Sheikh were saying on Palestinian television and Al
      Jazeera… they would say that if the intifada were to continue, we can receive more
      territory and more things from Israel” (on page 4). During the course of his police
      interrogation, Defendant denied having said these things (Prosecution/103, on page 5).

      After Sharif’s cell was dismantled, due to the death of Mohammed Omasi, Sharif began to
      serve as a bodyguard for the Defendant, for a period of approximately six months until his
      arrest. When interrogated about the Defendant he said: “I would hear him telling his
      people that they should continue to carry out terrorist attacks and he would say this
      freely on Israeli and Arabic television” (on page 5). In the second part of his statement,
      Sharif spoke about his role in a terrorist attack at the Seafood Market restaurant in Tel Aviv
      and the involvement of Ahmed Barghouti in the attack (on pages 5 – 11). During the course
      of his interrogation, the Defendant denied having any connection at all with Sharif,
      although he was acquainted with him (Transcript Prosecution/34 Section 4, which was
      submitted and verified by an interrogator by the name of “Itai”, on page 52). However, the
      statements that were made by Sharif are supported by many pieces of evidence that were
      submitted with respect to the manner in which the Defendant would make use of the media
      in order to call for terrorist attacks against Israel and how he called on his people to do so,
      as well.

(16) Amid Abu Radaha

56.   Amid Abu Radaha (hereinafter – “Abu Radaha”) was another Tanzim operative who
      perpetrated shooting terrorist attacks that targeted soldiers and settlers, as he talked about
      during the course of his interrogation. During his testimony, he claimed that he did not
      have any connection with the Defendant or with Ahmed Barghouti and that he did not
      receive a weapon from the Defendant but rather from the Palestinian Authority.




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      He claimed that the interrogators wrote things in his statement that he had not said and
      denied the contents of his statement (on pages 192 – 194). Abu Radaha’s statement
      (Prosecution/183) was submitted by an interrogator by the name of Meir Cohen, who
      testified that the statement was given by Abu Radaha of his own free will and that it was
      taken in Arabic but written down in Hebrew (which is not in accordance with that which is
      accepted and required) and that he had signed it.

57.   In his statement, Abu Radaha stated that the weapons and ammunition that he had used in
      order to perpetrate the terrorist attack had been received from the Defendant and Ahmed
      Barghouti, who also gave the members of the cell money for ongoing expenses (on pages 2
      – 6). In his police interrogation, the Defendant denied what Abu Radaha had said
      (Prosecution/104, on page 3). However, his statements are supported by many pieces of
      evidence with respect to the Defendant’s activity supplying money and weapons to
      members of the Tanzim in the field for the perpetration of terrorist attacks against Israel.

(17) Ashraf Jabar

58.   Ashraf Jabar (hereinafter – “Jabar”) was also a Tanzim operative who carried out terrorist
      attacks against Israeli targets, together with others, including Abu Radaha. Jabar refused to
      respond to questions during his testimony (on page 185 – 197) and therefore his statement
      was submitted, together with the diagram that he drew, (Prosecution/184 (a) – (b)) by an
      interrogator by the name of Moshe Levy, who testified that the statement was given by
      Jabar of his own free will; it was taken in Arabic and translated into Hebrew (on page 212).

59.   In his statement Prosecution/1848, Jabar talked about the terrorist attacks that he had
      perpetrated and noted that he had approached the office of the Defendant with a request for
      ammunition and money for members of the cell; the Defendant promised that he would pay
      for the ammunition and did indeed do so through Ahmed Barghouti; the bullets were given
      to him in exchange for NIS 3000. Jabar explained that he gave the bullets to the Defendant
      because he was the head of the Tanzim and that he would distribute them to Tanzim
      operatives (on pages 3 – 4).

      During the course of his interrogation, the Defendant confessed that Jabar had asked him
      for financial support and weapons, but said that he did not remember exactly what he had
      given him (Transcript Prosecution/48 Sections 2 – 3, that was submitted and verified by an
      interrogator by the name of “Robert”, on page 62).




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D.    Statements of the Defendant During Interrogation and Other Evidence with Respect
      to His Role and Involvement in Terrorist Attacks against Israel

(1)   The responsibility of the Defendant for the activity of the terrorist cells and the degree
      of his control over them

60.   In accordance with that which has been set forth above, during his Israel Security Agency
      interrogation, the Defendant did not deny that he was the commander and leader of the
      Fatah field operatives on the West Bank and that he was the commander of the Fatah and
      the Tanzim in the West Bank, that he had established the Al Aqsa Martyrs Brigades and
      that he was in charge of their operations. He also confirmed that he was in charge of the
      supply of money, weapons and explosives to the field cells and that he was in charge of
      their military operations (see Section 17, above). The Defendant explained during the
      course of his interrogation that he found himself involved more and more with the “military
      cells,” which would approach him with requests for various types of assistance, since
      people such as Ra’ed Karmi and Nassar Awis considered him to be the commander. He
      also said that his connection with the members of the cells was through his assistant and
      personal driver Ahmed Barghouti. The Defendant made a distinction between terrorist
      attacks in Israel, for which he refused to take responsibility, and terrorist attacks that the
      Fatah had carried out in the West Bank, for which he assumed full responsibility during the
      course of his interrogation (Transcript Prosecution/25 Section 20 that was submitted and
      verified by an interrogator by the name of “Mofaz”, on page 58). The Defendant
      emphasized that he was in charge of the operations of the Fatah on the West Bank but was
      not an expert on the details, such as the type of weapons that had been used, the way in
      which they had been purchased, the planning of terrorist attacks and their perpetration
      (Transcript Prosecution/27 Section 1 that was submitted and verified by an interrogator by
      the name of “Smith”, on page 85).

      During the course of some of his interrogations, the Defendant claimed that he was not
      directly responsible, from the command perspective, for the operations of field cells
      (Transcript Prosecution/42 Section 7, that was submitted and authorized by an interrogator
      by the name of Wadi, on page 96). However, in later stages




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    of his interrogation, the Defendant confessed that he was responsible for the operations of
    the cells that worked with Ahmed Barghouti and Abu Satha, because these were close to
    them and he funded their operations; in further detail, he noted that he considered himself
    to be responsible for three terrorist attacks, in Givat Ze’ev, French Hill and the Atarot
    Bridge (Introduction to Transcript Prosecution/38 that was submitted and verified by an
    interrogator by the name of “Smith”, on page 85. By his own description here, the
    Defendant did not consider himself responsible for terrorist attacks that have been carried
    out by the cells of Aweis, Mansour Shrim and others and he did not consider himself to be
    their commander. Of his relationship with Aweis, the Defendant said: “I have control
    because of respect over Nassar but not actual control” (Transcription of Conversation
    Prosecution/98 (k) on page 17). When speaking about the field cells that had carried out
    terrorist attacks against Israel during the course of his interrogation the Defendant said:

           “These cells found themselves more than one address. What is an
           address? An address is someone you can turn to ask for money, to
           coordinate work. I am one of those addresses, I am one address among
           several addresses. The heads of the security forces are also an address.”

    Based upon these statements by the Defendant, it seems that at least some of the cells
    coordinated their terrorist attacks with him and considered him an address for funding, as
    indeed emerges from much of the evidence presented before us. In this regard, the
    Defendant said that his connection with the cells was indirect because he did not want to
    get involved in the military field and did not want to be involved in “destruction”
    (Transcription of Conversation Prosecution/90 8 (k), on page 6). Indeed, for the most part,
    the Defendant’s connection with the terrorist attack cells was through the contact people
    who were close associates of the Defendant, especially Ahmed Barghouti. As the
    Defendant said about Ahmed Barghouti: “He makes contact with these cells either
    directly or indirectly, meaning that without him I would not have a direct connection
    with any cell” (Transcription of Conversation Prosecution/98 (k), on page 8).

    The Defendant claimed that the field cells would have perpetrated terrorist attacks even in
    the absence of his support and even without the financial and organizational support that he
    gave them (Transcript Prosecution/63 Section 18 - 20 that was submitted and verified by an
    interrogator by the name of “Naor”, on page 82). This claim does not in any way mitigate
    the responsibility of the Defendant for the terrorist attacks that were carried out by these
    cells.




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61.   At the beginning of his Israel Security Agency interrogation, the Defendant denied that he
      was responsible for the provision of money and weapons for the purposes of carrying out
      terrorist attacks (Transcript Prosecution/14 Section 4, that was submitted and verified by an
      interrogator by the name of “Gabi”, on page 93, Transcript Prosecution/10 Section 1 that
      was submitted and verified by an interrogator by the name of “Danny”, on page 90).
      However, as the interrogation continued, the Defendant admitted (Transcript
      Prosecution/29 Section 1 (c)-(d) that was submitted and verified by an interrogator by the
      name of Smith, on page 85):

             “Within the framework of my position as secretary general of the
             Fatah, I was responsible for everything that was done, such as the
             supply of money to cells, the purchase of weapons and the perpetration
             of terrorist attacks. There are many cells in the field, some of them
             organized under my command by way of a number of people such as
             Ahmed Barghouti [and] Nassar Aweis. In the field, there are also cells
             that were not organized by the Fatah and I did not have any connection
             with them.”

      The Defendant did not deny his ability to influence terrorist cells that he helped with
      money and by the provision of weapons; when speaking about these cells he said
      (Interrogation Transcript Prosecution/98 (d) on page 32): “If you buy them weapons, if
      you give them weapons, if you plan for them, you can influence them.” However the
      Defendant also added, “Influence, you cannot control.” (op. cit., on page 37).

62.   During the course of his interrogation, the Defendant said that when he made a strategic
      decision to carry out terrorist attacks against Israel in order to oppose the occupation, he
      established cells and supplied them, indirectly, with money, weapons and explosives for
      the purpose of carrying out terrorist attacks. He noted that the terrorist attacks were led by
      mainly by Abu Hamid, Ahmed Barghouti, and Aweis (Transcript Prosecution/35 Section 1,
      that was submitted and verified by an interrogator by the name of Danny, on page 90).
      From his perspective, the people who handled the military operations in the Ramallah area
      were Ahmed Barghouti and Abu Hamid, who operated several cells (Transcript
      Prosecution/27, Section 2) that was submitted and verified by an interrogator by the name
      of Smith, on page 85).




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      The Defendant confessed that he had supported Ahmed Barghouti and had supplied him
      with money and that he knew that he was responsible for the perpetration of a variety of
      terrorist attacks (Transcript Prosecution/98 (h) on pages 20 – 24). In addition, the
      Defendant confessed that he had encouraged Ra’ed Karmi to carry out “operations against
      the occupation,” and assisted him financially, while requests for assistance were transferred
      to Arafat, who approved them (Transcript Prosecution/67 Section 8, that was submitted and
      verified by an interrogator by the name of “Emile”, on page 54). By contrast, during the
      course of his police interrogation, the Defendant denied any connection to Ra’ed Karmi
      (Prosecution/104, on page 8) and at the beginning of his Israel Security Agency
      interrogation claimed that he transferred money to him without knowing for what purpose
      it was intended (Transcript, Prosecution/18 Section 5 that was submitted and verified by an
      interrogator by the name of “Nadav”, on page 78).

63.   The Defendant’s connections with terrorism operatives of the Fatah and the regular
      assistance that he provided for them emerge clearly from the documents that were seized
      by the Israel Defense Forces from the offices of the organizations including the office of
      the Defendant during Operation Protective Shield (Binder Prosecution/5).

      The Prosecution submitted an Expert Opinion by an expert from the Division of
      Identification and Forensic Science (DIFS) of the Israel Police, stating that the Defendant
      had signed some of the documents and from others it is possible to draw the necessary
      conclusions from the very fact that they were sent to the Defendant and were found in his
      office. Major L., the deputy commander of the unit that deals with the collection of
      captured documents, testified about the capture of the documents, their marking and the
      manner in which they were sorted (on pages 46 – 48). The captured documents were
      transferred to a Israel Security Agency interrogator by the name of “Ogen” (see his
      testimony on page 48). During his testimony, he identified the documents that were
      appended to the transcript from the interrogation of the Defendant (on pages 48 – 50). In
      the conversation between the Defendant and Ahmed Barghouti, which was recorded
      without their knowledge, the Defendant said that this referred to documents that had been
      seized in his office and the two were very concerned about the fact that the Defendant’s
      “entire archive” had been seized. The Defendant said, “the entire archive of the office [is]
      here” (Prosecution/127 (c), on pages 61 – 62).

      The Expert Opinion of the DIFS with respect to the Defendant’s handwriting
      (Prosecution/5) was rendered by Yair Ben Shemesh and is based on three samples of his
      handwriting that the Defendant confirmed during the course of his interrogation as being
      written in his hand (the three documents in Prosecution/5 are 94 – 96, 112 and 35, which
      the Defendant related to in Transcript Prosecution/28, Prosecution/28 (b), Prosecution/47,

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      Prosecution/85, and Prosecution/85 (a) that were submitted and verified by the Israel
      Security Agency interrogators “Wadi”, on page 96 and “Ofir”, on page 37). The
      interrogator from the DIFS divided the documents into four categories: those with respect
      to which there is no real doubt were written by the Defendant, those that might reasonably
      have been written by the Defendant, those that very likely were written by him, and those
      that the Defendant identified during the course of his interrogation as having been written
      by him. During the course of his police interrogation, the Defendant denied that his
      handwriting appeared on any of the documents that he had been shown (Prosecution/108-
      109).

64.   Document Prosecution/5 (3-5) is a report that was sent to the Defendant on May 8, 2001,
      and which reviews the operations of the Al Aqsa Martyrs Brigades in the Jenin area. This
      report includes the number of people in the Al Aqsa Martyrs Brigades, their division into
      Brigades, details of their activities and the results of the terrorist attacks that they had
      perpetrated.

      The activities listed in this document include shooting terrorist attacks on roads in Judea
      and Samaria, killing and injuring settlers, and terrorist attacks within Israeli territory (Uhm
      al-Fahm) in which an Israeli officer was killed and a civilian was injured. In addition, it
      includes a letter that requested financial assistance for the Brigades.

(2)   The Defendant’s personal involvement in the terrorist attacks that have been carried
      out by the cells under his command

65.   Immediately subsequent to his arrest, the Defendant claimed that he was a “political
      person” who is not involved in military operations or in the perpetration, planning, funding
      or guidance of terrorist attacks against security forces or against Israelis (Transcript
      Prosecution/6 Section 3 and Prosecution/9 Section 2 that were submitted and verified by an
      interrogator by the name of “Robert”, on page 62; Transcript Prosecution/14 Section 4 that
      was submitted and verified by an interrogator by the name of “Gabi”, on page 93).
      However, as his Israel Security Agency interrogation continued, the Defendant admitted to
      deep involvement in “military” operations, which is a euphemism for the perpetration of
      murderous terrorist attacks against Israeli civilians. In certain instances, it can be
      understood from the Defendant’s statements, he even issued specific orders for the
      perpetration of terrorist attacks or gave his




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    advance approval for their perpetration.

    The Defendant claimed during the course of his interrogation that he himself never planned
    the details of a terrorist attack and that the cells would involve Ahmed Barghouti and not
    himself in carrying out terrorist attacks and he did not always agree with them (Transcript
    Prosecution/72 Section 3 that was submitted and verified by an interrogator by the name of
    “Danny”, on page 90). Thus, for example, the Defendant emphasized that he rejected all of
    Ahmed Barghouti’s attempts introduce him to people who would perpetrate suicide
    terrorist attacks (Transcript Prosecution/53 Sections 11 – 13 that was submitted and
    verified by an interrogator by the name of “Mofaz”, on page 58). In spite of this, the
    Defendant confessed that “there is collective responsibility for the activity of Fatah’s
    military members” (Transcript Prosecution/21 Section 14, which was submitted and
    verified by an interrogator by the name of “Robert”, on page 63). The Defendant said
    during the course of his interrogation: “I did not issue orders to any cells [that said] ‘hey
    we’ve come, and hey we want to carry out a certain terrorist attack in a particular
    place, this we are leaving for it and for its atmosphere, and personal desire…
    (Transcript of Conversation Prosecution/98 (k) on page 9).

    According to the Defendant, after Ra’ed Karmi was killed in January 2001, the terrorist
    attacks were brought into Israeli territory. He tried to use his influence over the cells that
    followed his orders in order to moderate the terrorist attacks within Israel, but he was not
    always able to do so (Transcript Prosecution/70 Section 17 (g) that was submitted and
    verified by an interrogator by the name of “Steve”, on page 53). An example of this is the
    case of Mansour Shrim, who was responsible for the suicide terrorist attack in Hadera in
    revenge for the killing of Karmi.

    The Defendant discussed this with Aweis and Mansour after the attack and reported it to
    Arafat (Transcript Prosecution/45 Sections 6 – 11 that was submitted and verified by an
    interrogator by the name of “Wadi”, on page 96). It should be noted that Mansour Shrim
    was Ra’ed Karmi’s replacement, and this appointment was approved by the Defendant (see
    the comments by Ahmed Barghouti in his Statement Prosecution/165 (m) on page 5).

    During the course of his interrogation, the Defendant said that in general he heard about the
    terrorist attacks after they were perpetrated, from either Aweis or Ahmed Barghouti, and
    that he would not go into details about how exactly the terrorist attack was carried out and
    by which cell; during the course of his interrogation, he listed the terrorist attacks about
    which he received reports after they were perpetrated (Transcript Prosecution/70 Sections
    9, 12, 17 that was submitted and verified by an interrogator by the name of “Steve”, on



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    page 53; and Transcript Prosecution/39 Section 8 that was submitted and verified by an
    interrogator by the name of “Wadi”, on page 96). However, throughout the course of his
    entire interrogation, the Defendant emphasized that with one exception he had not been
    personally involved in taking public responsibility for terrorist attacks that have been
    carried out by the Al Aqsa Martyrs Brigades. The person who issued the public statements
    subsequent to attacks was Aweis, in coordination with Ahmed Barghouti. Beyond this,
    Ahmed Barghouti served as an extension of the long arm of the Defendant, but the
    Defendant himself added to the above mentioned comment and said: “I provide coverage
    for this issue. Politically in the media… I talk about the issue… I call for a struggle, I
    appraise the terrorist attacks as part of the struggle etc…” (Transcript of Conversation
    Prosecution/98 (m) pages 40 – 46). In other words, the Defendant would take responsibility
    for the terrorist attacks through the media in an indirect and general manner without
    relating to a specific terrorist attack, while his subordinates would take specific
    responsibility for each individual attack.

    What is clear from the Defendant’s words is that the terrorist cell commanders considered
    him their leader and he supported them and assisted them by supplying weapons and
    explosives for the duration of their activity, although he knew that they were perpetrating
    murderous terrorist attacks against military and civilian targets in the Judea and Samaria
    region as well as within Israel, including suicide terrorist attacks, which the Defendant
    claims displeased him. When the Defendant continued supporting these operatives and
    assisting them after they reported the terrorist attacks to him, even when these were suicide
    terrorist attacks within Israel, the Defendant thereby expressed his support for their
    continued activity, including the activity that he supposedly did not support.

    During the course of his interrogation, the Defendant himself said that Yasser Arafat
    reprimanded him for the terrorist attacks that have been carried out within Israel
    (Transcript Prosecution/141 Section 10, which was submitted and verified by an
    interrogator by the name of “Robert”, on page 58); from this it follows that Arafat also
    considered the Defendant responsible for all of the terrorist attacks that have been carried
    out by the Tanzim and Al Aqsa Martyrs Brigades cells that were under the command of the
    Defendant.




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      The Defendant gave his approval, if only after the fact, to the terrorist attacks that have
      been carried out by the cells that accepted his authority: some he supported explicitly and
      some he supported by his behavior or with his silent agreement. He operated the cells under
      his command in an indirect manner through his subordinates and close associates such as
      Ahmed Barghouti, Abu Hamid, Abu Satha and Aweis, while keeping his distance from the
      people who actually perpetrated the attacks and intentionally avoiding getting himself
      personally involved with the planning and perpetration of the terrorist attacks. Even taking
      responsibility for the terrorist attacks was done by the Defendant in a “clean,” indirect
      manner, not by way of a public statement issued by the Al Aqsa Martyrs Brigades, but
      rather in a political – as it were – implied manner in the media.

66.   From everything that has been set forth above, it becomes apparent that the Defendant
      confessed during the course of his interrogation to the things that also emerge from the
      testimony of the terrorist operatives, meaning that from a command perspective, he was
      responsible for the operations of the Tanzim and of the Al Aqsa Martyrs Brigade in the
      West Bank, which considered him their leader; he assisted terrorism operatives by
      providing money, weapons and explosives in order to carry out terrorist attacks; he
      personally led some of the terrorism cells, through his close associates; he encouraged the
      terrorist cells to carry out terrorist attacks against Israel; he received reports from the cells
      subsequent to the perpetration of terrorist – all of this while knowing that these cells were
      perpetrating murderous and suicidal terrorist attacks both within Israel and against
      civilians.

      Furthermore: during the course of his interrogation, the Defendant even confessed to
      personal involvement in specific murderous terrorist attacks of the cells that he led, as
      follows:

(aa) Terrorist attack at the gas station in Givat Ze’ev

After the killing of Ra’ed Karmi on January 14, 2002, the Defendant, speaking on Abu Dhabi
television, called on the Al Aqsa Martyrs Brigades to perpetrate revenge attacks against Israel
(Prosecution/3 from January 14, 2002); however, the Defendant was not satisfied with this public
statement. He instructed Ahmed Barghouti to bring to fruition a terrorist attack avenging Karmi.
Indeed, in the evening of January 15, 2002, Ahmed Barghouti gave a weapon to Abu Satha for
the purpose of perpetrating the above mentioned terrorist attack. On the evening of that day,
members of Abu Satha’s cell fired at the car of Yoela Chen, of blessed memory, near Givat
Ze’ev, murdered her and injured the passenger who was with her (on this terrorist attack, see
Chapter E (7), below).

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The Defendant confessed during the course of his interrogation that after the death of Karmi, he
told Ahmed Barghouti that he was interested in a revenge terrorist attack, and that Ahmed and
his comrades perpetrated the terrorist attack in Givat Ze’ev and reported to him later that one
person was killed in the terrorist attack (Transcript Prosecution/98 (k), on pages 44 – 45). He
even confessed that this terrorist attack was carried out in accordance with his orders and took
responsibility for its perpetration (Transcript Prosecution/23 Sections 8 – 10, which was
submitted and verified by an interrogator by the name of “Danny”, on page 90; Transcript
Prosecution/24 Section 5 and the introduction to Transcript Prosecution/38 that were submitted
and verified by an interrogator by the name of “Smith”, on page 85; Transcript Prosecution/26
Sections 3 – 6, which was submitted and verified by an interrogator by the name of “Nadav”, on
page 79). The Defendant said, “I said in the mourners’ tent, that we need to avenge and
respond to an event like this… “, although he claimed that he did not “command” Ahmed
Barghouti. During one of his interrogations, the Defendant confessed, “We said to Ahmed
something like implement a terrorist attack” (Conversation Transcript Prosecution/98 (g) on
page 19 and also on pages 20 – 45).

The Defendant explained that the targeted assassination of Karmi led him to lose control of
Fatah, and therefore he “called for a response to the targeted assassination of Ra’ed Karmi in
all media outlets… and responses did begin. For the first time Fatah crossed the red line
and carried out terrorist attacks within Israel” (Transcript of Interrogation Prosecution/98 (j)
on pages 30-31 and Prosecution/98 (k) on pages 9-




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10, 12-15, 44-45). He noted during the course of his interrogation that the instruction that was
given to perpetrate terrorist attack in a revenge for the killing of Ra’ed Karmi followed from his
feeling of responsibility for the death of Karmi during a cease-fire, when the Defendant had
called on all of the factions to stop the terrorist attacks because of the commitment given by the
head of the Israel Security Agency that there would not be any targeted assassinations against
leaders of Fatah; this was the only time when he went against Arafat who, at the time, asked that
there be no terrorist attacks (Transcript Prosecution/31 Section 12, which was submitted and
verified by an interrogator by the name of “Mofaz”, on page 58; Conversation Transcript
Prosecution/98 (j) on pages 29 – 31; Conversation Transcript Prosecution/98 (k) on pages 11 –
13).

This confession of the Defendant correlates with statements made by Ahmed Barghouti during
the course of his interrogation (see Section 30, above) and also with things said by Abu Satha
(statement Prosecution/156 (b) on page 5) and Masafur (see Section 53 above).

(bb) Murder of the Greek Orthodox monk in Ma’ale Adumim

The Defendant confirmed that when Radaida proposed perpetrating a suicide terrorist attack, he
referred him to Muhaned so that he could direct him towards the type of terrorist attacks that
Fatah cells perpetrated. The result of this was the terrorist attack in Ma’ale Adumim in which the
Greek Orthodox monk was murdered because it was thought he was a Jew (see statements by
Radaida in Sections 42 – 43 above and Chapter E (3) below that deals with this terrorist attack).

(cc) Terrorist attack on the restaurant Seafood Market in Tel Aviv

During the course of his interrogation, the Defendant clearly connected himself to the terrorist
attack at the restaurant Seafood Market in Tel Aviv, in which three people were murdered (on
this terrorist attack see Chapter E (12) below). Although at the beginning of his Israel Security
Agency interrogation, the Defendant claimed that he did not have any connection to this terrorist
attack, which Aweis was behind, and that Arafat was very angry about the perpetration of this
terrorist attack (Transcript Prosecution/25 Section 12-13, which was submitted and verified by
an interrogator by the name of “Mofaz”, on page 58). However, as his interrogation continued,
the Defendant admitted that he knew about the intention to perpetrate this terrorist attack from
his close associate Ahmed Barghouti, who was one of the people who planned the terrorist
attack, and this was approximately one week before it was carried out ; Ahmed informed the
Defendant that Ibrahim Hasouna – the terrorist – was ready to perpetrate a terrorist attack. The
Defendant emphasized that he was not the one who supervised the perpetration of the terrorist
attack and that he had instructed Ahmed Barghouti to perpetrate the attack in Judea and Samaria,



                                                                         [Stamp] Gilmore 00778

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in a settlement or at a military roadblock, and not within Israel (Transcript Prosecution/44
Sections 3-7 and Prosecution/53 Section 3, which were submitted and verified by an interrogator
by the name of “Mofaz”, on page 58; Transcript Prosecution/50 Section 1, which was submitted
and verified by an interrogator by the name of “Wadi”, on page 96; Transcript Prosecution/52
that was submitted and verified by an interrogator by the name of “Smith” on page 85).

These statements by the Defendant correlate with the version that Ahmed Barghouti gave during
the course of his interrogation, aside from the fact that the latter said during the course of his
interrogation that he reported to the Defendant not a short time before the terrorist attack but
rather when the terrorist was already on his way, and that the Defendant was involved in wording
the announcement taking responsibility after the terrorist attack was carried out (see Section 29
above). The Defendant, in contrast, said that he was not involved in wording the announcement
taking responsibility for this terrorist attack although he did admit to giving his approval to the
announcement taking responsibility for another terrorist attack that was carried out on the Atara
Bridge (Terrorist Attack No. 18 in the appendix to the Indictment) (Transcript Prosecution/52 as
referenced above and Transcript Prosecution/58 Section 3, which was submitted and verified by
an interrogator by the name of “Mofaz”, on page 58).

In conclusion: Despite what emerges from the words of Ahmed Barghouti, the Defendant
admitted that he gave advance approval for perpetrating this particular terrorist attack, even if the
orders were to kill other people in a different place.

(dd) Attempted terrorist attack near the Malha Mall in Jerusalem

During his interogation, the Defendant said that he granted assistance, by means of Ahmed
Barghouti, to the terrorism operatives who perpetrated attacks in the Hebron area. One day,
Ahmed Barghouti reported that one of these operatives (Jihad Jawara) was planning a suicide
terrorist attack in Jerusalem. The Defendant said that he issued orders, by means of Ahmed
Barghouti, that the terrorist attack should be in the Occupied Territories and not within Israel (for
more on this terrorist attack, see Chapter E (20) below). The next day, he received a report that
the suicide terrorist attack




                                                               [Stamp] Gilmore 00778 [continued]

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near the Malha Mall in Jerusalem had failed (Transcript Prosecution/36, which was submitted
and verified by an interrogator by the name of “Smith”, on page 85). In this case, too, the
Defendant approved the terrorist attack against Israel, although in a different location.

(3)   Provision of funds, weapons and explosives for carrying out terrorist attacks

67.   At the beginning of his Israel Security Agency interrogation, the Defendant claimed that he
      was not involved in terrorism and that he never given anyone weapons and had not shot a
      gun (Transcript Prosecution/10 Section 1, which was submitted and verified by an
      interrogator by the name of “Danny”, on page 90). However, later in the interrogation the
      Defendent did admit that he had been responsible for giving money, weapons and
      explosives to the field cells belonging to the Tanzim and Al Aqsa Martyrs Brigades and
      that he knew that they were using them for terrorist attacks against Israel.

      As the Defendant said, “As part of my position as Secretary General of the Fatah, I was
      responsible for everything that was done, including supplying money to cells,
      purchasing weapons and carrying out terrorist attacks.” (See the quote in Transcript
      Prosecution/29 Section 61 as mentioned above, and also Transcript Prosecution/59 Section
      7, which was submitted and verified by an interrogator by the name of “Wadi”, on page
      96).

      The Defendant explained that he would transmit cells’ requests for the purchase of
      weapons to Yasser Arafat under the heading “Personal Assistance” or “Financial
      Assistance” (Transcripts Prosecution/22 Section 6 and Prosecution/25 Section 14 that were
      submitted and verified by an interrogator by the name of “Mofaz”, on page 58). The
      Defendant also admitted that by purchasing weapons for cells, he acquired influence over
      their activities (see Section 61, above). In addition, the Defendant admitted that he gave
      financial assistance to Ahmed Barghoui and Ra’ed Karmi and supported them so they
      could perpetrate terrorist attacks (see Section 62 above).

      Document Prosecution/5 (70 – 73) that was seized during Operation “Protective Shield” is
      a letter dated January 20, 2002, from Ra’ed Karmi to the Defendant, in which Karmi
      requests assistance for a list of operatives, including those who were involved in terrorists
      attacks in accordance with evidence presented in this case; the Defendant directed the
      request to Yasser Arafat in his own handwriting (in accordance with the Opinion of DIFS
      Prosecution/5). Another seized letter is Prosecution/5 (104) in which a wanted man named
      Salah Abu Hanish wrote to the Defendant asking that he return his weapons that had been
      confiscated; the Defendant’s handwriting appears on the document (Opinion of DIFS
      Prosecution/5). In Letter Prosecution/5 (103), a group of operatives approach the


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      Defendant with a request to purchase weapons and note that they have perpetrated many
      attacks against the army and settlers and have become wanted; the Defendant’s handwriting
      is also found on this document (in accordance with the Opinion of DIFS Prosecution/5).

68.   The Defendant explained during the course of his interrogation that the cells, and
      individual cell members, would approach him to ask for money to finance the purchase of
      weapons and for other reasons, and he would submit their requests to Yasser Arafat
      (Transcript Prosecution/19 Section 14, Transcript Prosecution/22 Section 6 and Transcript
      Prosecution/25 Sections 14, 19, which were submitted and verified by an interrogator by
      the name of “Mofaz”, on page 58; Transcript Prosecution/70 Section 10, which was
      submitted and verified by an interrogator by the name of “Steve”, on page 53; transcripts of
      the Defendant’s interrogation: Prosecution/98 (d) on pages 13 – 16, 20 – 21;
      Prosecution/98 (k) on pages 7, 17 – 18, 30; and Prosecution/90 8 (j) on pages 13 – 14). He
      said that his requests to Arafat would not specify that the money was intended for the
      purchase of weapons (Transcript Prosecution/30 Section 6, which was submitted and
      verified by an interrogator by the name of “Emile”, on page 54). In context of this activity,
      approximately 15 weapons and ammunition for them were purchased and used for terrorist
      attacks (Transcript Prosecution/29 Section E, which was submitted and verified by an
      interrogator by the name of “Smith”, on page 85; Transcript Prosecution/60 Section 5,
      which was submitted and verified by an interrogator by the name of “Emile”, on page 54).

      The Defendant emphasized that the military operations could not have taken place without
      financing from Arafat (Prosecution/60, as mentioned above, Section 7). He explained the
      issue: “There is someone who comes and says ‘I want a thousand shekels’, he might
      receive a thousand shekels. I do not ask him, maybe next week he will go shoot, I do
      not care” (Prosecutions/98 (k) on page 30). During the course of his interrogation, the
      Defendant could not remember the details of the financial assistance that he gave to Fatah
      field operatives and explained that hundreds of operatives would approach him with
      requests for financial assistance in order to fund military activities (Transcript
      Prosecution/49 Section 10, which was submitted and verified by an interrogator by the
      name of Emile on page 54).

69.   Within the framework of purchasing weapons for terrorism operatives, the Defendant
      agreed to purchase a mortar for the price of 1,500 dinar, and the Defendant described the
      operational problems involved in its operation during the course of his interrogation
      (Transcript Prosecution/29 Section F and Transcript Prosecution/38 Section 2, which were
      submitted and verified by an interrogator by the name of “Smith”, on page 85; Transcript
      Prosecution/42 Sections 13-15, which were submitted and verified by an interrogator by
      the name of “Wadi”, on page 96; Transcript of the interrogation of the Defendant
      Prosecution/98 (k) on pages 7-8). The Defendant said
                                                            [Stamp] Gilmore 00779 [continued]

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      during interrogation that he himself opposed firing mortars at Israel because it had been
      proven that this does not cause damage to Israelis but could cause significant damage to the
      Palestinians (Transcript Prosecution/38 as mentioned above). The Defendant’s version
      corresponds with that given by Abu Hamid, who explained that the mortar was fired at the
      settlement Psagot but the Defendant asked him not to talk about it with anyone (see Section
      25 above).

(4)   Assistance for wanted men and the families of the people arrested or killed

70.   The Defendant financed not only terrorism operatives but also members of their families.
      He admitted during interrogation that he submitted to Yasser Arafat requests for assistance
      to families of suicides, and even justified this by saying that there is no difference between
      someone who perpetrated a suicide attack and someone who was killed; in his eyes they
      were all “martyrs”, meaning they had died a holy death (Transcript Prosecution/10 that was
      submitted and verified by an interrogator by the name of “Danny”, on page 90; Transcript
      Prosecution/54 Section 5, which was submitted and verified by an interrogator by the name
      of “Wadi”, on page 96; Conversation of the Defendant with Agent John Doe No. 3
      Prosecution/124 (c) on pages 7, 22 – 23). Similarly, the Defendant took care to finance
      families of Fatah operatives who had been arrested or were wanted (Conversation of the
      Defendant with Agent John Doe No. 3 Prosecution/124 (c) on pages 22 – 23).

      Several documents related to this subject were seized during Operation “Protective Shield”,
      which are requests for assistance that wanted men address to the Defendant, asking to
      purchase weapons or explosives, and in order to relieve them of the necessity of earning a
      living (see: Prosecution/5 (2 – 12), which the Defendant verified during the course of his
      interrogation and that was documented in Transcript Prosecution/47 that was submitted and
      verified by an interrogator by the name of “Wadi”, on page 96; Prosecution/5 (64 – 65);
      Prosecution/5 (87); Prosecution/5 (105); Prosecution/5 (117); Prosecution/5 (118)).
      Correspondingly, the Defendant took the trouble to arrange for job appointments or work
      places for wanted men (see, for example, the Letters Prosecution/5 (78 – 79), which, in
      accordance with the Expert Opinion of DIFS Prosecution/5 is very likely to have been
      written by the Defendant).

      An additional document is Prosecution/5 (133), which includes a request to the Defendant
      for assistance to members of the Fatah movement who carried out terrorist attacks and were
      arrested by Israel, and for other wanted men; the Defendant noted on this document: “It is
      a priority to include them in the assistance” and in accordance with the Expert Opinion
      of DIFS Prosecution/5 this comment was, leaving no reasonable doubt, written by the
      Defendant.


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      Imad al-Shakir was a Tanzim operative who murdered in an Israeli in Salfit and when he
      became a wanted man, he asked the Defendant for assistance and even told him about the
      murder he had perpetrated. He explained in his testimony that he approached the Defendant
      because the Defendant was known as a person who would help in cases like his but he also
      described the Defendant as “a political person who did not participate in military
      affairs” (on pages 182 – 184).

(5)   Recruiting and training operatives for terrorist organizations

71.   During his Israel Security Agency interrogation, the Defendant confirmed the points that
      Abu Hamid told the Police regarding the financial assistance that the Defendant gave for
      constructing a military training camp for Tanzim operatives, in order to train them in
      guerrilla warfare and in the use of weapons (Statement of Abu Hamid Prosecution/149 (c)
      on pages 1 – 2). The Defendant even confirmed that he personally interviewed the young
      people who were training in his office (Transcript Prosecution/28 Sections 10 – 11, which
      was submitted and verified by an interrogator by the name of “Wadi”, on page 96;
      Transcript Prosecution/34 Section 3, which was submitted and verified by an interrogator
      by the name of “Itai”, on page 52; and Transcript of the Defendant’s interrogation
      Prosecution/98 (k), on page 9). In his police interrogation, the Defendant denied any
      connection to the training or instruction of field operatives (Prosecution/106 on page 3).

      In his above mentioned statement (on pages 6-7), Abu Hamid told how the Defendant
      appointed Muhaned as the cell commander after the death of the previous commander.
      During the course of his interrogation, the Defendant also confirmed the statements that
      Radaida told the Police with respect to the process by which he was recruited by means of
      the Defendant’s involvement (see Section 43 above). From the comments of the Defendant
      and Radaida, it becomes apparent that the Defendant heard from Radaida that he intended
      to perpetrate a shooting terrorist attack and, therefore, referred him to Muhaned, who was a
      senior field commander and had carried out terrorist attacks against Israeli targets. The
      terrorist attack in which the Greek Orthodox monk was murdered a result of this contact.




                                                             [Stamp] Gilmore 00780 [continued]

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(6) The Defendant’s public calls to carry out terrorist attacks against Israel

72.   As already explained above, the Defendant did not deny, during the course of his
      interrogation, his support for terrorist attacks against military and civilian targets in the
      West Bank, meaning soldiers and settlers (see Sections 13 – 16 above). The Defendant also
      explained that he would sometimes instruct the cells that accepted his authority to stop the
      terrorist attacks and would then inform them to resume them anew, using public television
      broadcasts (see Section 16 above). The Defendant was aware of the influence his words
      had on people carrying out terrorist attacks and said, “I have influence because I speak
      through the media. That is to say that I state the position using media outlets… My
      word is heard as if I were speaking in the name of the Fatah movement.” (Transcript of
      interrogation Prosecution/98 (d) on page 33; see also pages 37-39). The Defendant did not
      deny that cell members would turn to him to ask for assistance because he appeared as a
      spokesman for Fatah in the media and took a position calling for an armed struggle
      (Transcript of interrogation Prosecution/98 (e) on page 61). He admitted that during his
      public appearances he would encourage the operatives to carry out terrorist attacks within
      the territories against the army (Transcript of Investigation Prosecution/98 (j) on page 25,
      and Transcript Prosecution/29 Section 1 (b), which was submitted and verified by an
      interrogator by the name of Smith, on page 85.)

73.   The Defendant’s public calls for the perpetration of terrorist attacks against Israel were
      documented by the Intelligence Branch and were submitted in Binder Prosecution/3
      (including the original cassettes, Prosecution/3 (a) – (b)) by the head of the Research
      Division of the Intelligence Branch, Brigadier General Y. Cooperwasser (on page 38).
      With respect to this issue, the documents that have been included in Binder Prosecution/3,
      which do not document the words that the Defendant himself said on radio and television
      and were recorded, are to be ignored. Newspaper articles or other news items that attribute
      statements of one type or another to the Defendant are not admissible in accordance with
      the Rules of Evidence, due to the fact that their testimony is considered to constitute
      hearsay.




                                                              [Stamp] Gilmore 00781 [continued]

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      In general, based on statements that were made by the Defendant in the various media
      outlets, it can be said that he clearly emerges as someone speaking in the name of the Al
      Aqsa Martyrs Brigades and the Tanzim, and as their leader. The Defendant calls in these
      organizations – sometimes clearly and sometimes by inference – for the contination of the
      perpetration of terrorist attacks against Israel. After each Israeli action, he announced on
      behalf of the Fatah movement and the Al Aqsa Martyrs Brigades that revenge would not be
      slow to follow (see, for example, the interviews on Abu Dhabi television on January 14,
      2002, and August 15, 2001). Despite the Defendant’s claims that he opposed terrorist
      attacks within Israel, in several interviews he is heard supporting terrorist attacks that have
      been carried out within Israel and even praised the perpetrators (see justification of the
      terrorist attack in Netanya in the television interview with Al Jazeera on May 18, 2001;
      justification for the terrorist attack in Jerusalem on Al Jazeera television on August 9,
      2001; and an additional attack in Jerusalem that the Defendant justified on Watan
      Television on October 31, 2002.)

74.   During the funeral of Emad Elanati on October 2, 2000, the Defendant said on Watan
      Television Ramallah, “The days in which we just offer sacrifices are over. We must
      seek revenge. Israelis should be killed. Israelis should be killed. Yes. We have bullets.
      We have rifles and they are aimed at the occupation.”

      In a telephone interview with the newspaper Asharq al-Awasat on March 1, 2001, the
      Defendant was asked if Palestinian resistance might evolve from rocks to weapons, and he
      answered, “The armed struggle is a part of the intifada already and it is not limited to
      rocks. Since the intifada began, we have succeeded in killing 66 of them and injuring
      416, and this is a good outcome.”

      On October 29, 2001, the Defendant was interviewed on Watan Television Ramallah and
      he was asked his reaction to the two terrorist attacks that had been perpetrated that day in
      Hadera and in Baka al-Gharbiya, and he answered: “It is the right of Palestinian people,
      and in essence an obligation of its fighters, to respond to aggression and to avenge the
      slaughter that has taken place in Beit Rima, Bethlehem and Tulkarm. Therefore,
      what happened today is a natural response of Palestinian fighters to Israeli acts of
      slaughter.”

      On March 4, 2002, the Defendant was interviewed for the al-Zamam newspaper, which is
      published in London, and in accordance with reporter Nitzal Alliyati, the Defendant said




                                                               [Stamp] Gilmore 00781 [continued]

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    that the two suicide terrorist attacks (in Beit Yisrael and Ofra) were “Messages addressed
    to the Israelis that they should cease their support for Sharon.”

    After the death of Ra’ed Karmi on January 14, 2002, the Defendant spoke on Abu Dhabi
    television and called on the Al Aqsa Martyrs Brigades to carry out terrorist attacks against
    Israelis in revenge, (Prosecution/3 – dated January 14, 2002). The Defendant admitted this
    during the course of his interrogation (Transcript of Conversation Prosecution/98 (g) on
    page 78).

    On May 19, 2001, Watan Television Ramallah broadcast a procession that was led by the
    Defendant and a senior official from Hamas. During the procession, the Defendant spoke to
    the crowd using a loudspeaker and praised those people who had been killed during the
    course of the intifada, including the perpetrator of the terrorist attack in Netanya. In
    addition, the Defendant promised to continue terrorist attacks against the settlers and
    praised those perpetrating suicide attacks against settlers.




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E.    The Connection of the Defendant to the Terrorist Attacks That Are the Subject of the
      Indictment

75.   In the Indictment, the Defendant is charged with involvement in 37 terrorist attacks that
      were set forth in the appendix to the Indictment, and which were perpetrated by field
      commanders and terrorism operatives who were subordinate to the Defendant.

      In its summation, the Prosecution attributed to the Defendant only 21 terrorist attacks from
      the list that had been appended to the Indictment, and therefore this verdict will relate only
      to those 21 terrorist attacks for which, in accordance with the Prosecution’s claims,
      evidence was presented that connects the Defendant to the perpetration of the attacks.
      Discussion of these terrorist attacks will include the evidence that was submitted with
      respect to the events of the terrorist attack itself, who planned and perpetrated it, and what
      the Defendant’s relationship was to the terrorist attack or its planners or its perpetrators.

(1)   Murder of Talia and Binyamin Kahane, of blessed memory, near Ofra

76.   On December 31, 2000, at 6:30 a.m., shots were fired from an ambush on the car of the
      couple, Talia and Binyamin Kahane, of blessed memory, and their five children, on Route
      No. 60 near the settlement Ofra. As a result of the shots, the car rolled into a ditch
      alongside the road. The Kahane couple were murdered in this terrorist attack (Death
      Certificate Prosecution/128 (a)-(b)) and their five children were injured (See the Action
      Report of Eli Kojman and Superintendent Ofer Chelouche Prosecution/128 (c)-(d),
      Photograph Boards Prosecution/128 (h)-(i) that were submitted by Kojman and Chelouche
      during their testimony, on pages 121, 127; and the Statement of a Public Employee given
      by Superintendent Ovadya Prosecution/128 (e)). The interrogation conducted by DIFS
      found, on the basis of the bullet shells from a Kalashnikov rifle that were collected at the
      scene, that the weapon used in this terrorist attack was also used in terrorist attack No. 6 on
      the list appended to the Indictment, in which Eliahu Cohen, of blessed memory, was
      murdered near Givat Ze’ev (Expert Opinion of Howard Silverwater Prosecution/128 (f)-
      (g)).

77.   In his police interrogation, Abu Hamid intimated that he was the one who supplied the
      weapon and ammunition to the terrorist who murdered the Kahane couple, of blessed
      memory, Ahmed Gandor (Statement by Abu Hamid Prosecution/149 (a) on pages 4-6,
      which was collected by staff Sergeant Major Ibrahim Elkura’an, on the basis his testimony
      on page 194). In the statement, Abu Hamid said that Gandor asked him for a weapon
      (Kalashnikov) and ammunition in order to perpetrate a terrorist shooting attack on an
      Israeli vehicle near Ramallah and the next day the murder of the Kahane couple, of blessed
      memory was reported to him, as he learned from the report on the radio.

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      In this case we are permitted to consider only the testimony of Abu Hamid and commanded
      to ignore the things that Gandor told him about the manner in which the terrorist attack was
      carried out , because this is hearsay evidence. Consequently, this Court does not have
      admissible evidence showing that this murder was committed using the weapon that Abu
      Hamid gave to Gandor. Therefore, we do not have any evidence connecting the Defendant
      to the murder of the Kahane couple, of blessed memory (the Defendant said during the
      course of his interrogation that he was acquainted with Gandor, who was killed by an
      accidentally discharged bullet – Transcript Prosecution/68 Section 2). Indeed, a large
      quantity of evidence was submitted with respect to the Defendant’s comprehensive and
      supreme responsibility for the terrorist attacks perpetrated by members of Fatah on the
      West Bank, as the person who led this activity, who called for its perpetration and who
      assisted its actualization by supplying money, weapons and explosives. However, there is
      no admissible evidence that this particular terrorist attack was indeed perpetrated by
      members of the Fatah.

      The only admissible evidence in this matter is that the Defendant assisted Abu Hamid to
      purchase weapons and ammunition for the purpose of carrying out terrorist attacks, as Abu
      Hamid and the Defendant admitted during interrogation (see Chapter C (2) above) and that
      Abu Hamid did indeed give a weapon that he purchased with the assistance the Defendant
      to Gandor for the purpose of perpetrating a terrorist attack. Beyond this, we have no
      evidence.

(2)   Murder of Akiva Pashkos, of blessed memory, in the Atarot industrial area

78.   On January 25, 2001, at 6:25 p.m., shots were fired from an ambush at the vehicle of Elazar
      Akiva Pashkos, of blessed memory, in the Atarot industrial area. The deceased was
      traveling in a GMC van and was shot with a 9 mm caliber pistol (see DIFS Opinion
      Prosecution/129 (c)). As a result of this shooting, the deceased died (Death Certificate
      Prosecution/129 (a)) and was found lifeless in his van approximately one minute after the
      shooting (See the testimony of Herman Sapek on page 150, report of Superintendent Leor
      Nadivi, Prosecution/129 (b), and his testimony on page 132). The event is also depicted by
      pictures photographed by Avinoam Alia that are appended




                                                             [Stamp] Gilmore 00783 [continued]

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      to the public documents that were submitted (Prosecution/129 (d)).

79.   Ahmed Barghouti admitted during interrogation that he gave Abu Satha and another person
      a vehicle in order to perpetrate a terrorist attack, and after several hours, the two reported to
      him that they had shot a Jew traveling in a GMC in the Atarot area, who was injured by the
      shots (Statement Prosecution/165 (a) on page 3, which was submitted by Staff Sergeant
      Major David Mizrahi on page 184.)

      Abu Satha admitted that he perpetrated a terrorist attack in the Atarot industrial area and
      shot a pistol at the driver of a gray GMC Safari (as can be seen in the pictures
      Prosecution/129 (d) which were photographed after the terrorist attack) and later reported
      this to Ahmed Barghouti, who was, in accordance with Abu Satha, the Defendant’s “driver
      and right-hand man” (Statement Prosecution/156 (b), which was submitted and verified
      by the police officer Marco Dahan, on page 198).

80.   The Prosecution does not have any evidence that directly connects the Defendant to the
      above mentioned terrorist attack. However, a large quantity of general evidence has been
      presented showing that Ahmed Barghouti was the Defendant’s close assistant and operated
      with his knowledge and under his sponsorship for organizing and carrying out terrorist
      attacks. The Defendant admitted that he financed terrorist attacks in which Ahmed
      Barghouti was involved, that he supported his activity and that Ahmed Barghouti would
      report to him after the terrorist attack was completed. The Defendant also admitted that
      from his perspective, Ahmed Barghouti was responsible for the military operations in the
      Ramallah area and that he operated in coordination with Defendant. The Defendant
      explained during the course of his interrogation that his connection with the terrorist cells
      was through Ahmed Barghouti (see Chapter C (3) above).

      Abu Satha was also close to the Defendant and during one period served as his bodyguard.
      The Defendant confirmed during the course of his interrogation that Abu Satha worked in
      his office and under his responsibility, through Ahmed Barghouti, and he knew that the two
      were carrying out terrorist attacks against civilians in the Jerusalem area (see Chapter see
      C (4) above).

      The Defendant also said during interrogation that he considered himself responsible for the
      activities of the cells that worked with Ahmed Barghouti and Abu Satha – unlike other
      cells – because the two were close to him and he financed their activities (see Section 60
      above). The Defendant also acknowledged that he acquired influence over the cells’
      activities through the assistance and weapons that he gave them (see Section 61 above).



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      All this is in addition to the Defendant’s overall responsibility as the commander and leader
      of all of the terrorism operatives of the Fatah on the West Bank, as he himself admitted (see
      Section 65 above) and in addition to the fact that the Defendant encouraged terrorism
      operatives, both publicly and individually, to carry out terrorist attacks.

      The difficult legal question is whether this is enough to substantiate the Defendant’s
      criminal responsibility for the act of murder that was committed in this case – when there is
      no evidence that ties him directly to the terrorist attack – will be considered in the Chapter
      of conclusions.

(3)   Murder of the Greek Orthodox monk Tsibouktzakis Germanos, of blessed memory,
      in Ma’ale Adumim

81.   On June 12, 2001, at 10:30 p.m., shots were fired from an ambush on the road between
      Jerusalem and Ma’ale Adumim, at the private car of the Greek Orthodox monk
      Tsibouktzakis Germanos, of blessed memory. The car, a Peugot utility-type model, had
      Israeli license plates. Germanos, of blessed memory, was murdered by those shots
      (Certificate of Death Prosecution/132 (a) and Pathology Expert Opinion of Professor Hiss
      Prosecution/130 (b)). Superintendent Nissim Mizrahi (on page 131), who submitted the
      report of the preliminary visit to the scene and photographs (Prosecution/130 (c)-(d)), and
      Senior Staff Sergeant Major Avi Levi of DIFS, who submitted a Statement of a Public
      Employee (Prosecution/130 (f)) both testified on this terrorist attack. The bullet shells that
      were gathered at the scene were checked by the DIFS (see the expert opinion of
      Superintendent Avi Kaufman, Prosecution/130 (g)-(i)).




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82.   Radaida admitted during interrogation that he perpetrated the above mentioned terrorist
      attack and described the reasons for it. He said that he asked the Defendant about
      perpetrating a suicide terror attack. The Defendant referred him to Muhaned and instructed
      Muhaned to give a weapon to Radaida, and so he did. The Defendant also told Radaida that
      the Tanzim perpetrates terrorist attacks against the army and the settlers but not suicide
      terrorist attacks and that he had given him the weapon for this purpose. And indeed, the
      weapon (Kalashnikov) that Radaida received from Muhaned, in accordance with the
      Defendant’s direct orders, was the one used to murder the monk Germanos, of blessed
      memory, as he described during the course of his interrogation, explaining that he
      erroneously thought that he was a settler (see Chapter C (8) above Sections 41-42).

83.   The Defendant himself confirmed Radaida’s words during the course of his interrogation
      and said that he had referred him to Muhaned after he asked to commit suicide, and later
      heard that he had erroneously killed a Greek monk (see Section 43 above). On the basis of
      all this, the direct personal responsibility of the Defendant to this terrorist attack is clear.

(4)   Murder of Yaniv and Sharon Ben-Shalom, of blessed memory, and Doron Yosef Sviri,
      of blessed memory, on Route 443

84.   On August 5, 2001, at 10:30 p.m., the couple Yaniv and Sharon Ben-Shalom, of blessed
      memory, and Doron Yosef Sviri, of blessed memory (Sharon’s brother) were murdered
      while traveling together with their two children in a Passat model car with Israeli license
      plates, on Route 443 by the Dor Energy gas station (see Death Certificates and Pathology
      Opinion Prosecution/131 (a) – (c)).

      The results of the terrorist attack were described by police officers Haim Toledano and
      Advanced Staff Sergeant Major Shaby Ovadya (on pages 123, 139 and their Action Report
      Prosecution/131 (d) – (e), accompanied by Photograph Board Prosecution/131 (f)). The
      bullets that were gathered at the site were sent to DIFS for study and it was found that they
      were fired from two weapons: an MP5 submachine gun and a Kalashnikov (Expert Opinion
      Prosecution/131 (f)).




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85.   Ahmed Barghouti said during the course of his interrogation that he gave his MP5 rifle to
      Abu Satha after Abu Satha requested it for his cell, and a short time later, he heard from
      Abu Satha and also on the news that a member of his cell perpetrated a terrorist attack in
      which three Jews were killed near Beit Ghur (Statement Prosecution/165 (a) on page 2,
      which was submitted by Staff Sergeant Major Mizrahi, on page 184). Abu Satha also said
      during interrogation that he received the MP5 rifle and a full cartridge of bullets from
      Ahmed Barghouti and gave them to two members of his cell, Husam and Faris. The two
      told him that they perpetrated the terrorist attack near Beit Ghur in which three Israelis
      were killed (Statement Prosecution/156 (b) on page 3, which was submitted by an
      interrogator by the name of Dahan on page 198).

      The terrorist who perpetrated the attack, Husam Shehade, confirmed during interrogation
      that he and another person perpetrated the terrorist attack near Beit Ghur on Route 443 by
      the Dor Energy gas station by firing at a white Passat car (see photographs). He noted that
      the shots were fired with an MP5 rifle that he received from Ahmed Barghouti and that his
      partner in the terrorist attack was armed with a Kalashnikov. On the following day,
      Shehade heard that three Israelis were killed as a result of the terrorist attack and reported
      this to Ahmed Barghouti, who passed a report on to the Defendant (Statement
      Prosecution/160 (a) on pages 4 – 5, which was submitted by Dahan on page 198). Shehade
      refused to answer questions during his testimony. Consequently, he was declared a hostile
      witness and his statements Prosecution/160 (a) – (c) were submitted together with the
      Indictment verdict and sentence in his case (Prosecution/159 (a) – (d)). During his
      testimony said only, “I have said what I had to say and do not want to say anything
      else” (on page 73). Shehade was convicted of perpetrating this terrorist attack.

86.   No evidence was presented connecting the Defendant to this terrorist attack other than his
      indirect connection, in accordance with that which has been set forth above, in the cases of
      the terrorist attacks in which his close associates, Ahmed Barghouti and Abu Satha, were
      involved (see Section 80 above). The Defendant supplied money and weapons to the
      members of the cell, by way of Ahmed Barghouti, in order to carry out terrorist attacks and
      the weaponry used for this terrorist attack was supplied by Ahmed Barghouti.

      The question of whether this is sufficient to substantiate the Defendant’s criminal
      responsibility for the acts of murder which were perpetrated during this terrorist attack
      when there is no evidence connecting the Defendant directly to this terrorist attack, will be
      examined in the Chapter of conclusions.

(5)   Murder of Meir Weissboiz, of blessed memory, on Route No. 9 in Jerusalem



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87.   On September 15, 2001, at 9:15 p.m., shots were fired from an ambush on a vehicle
      traveling on Route No. 9 in Jerusalem, from French Hill towards Golda Meir Boulevard.
      The vehicle, a white Renault Express, was driven by Moshe Weiss, who testified that he
      was injured by a bullet that is lodged in his body – in his spine – to this day, and his cousin
      Meir Weissboiz, of blessed memory, was killed by the shots (on page 138, Death
      Certificate Prosecution/132 (b), Action Report of Superintendent Leor Nadivi
      Prosecution/132 (c) and the testimony of Nadivi on page 132, and also the Photograph
      Board Prosecution/132 (c)). Bullet shells were collected the scene and sent to DIFS for
      examination, which determined that they were apparently fired from a pistol and an MP5
      submachine gun from which the fatal shots that killed the three people mentioned in
      incident No. 4, above, were fired (DIFS Expert Opinion Prosecution/132 (d)).

88.   Husam Shehade said in his Statement Prosecution/160 (a) on page 6, that was collected by
      Advanced Staff Sergeant Major Mark Dahan (on page 198 of the transcript) that he
      received the pistol and the MP5 submachine gun from Ahmed Barghouti and traveled with
      two other people (Faris and Heitham) in the car until they reached Route No. 9 in the
      direction of Ramot and French Hill. When they saw the white utility vehicle, they began to
      fire at its passengers and fled to Ramallah. After the incident, Shehada asked Abu Satha,
      who worked in the office of the Defendant, to report to the Defendant and to Ahmed
      Barghouti about the shooting. The following day, he heard that one of the passengers who
      was injured by the shots had died of his wounds (see also Section 85 above, with respect to
      Shehade’s testimony). Shehade’s statements are supported by comments said by Ahmed
      Barghouti and Abu Satha in their interrogations (see Section 85 above).

89.   The connection of the Defendant to this terrorist attack, like the attack in Section 4 above,
      which was also perpetrated by Shehade, is not direct, since no evidence was submitted with
      respect to the Defendant’s involvement in this terrorist attack. The indirect connection of
      the Defendant to this terrorist attack is derived from the fact that it was brought into being
      by his close associates and assistants, Ahmed Barghouti and Abu Satha, whose activities
      the Defendant financed, including the purchase of weapons.

      The legal question of whether this is sufficient to substantiate the criminal responsibility of
      the Defendant for the act of murder that was carried out during this terrorist attack, when
      there is no evidence connecting the Defendant directly to this particular terrorist attack, will
      be examined in the Chapter of conclusions.

(6)   Murder of Eliahu Cohen, of blessed memory, in the shooting terrorist attack on Route
      443 near Givat Ze’ev



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90.   On December 21, 2000, at 8:30 p.m., shots were fired from an ambush at the car of Eliahu
      Cohen, of blessed memory, traveling on Route 443 approximately 1.5 km [0.93 miles]
      from the settlement Givat Ze’ev (see the Death Certificate Prosecution/133 (a), Pathology
      Opinion Prosecution/133 (c) and the report of the mobile DIFS Laboratory
      Prosecution/133 (c) about which Superintendent Chelouche testified on page 127). Brian
      Malcolm Shapiro, an eyewitness to the terrorist attack, testified about it (on page 149).
      Examination of the bullet shells that were gathered at the scene found that the weaponry
      used in this terrorist attack was apparently the Kalashnikov rifle that was also used to
      murder the Kahane couple, of blessed memory (see Opinion Prosecution/133 (d) and
      Prosecution/128 (f)).

91.   During the course of his interrogation, Abu Hamid spoke about the activities of the Ahmed
      Gandor cell, which perpetrated this terrorist attack (Statement Prosecution/149 (a) on pages
      10 – 12, which was collected by Elkura’an: his testimony is on page 194). Abu Hamid said
      during interrogation that he supplied Gandor with the Kalashnikov rifle and ammunition
      that he received for this purpose from Ahmed Barghouti and that he gave Gandor
      permission to perpetrate a shooting terrorist attack on Route 443 where Eliahu Cohen, of
      blessed memory, was killed. Abu Hamid also said that the terrorist attack was carried out
      by Muhaned and Shawish on the basis of what Muhaned told him after the terrorist act.
      Muhaned was not a witness in this trial, and the interrogation of Shawish, who did testifiy
      before us, did not relate to this event and this terrorist attack was not included in the
      Indictment filed against Shawish (Prosecution/157 (a)).

      In light of that which was mentioned above, we have before us only the testimony of Abu
      Hamid, in which he said that he approved a shooting terrorist attack against an Israeli
      vehicle on Route 443 in late 2000, and that he supplied the weapon to the perpetrators. We
      do not have before us any admissible evidence with respect to the identity of the person
      who perpetrated the terrorist attack, meaning that we do not have any admissible evidence
      connecting the Defendant to a terrorist attack perpetrated through Abu Hamid.




                                                             [Stamp] Gilmore 00786 [continued]

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      The only evidence before us is that the Defendant assisted Abu Hamid in purchasing
      weapons and ammunition for terrorist attacks and that Abu Hamid gave the weapon that
      was purchased with the assistance of the Defendant to Gandor in order to perpetrate a
      shooting terrorist attack (this is the same situation as in the case of the murder of the
      Kahane couple, of blessed memory, which was carried out using the same weapon; see
      Chapter E (1) above).

(7)   Murder of Yoela Chen, of blessed memory, near the Givonim gas station on Route 443

92.   On January 15, 2002, at 7:55 p.m., Yoela Chen, of blessed memory, arrived in a Fiat Uno
      at the gas station near the Givonim intersection. Rochelle Eini was sitting next to her. Two
      terrorists approached her car and shot dozens of bullets at the two, from short range. As a
      result of the shooting, Yoela Chen, of blessed memory, was murdered (Death Certificate
      134 (a)) and Rochelle Eini was injured in her head and shoulder. An eyewitness to the
      event, Sammy Vaknin, testified he saw a young man running away towards the
      neighboring village of al-Jib after the shooting, and he helped rescue the travelers (on page
      143). Superintendent Ami Leifer and Senior Staff Sergeant Major Eli Kojman described
      the incidents in similar manner (on page 130 of the transcript and Reports Prosecution/134
      (b)-(d.1), in addition to the Photograph Board Prosecution/134 (b) and
      Prosecution/134 (d.2)).

93.   The terrorist attack in which Yoela Chen, of blessed memory, was murdered was carried
      out following direct orders given by the Defendant in revenge for the killing of Ra’ed
      Karmi the day before the terrorist attack, as the Defendant admitted during the course of his
      interrogation. During the interrogation, the Defendant said that he instructed his close
      associate, Ahmed Barghouti, to perpetrate this revenge terrorist attack and that Ahmed
      reported to him that the terrorist attack had been perpetrated. The Defendant even took
      responsibility for perpetrating this attack and noted that this was the first time that Fatah
      perpetrated an attack deep within Israel (see Section 66 (a) above.)

      The Defendant’s comments during the course of his interrogation are consistent with thosee
      of Ahmed Barghouti, Abu Satha and Musafar during their interrogations (see Sections 30
      and 53 above; Abu Satha’s Statement Prosecution/156 (b) on pages 5-6 about which
      collection Dahan testified, on page 198; and the Statement of Ahmed Barghouti
      Prosecution/165 (a) on page 3 and Prosecution/165 (c) on pages 1-2, about which
      collection Mizrahi testified, on page 184.) They described the terrorist attack that was
      carried out at the gas station by shooting at a Fiat Uno car in which one woman was
      murdered in her companion was injured. Abu Satha, who actually fired the shots, claimed
      that he originally decided not to shoot at the two because they were women but after they
      began to shout, he shot at them, as did his comrade Tarek.
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      Abu Satha claimed that he perpetrated the terrorist attack in accordance with the orders
      given by Ahmed Barghouti, while the latter claimed that Abu Satha was the one who
      initiated a terrorist attack and therefore he gave him the MP5 rifle. Ahmed Barghouti
      claimed in his statement that Abu Satha told him that he had reported his intentions to
      perpetrate a terrorist attack before he perpetrated it and the Defendant told him not to
      undertake this terrorist attack.

      Ahmed Barghouti explained that Abu Satha was the Defendant’s bodyguard and driver and
      that the Defendant feared for his life. In the conversation between the Defendant and
      Ahmed Barghouti after they were arrested, which was recorded without their knowledge,
      the two coordinated versions with respect to this terrorist attack and Ahmed Barghouti told
      the Defendant that he emphasized during the course of his interrogation he had given the
      orders to perpetrate this terrorist attack behind the Defendant’s back (Transcript of
      Conversation Prosecution/128 (c) on pages 14, 17). However, the Defendant, as noted
      above, admitted that he gave orders to perpetrate this terrorist attack and therefore it is clear
      that his close associate Ahmed Barghouti tried to save him from being directly involved in
      this terrorist attack, like other terrorist attacks.

(8)   Murder of six people in David’s Palace Banquet Hall in Hadera

94.   On January 17, 2002, at 10:45 p.m., a shooting terrorist attack was carried out at David’s
      Palace Banquet Hall in Hadera. The terrorist, Abed al-Salaam Hasouna, shot the security
      guard at the entrance to the hall, charged in, and began firing an automatic weapon at the
      crowd, until several people overtook him and he was shot to death (Pathologist’s Opinion
      Prosecution/135 (j)). They were celebrating at the Bat Mitzvah party of Nina Kardashova.
      As a result of this shooting, six people were murdered and tens were injured, some of them
      seriously. Those who were murdered are: Boris Melikhov, of blessed memory, (Death
      Certificate Prosecution/135 (b)); Dina Binayev, of blessed memory, (Death Certificate
      Prosecution/135 (c)); Anatoly Bakshayev, of blessed memory, (Death Certificate
      Prosecution/135 (d)); Avi Yazdi, of blessed memory, (Death Certificate
      Prosecution/135 (e)); Edward




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      Bakshayev, of blessed memory, (Death Certificate Prosecution/135 (f)); and Aharon Ben
      Yisrael-Ellis, of blessed memory, (Death Certificate Prosecution/135 (g)). During his
      testimony, eyewitness Constantine Kardashov related the course of events (on page 125),
      and the incident can also be seen in the police presentation and cassettes that were recorded
      during the incident (Prosecution/135 (a), Prosecution/135 (k) – (l)). An M-16 assault rifle
      and a grenade that were use by the terrorist were seized at the scene (see Opinion
      Prosecution/135 (g) – (i) and the testimony of Superintendent Leifer on page 130).

95.   Nasser Aweis was responsible for the perpetration of this terrorist attack and he was the
      one who provided the terrorist Hasouna with weapon for this purpose (see his statement
      Prosecution/172 (b), about which collection Major Amar testified on page 191). This also
      emerges from the statement given by Ahmed Barghouti who said that Aweis reported to
      him on the terrorist attack that was carried out in the banquet hall in Hadera (Statement
      Prosecution/165 (d) about which collection Staff Sergeant Major Ya’akoboff testified on
      page 171). Ahmed Barghouti said that he heard about perpetration of the terrorist attack on
      television while he was with the Defendant and immediately called Aweis, who took
      responsibility for perpetrating the terrorist attack.

      Abdul Hamid also related to this terrorist attack during the course of his interrogation and
      he also explained that it was in revenge for the targeted assassination of Ra’ed Karmi and
      therefore the terrorist departed from Tulkarm, where Karmi had lived (Prosecution/149 (b)
      on pages 14-15 about which collection Staff Sergeant Major Elkura’an testified on page 194).

96.   There is no direct evidence that the Defendant was directly involved in the planning of the
      above mentioned terrorist attack or knew about its perpetration in advance. The Defendant
      claimed that he would hear reports of terrorist attacks from Ahmed Barghouti and Aweis
      only after they occurred, and in his conversation with Agent John Doe No. 1 he said that he
      knew about this terrorist attack only after the fact (Report Prosecution/118 Section 4 that
      was submitted by “Robert”). The indirect connection of the Defendant to the terrorist attack
      in Hadera is created by the fact that he supplied Aweis with money, weapons and
      explosives in order to carry out terrorist attacks and that the latter considered him a leader
      and commander and therefore reported to him after every terrorist attack. The Defendant
      admitted to providing Aweis with money in order to purchase weapons and said that when
      he wanted to insure that terrorist attacks would cease he would also contact Aweis about
      this (see Section 23, above). In spite of this, the Defendant did not consider himself
      responsibility for the activities of Aweis unlike the activities of Ahmed Barghouti, Abu
      Satha and Abu Hamid (see Sections 60 and 65, above). During the course of his



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      interrogation, Aweis also said that he perpetrated the terrorist attacks that he initiated
      within the framework of Tanzim Fatah for which the Defendant was responsible, and that
      the Defendant helped them with financing terrorist attacks and supplying weapons. He
      noted that the Defendant was his superior (see Sections 21-22, above).

      The legal question of whether all this is sufficient to substantiate the Defendant’s criminal
      responsibility for the acts of murder that have been carried out during this terrorist attack –
      when there is no evidence directly connecting the Defendant to the terrorist attack – will be
      examined in the chapter of conclusions.

(9)   Murder of two women in the shooting terrorist attack at the corner of Jaffa Road and
      Lunz Street in Jerusalem

97.   On January 22, 2002, at 4:20 p.m., the terrorist Sa’id Ramadan opened fire with an M-16
      rifle at passersby on Jaffa Street, at the corner of Lunz, in Jerusalem until he was shot and
      killed. As a result of the shooting, Sarah Hamburger, of blessed memory, and Ora Sandler,
      of blessed memory, were murdered (Death Certificates Prosecution/136 (b) – (c)), and
      dozens of civilians were injured. Hanan Ben Naim, who killed the terrorist, testified
      regarding this incident (on page 121). Similarly, a police presentation with respect to the
      incident was submitted in addition to the action report of Superintendent Nadivi, who
      testified during the trial (Prosecution/136 (a), Prosecution/136 (d) and testimony on page
      132). The terrorist weapon was captured and sent to DIFS (Prosecution/136 (e) and
      testimony of Sergeant Major Azulai and Superintendent Leifer on pages 130 – 134).

98.   Ahmed Barghouti took responsibility for the perpetration of this terrorist attack (see
      Statement Prosecution/165 (a) on pages 4 – 5, about which collection Mizrahi testified on
      page 184). He said that he decided to insert a suicide terrorist bomber into Israel and for
      that was assisted by Aweis, who sent the terrorist Sa’id Ramadan to him. The two prepared
      the terrorist for the terrorist attack, took him to pray, bought him clothing and obtained an
      M-16 rifle and bullets for him. That day, in the afternoon, Ahmed heard about the terrorist
      attack that had been perpetrated in Jerusalem.




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      There is no direct evidence that connects the Defendant to this terrorist attack and he even
      said during the course of his interrogation that he and Arafat were angry at Ahmed
      Barghouti because this terrorist attack had been perpetrated (Transcript of Conversation
      Prosecution/98 (k) on page 32). The indirect involvement of the Defendant in the terrorist
      attacks that have been carried out by Ahmed Barghouti and Aweis, by themselves or
      through others, was explained above. The legal question about whether this is sufficient in
      order to substantiate the Defendant’s criminal responsibility for the acts of murder that
      have been carried out by this terrorist attack – where there is no evidence connecting the
      Defendant directly to the terrorist attacks – will be examined in the Chapter of conclusions.

(10) Shooting terrorist attack in the Neve Ya’akov neighborhood in Jerusalem, in which
     police officer Galit Arbiv, of blessed memory, was killed

99.   On February 25, 2002, at 6:25 p.m., a terrorist attack was carried out by a single terrorist
      armed with an M-16 rifle and a hand grenade on the main road of the Neve Ya’akov
      neighborhood in Jerusalem.

      From the testimony of an eyewitness, police officer Adam Garfield, it becomes apparent
      that the terrorist opened fire on vehicles that were traveling on the road and also at civilians
      and police officers who were at the scene. Police officer Galit Arbiv, of blessed memory,
      was sitting in the police car with Garfield, and charged at the terrorist with her pistol
      drawn. The terrorist murdered police officer Arbiv, of blessed memory, by shooting her
      (Death Certificate Prosecution/137 (b)), seriously injured police officer Garfield, who
      remains disabled to this day, and police officer Amihai Dahan. The grenade that was
      thrown by the terrorist did not explode (see Garfield’s testimony on page 127, the
      testimony of Superintendent Leor Nadivi on page 132 and the reports and photographs that
      were submitted in Prosecution/137 (c), Prosecution/137 (g) plus Presentation
      Prosecution/137 (a) and the Photograph Board Prosecution/137 (g)). The terrorist weapons,
      the hand grenade that did not explode and the spent bullet shells were collected and sent to
      DIFS for examination (testimony of Superintendent Ami Leifer on page 130, Opinion of
      Superintendent Avi Kaufman Prosecution/137 (d) – (e) and the Opinion of Superintendent
      Yaniv Ron Prosecution/137 (e)).

100. The terrorist who was captured during the attack is Rami Nur, in accordance with that
     which has been set forthby Abu Hamid in his Statement Prosecution/149 (c) on pages 11 –
     12 (which was submitted by Sergeant Major Ya’akov Barazani on page 207). Abu Hamid
     said that when he and his brother Haloum Abu Hamid saw the terrorist attack in Neve
     Ya’akov on television, his brother reminded him that the terrorist Rami Nur had been in
     their home the previous day, and Haloum said that he was the one who had given Rami Nur


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     the M-16 rifle and bullets and sent him to perpetrate a terrorist attack after filming a video
     cassette, which he showed his brother Nasser after the terrorist attack. Haloum told his
     brother that he received the weapon and the terrorist Rami Nur from Ahmed Barghouti. In
     his above mentioned statement, Abu Hamid expressed anger about this and explained that
     this terrorist attack might entrap the Defendant because of his close ties to Ahmed
     Barghouti, when it would be discovered that the terrorist had survived and would be
     interrogated by the General Security Service.

     In his above mentioned statement, Abu Hamid also said that Yasser Arafat summoned the
     Defendant and Ahmed Barghouti to his office as a result of this terrorist attack. Ahmed
     Barghouti fled and told Abu Hamid that it is likely that they would arrest the Defendant
     because of this terrorist attack. The Defendant told Abu Hamid later that he explained to
     Arafat that there was no instruction with respect to a cease-fire at that time and then he –
     the Defendant – stood behind his people as long as Arafat had not issued a presidential
     order to stop the terrorist attacks. Abu Hamid also said in his statement that Ahmed
     Barghouti admitted to him that he had given the weapon to the brother of Abu Hamid
     (Haloum) in order to perpetrate the terrorist attack in Neve Ya’akov.

101. From all that has been stated above, it becomes apparent that Nasser Abu Hamid did not
     take part in planning and implementing this terrorist attack but that it was done by his
     brother Haloum and by Ahmed Barghouti, who were witnesses at the trial. Haloum Abu
     Hamid was convicted, the basis of his confession, for several acts of terrorism, including
     responsibility for implementing the above mentioned terrorist attack in Neve Ya’akov (see
     item 13 in the amended Indictment Prosecution/161 (a), and Ruling Prosecution/161 (b)).
     Haloum told of his responsibility for the above mentioned terrorist attack, in accordance
     with that which has been set forth above, in his Statement Prosecution/162 (a)-(b), which
     was collected by Ibrahim Elkura’an (his testimony is on page 194) and Staff Sergeant
     Major David Mizrahi (his testimony is on page 184).

     In his above mentioned statement (Prosecution/162 (a) on pages 6-9, Prosecution/162 (b)
     on pages 2-4), Haloum said that he prepared Rami Nur for the terrorist attack, arranged for
     someone to transport him, and gave him the shrapnel grenade and an M-16 rifle with
     bullets. While he was preparing Rami Nur for the terrorist attack, Ahmed Barghouti came
     to inquire about how preparations for the terrorist attack were progressing. Ahmed
     Barghouti wanted the terrorist attack to be perpetrated in a crowded part of Jerusalem;
     however, they finally agreed that it would perpetrated in northern Jerusalem




                                                              [Stamp] Gilmore 00789 [continued]
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     because of the roadblocks, and Ahmed Barghouti gave his approval for this.

102. During the course of his interrogation, Ahmed Barghouti confirmed his connection to the
     terrorist attack in Neve Ya’akov. In his Statement Prosecution/165 (a), he said that Nasser
     Aweis sent the terrorist Rami Nur to him in order to perpetrate the terrorist attack in Neve
     Ya’akov, and he referred Rami Nur to Haloum Abu Hamid so that he could assist him in
     entering Jerusalem (Statement Prosecution/165 (a) on page 6, which was gathered by Staff
     Sergeant Major Mizrahi in accordance with his testimony on page 184). Ahmed Barghouti,
     like his friend Nasser Abu Hamid, said during the course of his interrogation that he was
     summoned, together with the Defendant, to Arafat’s office as a result of this terrorist
     attack; the Defendant asked him if he was responsible for the terrorist attack and Ahmed
     Barghouti responded in the affirmative, and heard from the Defendant that Arafat was
     angry about the terrorist attack (Statement Prosecution/165 (c) on page 5 that was collected
     by Staff Sergeant Major Mizrahi in accordance with his testimony on page 184).

103. On the basis of the above mentioned, the terrorist attack was planned by Aweis and Ahmed
     Barghouti. During the meeting between Ahmed Barghouti and the Defendant after their
     arrests, when they were recorded without their knowledge, Ahmed repeated several times
     and emphasized to the Defendant that during the course of his interrogation he had said that
     the Defendant heard about this terrorist attack only after it was carried out (Transcript of
     the Conversation Prosecution/127 (c) on pages 4, 11).

     There is no evidence that connects the Defendant directly to this terrorist attack, other than
     the connection created by his general, indirect involvement to the terrorist attacks that were
     planned and perpetrated by Ahmed Barghouti and Aweis, as explained above (see Sections
     80, 86 and 96 above). It is not for nothing that Yasser Arafat summoned Barghouti for
     clarification after this terrorist attack was carried out , since he also thought that the
     Defendant was the end-point for claims in this matter. The legal question of whether this is
     sufficient in order to substantiate the Defendant’s criminal responsibility for the act of
     murder that was carried out in this terrorist attack – where there is no evidence connecting
     the Defendant directly to this terrorist attack – will be examined in the Chapter of
     conclusions.

(11) Murder of Gad Rejwan, of blessed memory, in the Bashkevitz factory in Atarot

104. On February 22, 2002, at 6:30 a.m., Gad Rejwan, of blessed memory, was murdered in the
     Bashkevitz factory in the Atarot industrial area by Abed el-Majid Mehadi, who had in the
     past been employed in the factory (Death Certificate Prosecution/138 (a) and Pathologist’s
     Opinion Prosecution/138 (b)). Zaharan Shehade, who was at the scene, said that when he


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     heard shots, he saw a man running from the scene and Gad Rejwan lying on the floor and
     asking for someone to call for help (on page 146).

     Gad Rejwan, of blessed memory, died from the shooting, and his death was declared at the
     scene (see Action Report 138 (c) and the testimony of Superintendent Leor Nadivi on page
     132, also the report from the mobile laboratory that was recorded by Superintendent Nissim
     Mizrahi Prosecution/138 (d) and his testimony on page 131). The photographs of the scene
     of this event were submitted as Exhibition Prosecution/138 (d) and 138 (f) by Mizrahi and
     Nadivi during their testimony. The murder was carried out with a pistol (Opinion
     Prosecution/138 (e)); a number of the bullets fired from it caused fatal wounds in the body
     of the deceased (Opinion Prosecution/138 (b)).

105. Abu Hamid said in his Statement Prosecution/149 (b) (on pages 25-28) that he was
     approached by Abed al-Majid who said that he had worked in the Rejwan family’s factory
     and wanted to perpetrate a terrorist attack together with a person named the Ramzi. The
     three met together and planned the attack; Abu Hamid gave each of them a pistol. Twenty
     minutes later, Ramzi reported to Abu Hamid that they had perpetrated a terrorist attack, and
     Abed al-Majid related how he had shot Rejwan, of blessed memory, to death.

     Abu Hamid called the police and took responsibility for the terrorist attack in the name of
     the Al Aqsa Martyrs Brigades (Statement of Abu Hamid that was submitted by Staff
     Sergeant Major Elkura’an on page 194).

106. From that which has been set forth above, it becomes apparent that there is no direct
     evidence with respect to the identity of the perpetrators, since that which Abed al-Majid,
     who did not testify in this Court, told Abu Hamid is inadmissible hearsay evidence.

     However, on the basis of unequivocal circumstantial evidence it can be determined that the
     terrorist attack was carried out by al-Majid with Abu Hamid’s assistance and authorization,
     as Abu Hamid said in his testimony. Abu Hamid said that Abed al-Majid told him that he
     was going to perpetrate a terrorist attack in the factory of the Rejwan family, in which he
     had once worked, and for this purpose he equipped him




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     with a pistol. A short time later, Abed al-Majid reported to him that he had shot and killed
     Gad Rejwan, of blessed memory, who was indeed murdered by pistol shots.

     There is no evidence that connects the Defendant directly to this terrorist attack, other than
     the connection created by his general, indirect involvement to the terrorist attacks that were
     planned and perpetrated by Abu Hamid, as explained above (see Sections 27 and 60 – 65
     above). The legal question of whether this is sufficient in order to substantiate the
     Defendant’s criminal responsibility for the act of murder that was carried out in this
     terrorist attack – where there is no evidence connecting the Defendant directly to this
     terrorist attack – will be examined in the Chapter of conclusions.

(12) Terrorist attack in the Seafood Market restaurant in Tel Aviv

107. On March 5, 2002, at 2:30 a.m., a terrorist attack was carried out at the Seafood Market
     restaurant in Tel Aviv by the terrorist Ibrahim Hasouna, who arrived at the scene armed
     with an M-16 rifle, hand grenades and a knife. The incident was described by eyewitnesses
     Willis Hazan (on page 148) and Leon Gorenstein (on page 129), who were present in the
     restaurant at the time the terrorist attack. With the rifle in his hands, the terrorist opened
     fire at the people sitting in the restaurant until the weapon jammed and the hand grenade he
     threw did not explode. At this stage Hasouna began to stab people, including police officer
     Staff Sergeant Major Salim Barakat, of blessed memory, who tried to stop the shooting
     campaign and was stabbed to death by the terrorist. In addition to Staff Sergeant Major
     Barakat, Yosef Habi, of blessed memory, and Elihu Dahan, of blessed memory, were also
     murdered in this terrorist attack (see the Pathologist’s Opinion Prosecution/139 (b) through
     Prosecution/139 (d)). Many others were injured. The terrorist himself was shot and killed
     during the terrorist attack and it was learned that he was Ibrahim Hasouna (Pathologist’s
     Opinion Prosecution/139 (k) and the DNA Tests Prosecution/139 (g)).

     The result of this terrorist attack can be seen on the Photograph Board Prosecution/139 (f)
     that was submitted by police officer Effi Yamin (on page 151) and the presentation
     prepared by the Police (Prosecution/139 (a)). Effi Yamin also submitted the Action Report
     that he wrote at the time. He was the person who took the terrorist’s bloodied knife, a
     smashed bullet, bullet shells, bullets and the M-16 rifle (Prosecution/139 (e)). The weapon
     that was seized was brought to the DIFS for examination (Prosecution/139 (h) and
     testimony of Superintendent Ami Leifer on page 130).

108. The terrorist attack at Seafood Market was carried out by Ibrahim Hasouna and was
     planned by Ahmed Barghouti, Abu Hamid and Aweis, as Ahmed Barghouti said during the
     course of his interrogation (see Section 29 above). Abu Hamid’s brother (Sharif Naji) was


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    also involved in the terrorist attack, as he explained during the course of his interrogation
    (see Section 55 above). He also connected Ahmed Barghouti to its planning. During the
    course of his interrogation, Ahmed Barghouti said that the terrorist Ibrahim Hasouna had
    been sent to him by Aweis and he gave him money, bought him clothing and made sure
    that there was someone who could drive him to Israel in order to perpetrate the attack
    (Tarek Malahi). He reported to the Defendant by telephone that the terrorist attack was
    ready to go, and the Defendant said that he was not interested in having it perpetrated
    within Israel. Ahmed Barghouti also said that that after the terrorist attack, the Defendant
    told him to tell Aweis not take responsibility for the terrorist attack in the media before he
    discussed it with the Defendant (see Section 29 above).

    During the course of the conversation between the Defendant and Ahmed Barghouti after
    their arrests, when they were recorded without their knowledge, Ahmed made certain to
    emphasize to the Defendant several times that he had said that he only discussed the
    terrorist attack on the telephone with the Defendant after it had occurred and added, “Be
    careful, I was not with you, I was not with you, I talked with you on the telephone”
    (Transcript of Conversation Prosecution/127 (c) on pages 4 – 5, 11). The two coordinated
    their versions with respect to their interrogation on this point.

    During the course of his interrogation, Abu Hamid also told about his involvement in the
    terrorist attack (Statement Prosecution/149 (b) on page 6 that was submitted by Staff
    Sergeant Major Elkura’an on page 194). He supplied hand grenades, and bullets for an M-
    16 rifle for the purpose of the terrorist attack when he saw that Hasouna was equipped with
    an M-16 rifle, before he departed for the terrorist attack. When the terrorist attack was
    reported during the night, including the fact that Hasouna had stabbed a police officer to
    death, Abu Hamid remembered that Nasser Haloum (Abu Hamid’s brother) had given the
    terrorist a knife and explained to him to use it if the rifle jammed.

    During the course of his interrogation, Haloum Abu Hamid explained his involvement in
    the terrorist attack (Statement Prosecution/162 on page 9, which was submitted by Staff
    Sergeant Major Elkura’an on page




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     194, and Statement Prosecution/162 (b) on page 4 that was submitted by Staff Sergeant
     Major Mizrahi on page 184). Haloum said that he trained Hasouna in the use of the M-16
     rifle. Sharif Naji Abu Hamid (he is Abu Hamid’s brother) said during the course of his
     interrogation that he accompanied the terrorist to Tel Aviv and obtained a car for the
     terrorist attack (Statement Prosecution/182, which was submitted by Staff Sergeant Major
     Ben Lulu on page 182).

109. The Defendant is indirectly connected to the terrorist attacks that were planned and
     perpetrated by Ahmed Barghouti, Abu Hamid and Aweis, in accordance with that which
     has been set forth above. However, with regard to the terrorist attack at the Seafood
     Market, which was planned and brought about by all three, the Defendant is also personally
     responsible for its perpetration. The subject of the responsibility of the Defendant for this
     terrorist attack win accordance with that which has been set forth above (see Sections 29,
     55 and 66 (c) above). The Defendant admitted during interrogation that he gave Ahmed
     Barghouti his approval for this terrorist attack before it actually happened, although he did
     give orders that the terrorist attack should be in the Judea and Samaria region and not
     within Israel. This also emerges from that which Ahmed Barghouti said during the course
     of his interrogation.

(13) Shooting terrorist attack in the Jeremy Hotel in Netanya

110. On March 9, 2002, at 8:25 p.m., two terrorists entered the Jeremy Hotel in Netanya armed
     with M-16 rifles and hand grenades. The two of them threw the hand grenades and fired at
     passersby and tourists. The incident was described by the eyewitness known by his initial
     “G“, who was squad commander in the “Almog” Border Police unit. He arrived at the hotel
     within 30 seconds after hearing shots fired and encountered injured people while the
     terrorists were still shooting. “G” began to chase the terrorists, and both of them were
     identified on the stairs of a shopping mall in the immediate vicinity; they were shot and
     killed (see Pathologist’s Opinion on the terrorist Shahdi al-Najimi Prosecution/140 (h) and
     also the Expert Opinion with respect to the second terrorist Prosecution/140 (i)). “G”
     confirmed in his testimony that, most unfortunately, some of the injured were hurt by shots
     fired by border police (on pages 117 – 118). In this terrorist attack, the infant Avia Malka,
     of blessed memory, and Israel Yihye, of blessed memory, were murdered (see the
     Notification of Death Form Prosecution/140 (b)).

     Cadet Rami Malka submitted the report of DIFS technician’s attendance at the scene of the
     terrorist attack, which describes the resultant findings of the scene (Prosecution/140 (f) and
     his testimony on page 118) and photographs of the scene (Prosecution/140 (g)). The Expert



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     Opinion of the Police Bomb Disposal Department states that a hand grenade was thrown at
     the hotel, and it did explode (Prosecution/140 (e)). From the report of Staff Sergeant Major
     Malka it becomes apparent that the two M-16 rifles that were used by the terrorists were
     seized at the scene (see also the testimony of Superintendent Leifer on page 130).

111. During the course of his interrogation, Nasser Aweis said that he perpetrated this shooting
     terrorist attack in Netanya but that it was carried out by two people whose names he did not
     know. The two were sent to him by another terrorism operative (Ahmed Abu Khadr), and
     Aweis organized transportation for the two through Mahmoud Titi, and even gave Ahmed
     Abu Khadr two hand grenades and two M-16 rifles. Several hours after the two were
     transported to Baka el-Sharkia, whence they entered Israel on foot, Aweis heard on
     television that there had been a terrorist attack in a hotel in Netanya. He called media
     outlets and took responsibility for the perpetration of the terrorist attack (Aweis’s
     Statement Prosecution/174 (b) on page 5, which was submitted by Advanced Staff
     Sergeant Major Ronny Amar, on page 119).

     With regard to this terrorist attack: it is again possible to determine on the basis of
     unequivocal circumstantial evidence that Aweis was behind this above mentioned terrorist
     attack, which was carried out a short time after he equipped the terrorists with M-16 rifles
     and hand grenades and transported them to the point on the Green Line closest to Netanya.
     The terrorist attack was indeed perpetrated by two terrorists armed with M-16 rifles and
     hand grenades just several hours after Aweis arrange transportation for them to Netanya,
     and from all this it is clear that this is the terrorist attack about which Aweis talked during
     the course of his interrogation.

     There is no evidence that directly connects the Defendant to this terrorist attack, other than
     the connection created by his general and indirect involvement in the terrorist attacks that
     were planned and perpetrated by Aweis (see Section 96 above). The legal question of
     whether this is sufficient




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     in order to substantiate the Defendant’s criminal responsibility for the acts of murder that
     have been carried out during this terrorist attack – when there is no evidence connecting the
     Defendant directly to the terrorist attack – will be examined in the Chapter of conclusions.

(14) Murder of Constantine Danilov, of blessed memory, in Baka al-Garbiyeh

112. On March 30, 2002, at 1:00 p.m., a team of Border Police officers identified a vehicle
     traveling at very high speed in the direction of Baka al-Garbiyeh with two suspicious
     individuals in it. As the team followed the terrorists, they began shooting and murdered
     Constantine Danilov, of blessed memory, (see Death Certificate Prosecution/141 (i)). The
     other members of the team shot the terrorists and the explosive belt that one of them was
     wearing exploded. The two terrorists were killed, after they threw a hand grenade at the
     team (see the testimony of Chief Superintendent Farid Ghanem, who participated in the
     incident, on page 122).

     Photographs of the incident were submitted with the Public Employee Statement of Prosper
     Ohana (Prosecution/141 (c)). The DIFS examination determined that one of the terrorists
     was carrying an explosive belt that exploded on his body (Prosecution/141 (e)).

113. During the course of his interrogation, Aweis said that he sent the terrorists with Mahmoud
     Titi and Ahmed Abu Khadr, and that he obtained an explosive belt for one of them, for
     perpetrating a terrorist attack within Israel. That same suicide [bomber] traveled, wearing
     the explosive belt, with another person to perpetrate terrorist attack in Israel, but was killed
     with his companion an exchange of fire with Border Police officers in Baka al-Garbiyeh,
     after they killed another Border Police officer (Statement Prosecution/173 (b) on pages 9-
     10 that was submitted by Advanced Staff Sergeant Major Amar on page 191). Aweis also
     said during the course of his interrogation that this terrorist attack was supposed to have
     been perpetrated in Hadera (Statement Prosecution/172 (b) on page 3 that was submitted by
     Amar on page 191).

114. There is also unequivocal circumstantial evidence that this terrorist attack was carried out
     by people who were dispatched by Aweis after he equipped them with an explosive belt.
     The legal question of whether this is sufficient in order to substantiate the Defendant’s
     criminal responsibility for the acts of murder that have been carried out during this terrorist
     attack – when there is no evidence connecting the Defendant directly to the terrorist attack
     – will be examined in the Chapter of conclusions.

(15) Shooting terrorist attack between Ateret and Bir Zeit



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     On February 25, 2001, at 1:00 p.m., shots were fired from an ambush on Route 465 in the
     direction of Yosef Cohen’s car (GMC), which was traveling in the direction from Ateret to
     Bir Zeit. The shots were fired from a passing car. Cohen was seriously injured in the
     terrorist attack and his car went off the road onto the shoulder (his testimony is on page
     142). Dozens of bullets were fired at his car and he was hit in the head by three [bullets]
     and in the neck by two [bullets], but he miraculously remained alive (see Transcript with
     regard to the condition of the car Prosecution/142 (c) and the Report on Capture and
     Marking of the Bullet Casings Prosecution/142 (b) that was submitted by Moshe Lavie on
     page 124, and also the Report of the Car Inspection Prosecution/142 (d) that was submitted
     by police officer Mizrahi on page 131).

     A description of the scene of the terrorist attack appears on Photograph Board
     Prosecution/142 that was submitted by Superintendent Mizrahi on page 139.

116. Ahmed Barghouti explained during the course of his interrogation about this terrorist attack
     (Statement Prosecution/165 (a) on page 1 that was submitted by Staff Sergeant Major
     Mizrahi, on page 184; and Transcript Prosecution/165 (f) that was submitted by an
     interrogator by the name of “Danny” on page 200) how he planned this terrorist attack
     together with Muhaned, Abu Satha and others, who asked him for weapons and a car in
     order to perpetrate a terrorist attack. Ahmed Barghouti gave them




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     an MP5 rifle and bullets, and also his car. Several hours, later they returned the car and the
     gun to him and told them that they had shot at a car in the area of the Atara Bridge while
     passing it, and that the driver of the car had been injured. Ahmed Barghouti’s description is
     consistent with the evidence with regard to the way in which the terrorist attack was carried
     out , its location and results; therefore, there is unequivocal circumstantial evidence from
     which it becomes apparent that the terrorist attack about which Ahmed Barghouti told is
     the above mentioned attack near the Atara Bridge.

     There is no evidence that ties the Defendant directly to this terrorist attack other than his
     general indirect connection to the terrorist attacks planned by Ahmed Barghouti and Abu
     Satha (see Section 80 above). The legal question of whether this is sufficient in order to
     substantiate the Defendant’s criminal responsibility for the acts of murder that have been
     carried out during this terrorist attack – when there is no evidence connecting the
     Defendant directly to the terrorist attack – will be examined in the Chapter of conclusions.

(16) Attempted terrorist attack in the Biancini Pub in Jerusalem

117. On May 19, 2001, at 3:00 a.m., Dina Dagan, owner of the Biancini Pub in Jerusalemm,
     discovered an explosive device that had been placed in the lavatory by Sa’ad A-Din Jabar,
     who was known to her as a Palestinian from Ramot who occasionally sold her supplies for
     hookah water pipes. In her testimony (on pages 139 – 142), Dagan said that Jabar sat with
     her in the restaurant in order to write an order for products and then went into the lavatory
     without anything in his hands. Several moments later, he exited the lavatory with a plastic
     bag that he placed in the center of the pub. When she asked him what was in the bag, he
     told her that it contained clothes. She approached the bag in order to check it and
     discovered that it was an explosive device hidden under a jacket, and at this stage Jabar
     disappeared.

     At the time, there were approximately 150 – 170 adolescents in the pub. Dagan displayed
     praiseworthy resourcefulness and bravery: she picked up the explosive device and yelled to
     one of the Palestinian employees there to evacuate the young people. He also helped her
     move the explosive device outside of the restaurant. The police arrived at the scene and
     exploded the device, in a manner that caused damage to stores in the area. This is the
     picture that emerges from the testimony of police sapper Eyal Albo (on page 119, see also
     Expert Opinion from the Explosives Laboratory Chief Inspector Yaniv Ron
     Prosecution/143 (a); Expert Opinion of DIFS given by Sarah Abramowitz-Bar
     Prosecution/143 (b); and the Photograph Board Prosecution/143 (a)).




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118. During the course of his interrogation, Abu Hamid said (Statement Prosecution/149 (b) on
     pages 10 – 12, which was submitted by Staff Sergeant Major Elkura’an, on page 194) that
     Sa’ad A-la-Din approached him at the beginning of May 2002, and asked him to prepare an
     explosive device so that he could place it in a pub on Jaffa Street in Jerusalem. He
     explained to Abu Hamid that the owner of the establishment customarily bought products
     for hookahs from him and he drew the pub for Abu Hamid. Abu Hamid instructed him
     where to place the explosive device and explained to him how to connect the wires to a fire
     extinguisher that housed the charge. (Indeed, it emerges from Opinion Prosecution/143 (a)
     that the charge was housed in a fire extinguisher.)

     Later, Abu Hamid sent Jabar to the pub, and Jabar covered the device with a jacket. When
     Jabar arrived at the pub, he called Abu Hamid and used a code sentence to inform Abu
     Hamid that he was about to place the explosive device in the pub, which Abu Hamid
     authorized him to do.

     Jabar called Abu Hamid and told him that the pub owner had seen him place the explosive
     device and heard on the news that the charge was exploded by the police.

119. From the above, it becomes apparent that the attempted terrorist attack in the pub was
     carried out by Jabar, with guidance and assistance from Abu Hamid. The details that Abu
     Hamid gave during the course of his interrogation are consistent with the testimony of
     Dagan and the findings at the scene.

     There is no evidence that ties the Defendant directly to this terrorist attack other than his
     general indirect connection




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      to the terrorist attacks planned by Abu Hamid (see Sections 27, 60-65 above). The legal
      question of whether this is sufficient in order to substantiate the Defendant’s criminal
      responsibility for the acts of murder that have been carried out during this terrorist attack –
      when there is no evidence connecting the Defendant directly to the terrorist attack – will be
      examined in the Chapter of conclusions.

(17) Shooting terrorist attack on Route No. 9, near French Hill in Jerusalem

120. On October 3, 2001, at 11:30 p.m., shots were fired at a passing car that was traveling
     towards French Hill, in which Molly and Pinhas Cohen were traveling. They were injured
     by the shots (see the Report of Preliminary Visit to the Scene by Superintendent Leor
     Nadivi and his testimony on page 132; Capture and Marking Report by Superintendent
     Nadivi Prosecution/144 (b), Report of Preliminary Visit to the Scene by Superintendent
     Leifer and his testimony on page 130, and the Report of the Weapons Lab
     Prosecution/144 (d)).

121. During the course of his interrogation, Abu Satha (Statement Prosecution/156 (b) on pages
     4 – 5, which was submitted by Advanced Staff Sergeant Major Dahan, on page 198) said
     that he perpetrated this terrorist attack together with Muhammad Sami Abdullah when they
     were traveling in a Mazda car and he had with him the MP5 rifle, which he had received
     from Ahmed Barghouti for the purpose of shooting at Israeli targets. During the course of
     his interrogation, he said that after he shot at the car going into the tunnel in the direction of
     French Hill, he realized that it was a female driver and therefore he stopped shooting and
     told his companion that the gun jammed. After this, he continued traveling in the direction
     of French Hill, and there he shot another car while passing it. The next day they heard on
     the radio that a man and woman had been injured.

122. The Prosecution’s evidence with regard to this terrorist attack is very weak and includes
     only the reports of the police’s preliminary visits to the scene, meaning that any
     information about the way in which the terrorist attack was carried out is hearsay evidence.
     Similarly, it is difficult to know if Abu Satha’s statements relate to this terrorist attack since
     the date of the events he described and the type of car at which he shot are not clear.

      The only evidence we have before us is that Abu Satha perpetrated shooting terrorist
      attacks against Israeli targets, using a weapon that he received from Ahmed Barghouti, who
      was the Defendant’s assistant and close associate. Furthermore, Abu Satha himself was the
      Defendant’s bodyguard. The Defendant himself confirmed that Abu Satha worked in his
      office, was subordinate to him, and that he knew that Abu Satha carried out terrorist attacks
      against civilians in Givat Ze’ev and Pisgat Ze’ev (see Sections 33-34 above).


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(18) Attempted suicide terrorist attack in Beit Hanina in Jerusalem

123. On March 8, 2002, at 4:15 p.m., the terrorist Mahmoud Salah was captured on his way to
     perpetrating a suicide terrorist attack in Jerusalem, while he was wearing an explosive belt.
     The terrorist attempted to detonate the charge while he was lying on the ground and was
     then shot and killed (see the testimony of Chief Superintendent Doron Yedid on page 133,
     and the Report from the Explosives Lab Prosecution/145 (d)).

124. During the course of his interrogation, Ahmed Barghouti said that Lawi Uda asked him to
     prepare an explosive belt for a suicide [bomber] and he referred Uda to Nassar Shawish,
     who gave him an explosive belt. The suicide [bomber] stayed in an apartment that Ahmed
     Barghouti rented in Ramallah, and was dressed in the explosive belt there. Later, Ahmed
     Barghouti learned that he had been killed by shots fired by Israel Defense Forces soldiers
     in the Beit Hanina area, on his way to perpetrating the terrorist attack (Statement
     Prosecution/165 (b) on pages 2, 11, which was submitted by Staff Sergeant Major
     Ya’akoboff, on page 171).

     Aweis also related during the course of his interrogation, (Statement Prosecution/173 (b)
     on page 4, which was submitted by Advanced Sergeant Major Amar, on page 191) also
     said that Lawi Uda, whom he had recruited for the Al Aqsa Martyrs Brigades, recruited a
     suicide [bomber] for him but that the terrorist attack failed because the suicide [bomber]
     was shot by police officers before perpetrating the attack, at the entrance to Jerusalem.

125. From that which has been set forth above, it becomes apparent that Aweis and Ahmed
     Barghouti were involved in this attempted terrorist attack. There is no evidence tying the
     Defendant to this terrorist attack in a direct manner other than the connection derived from
     his general indirect involvement




                                                             [Stamp] Gilmore 00795 [continued]

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     in terrorist attacks that were prepared and perpetrated by the two, in accordance with that
     which has been set forth above. The legal question of whether this is sufficient in order to
     substantiate the Defendant’s criminal responsibility for the acts of murder that have been
     carried out during this terrorist attack – when there is no evidence connecting the
     Defendant directly to the terrorist attack – will be examined in the Chapter of conclusions.

(19) Shooting terrorist attack on the Beit El – Psagot Road

126. On March 17, 2002, at 6:45 a.m., shots were fired from an ambush with automatic
     weaponry at the car (Volkswagen Passat) of Samir Kersh, and he was injured by the
     shooting (see the Report of Visit to the Crime Scene Prosecution/146 (a) and photographs
     of Senior Staff Sergeant Major Eli Kojman that were submitted during his testimony on
     page 121).

     The Prosecution did not submit any additional evidence about this terrorist attack and
     Kojman’s report is only hearsay evidence with regard to the manner in which the terrorist
     attack was carried out .

     In its summation, the Prosecution attributes responsibility for this terrorist attack to Ahmed
     Barghouti, and he did admit to his involvement in this terrorist attack and was convicted for
     this (Prosecution/165 (g) – (q), Indictment Item No. 43). Other than this, the Prosecution
     did not refer to any other evidence from statements by Ahmed Barghouti or things that he
     said during his Israel Security Agency interrogation. Therefore, no evidence was presented
     with regard to this terrorist attack that makes it possible to establish a clear, factual
     foundation for Ahmed Barghouti’s connection to this terrorist attack, and the evidence with
     regard to the actual manner in which the terrorist attack was carried out is very weak.

(20) Attempted terrorist attack in the Malha Mall in Jerusalem

127. On March 26, 2002, at 10:30 a.m., a Renault Express car with two sappers (Shahadi
     Ibrahim Hamamra and Musa Yusaf Muhammad Haled – see Corpse Transport Report
     Prosecution/147b, which was submitted by Ilan Granot on page 135, and Report
     Prosecution/147 (c) that was submitted by Senior Staff Sergeant Major Asaf Azulai in his
     testimony on page 134) who were on their way to perpetrate a terrorist attack, exploded.




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128. During the course of his interrogation, Ahmed Barghouti (Statement Prosecution/165 (c) on
     page 5 that was submitted by Staff Sergeant Major Ya’akoboff on page 171, and Transcript
     Prosecution/165 (k) Section 15 that was submitted by Israel Security Agency interrogator
     “Adam”, on page 201) that Jihad Jawara called the Defendant the day before the car was
     found next to the mall in Jerusalem and told him that he wanted to perpetrated a terrorist
     attack. The Defendant told him not to perpetrate the attack within Israel, and referred
     Jawara to Ahmed Barghouti to discuss it with him. Ahmed Barghouti claimed that he also
     told Jawara not to perpetrate the terrorist attack in Israel or Jerusalem. However, the next
     day Jawara called Ahmed Barghouti and told him that he had sent the car that exploded
     next to the mall in Jerusalem to perpetrate terrorist attack in Jerusalem.

129. The Defendant himself said during the course of his interrogation (Transcript
     Prosecution/36 that was submitted by Israel Security Agency interrogator “Smith”, on page
     85) that Ahmed Barghouti reported to him on the plans of Jihad’s men to perpetrate a
     suicide terrorist attack in Jerusalem. The Defendant said that he instructed Ahmed
     Barghouti that the terrorist attack should not take place within Israel, but rather within the
     Judea and Samaria region. The Defendant said on this matter during the course of his
     interrogation, that when talks about Ahmed Barghouti’s appeal to him about Jihad’s desire
     to perpetrate a terrorist attack (Transcript of Conversation Prosecution/198 (k) on pages 19-
     20):

             “Defendant:     … that Jihad, he said to him that we have an action. We
                             have terrorist attacks, etc. So I said to Ahmed, I said to
                             him that what is important is that there should be no
                             terrorist attack within Israel.

             Investigator: OK and when he comes officially and tells you that they
                           want to perpetrate a suicide terrorist attack, what did
                           you say to them?

             Defendant:      I told him no, I do not allow it.

             Investigator: No. That is not what you told me. You said to him, no
                           problem. But not ‘inside’ (within




                                                              [Stamp] Gilmore 00796 [continued]

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                            Israel).

             Defendant:     Yes, not in Israel… that is to say, that I do not want
                            terrorist attacks in Israel.”

     The Defendant said that the next day he received a report from Ahmed Barghouti with
     regard to the failed attempt at a suicide terrorist attack, and that the car had exploded not
     far from the roadblock and two cell members were killed.

130. Based on the above, it becomes apparent that there is proof of the Defendant’s involvement
     in approving this suicide terrorist attack, even in accordance with his version. The
     Defendant did give orders that the terrorist attack be perpetrated in a different place,
     however this is not significant for his criminal responsibility for this attempted terrorist
     attack. That Defendant’s version during the course of his interrogation is supported by the
     version of his close associate, Ahmed Barghouti, even though the latter “renovated” the
     facts and claimed that the Defendant gave orders not to perpetrate terrorist attack at all.
     From the statements by the Defendant, it is clear that he gave orders to perpetrate the
     terrorist attack in another location.




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Part III:     Evaluation of the Evidence and Its Significance
131. Since the Defendant chose not to testify or bring any witnesses on his behalf and even
     instructed the representatives of the Office of the Public Defender that were appointed to
     represent him to abstain from the cross-examination of the Prosecution witnesses, the
     evidence against the Defendant is founded on several different layers.

     First, comments that were made by the Defendant during the course of his Israel Security
     Agency interrogation. Some were summarized and written up in the transcript that had
     been prepared and submitted by the interrogators and some were recorded and transcribed.
     This category also includes those statements that were made by the Defendant in
     conversations that were recorded without his knowledge, with his close associate Ahmed
     Barghouti and with agents John Doe No. 1 and John Doe No. 3.

     Second, incriminating testimony against the Defendant that was given by terrorism
     operatives from the Fatah after their arrest, meaning the statements which they gave during
     the course of Israel Security Agency and police interrogations, since all of them – as if in
     unison – refused to answer any questions in Court, when they were brought as Prosecution
     witnesses.

     Third, statements that were made by the Defendant by way of the media, during the period
     of time prior to his arrest.

     Fourth, documents that were seized in the office of the Defendant and at the offices of the
     Palestinian Authority during the course of Operation Defensive Shield.

     Fifth, testimony that was given by victims of the terrorist attacks, eyewitnesses to the
     terrorist attacks that are the subject of the Indictment, and witnesses involved in their
     interrogation.

132. With respect to the evaluation of the evidence and its significance, the following comments
     must be made:




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    A. The Defendant’s abstention from testifying during the trial and exposing himself to
       cross-examination can be used to reinforce the significance of the evidence against him
       and even in order to support Prosecution evidence in places where support is necessary,
       in accordance with that which has been set forth in Section 162 (b) of the Criminal
       Procedures Law [Consolidated Version] 5742 – 1982 (hereinafter – “the Criminal
       Procedures Law”). Similarly, the Defendant’s abstention from responding to the
       Indictment, as he did, can be used to reinforce the significance of Prosecution evidence,
       in accordance with that which has been set forth in Section 152 (b) of the Criminal
       Procedures Law. These points were made clear to the Defendant by the Court.

       This matter acquires additional significance in light of the fact that, in accordance with
       law, statements made by witnesses who refuse to testify in Court, or who deny the
       content of their statements during interrogation, require support (see Subsection C (5)
       below). This is in accordance with the Supreme Court’s ruling that a Defendant’s
       abstention from testifying serves as significant reinforcement of the statements given by
       witnesses during the trial that require reinforcement, in accordance with Section 10
       (A) (d) of the Rules of Evidence [New Version] 5731 – 1971 (hereinafter: “the Rules of
       Evidence”) (Criminal Appeal 1497/92 State of Israel v. Tzubari, PD 47 (4) 177, on
       page 202). The Court explained this matter: “The silent Defendant – differentiated
       from the silent witness – is acting within the framework of the Law; however, the
       Court is given the right to interpret his behavior on the basis of its perceptions and
       understanding” (on page 203, see also Additional Proceeding 308/91 Kuzli v. The
       State of Israel, PD 45 (4) 441, on page 486).

       Indeed, the Court is entitled not to give any weight to the silence of the Defendant when
       there is a reasonable explanation for it (see: Criminal Appeal 277/81 Halevy v. The
       State of Israel, PD 38 (2) 369, on page 386). However, since the Defendant’s
       preliminary claims with respect to be authority of this Court to try him were rejected,
       we did not have any reasonable and justifiable explanation for his abstention from
       giving evidence. It is quite clear that the Defendant, who during the course of




                                                            [Stamp] Gilmore 00798 [continued]

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       his interrogation was exposed to the incriminating evidence that was accumulated
       against him, knew full well that he was unable to deal with it on the legal level and
       therefore fled to the warm embrace of the political level. Several times during the
       course of his interrogation, the Defendant said that it was clear to him that he would be
       tried and convicted and, therefore, planned to conduct a political trial.

       In this matter, is important to note that despite the fact that the Defendant declared that
       he would not conduct a defense case, as indeed he did not, he did give political
       speeches and sometimes even related to the evidence presented against him – but from
       the Defendant’s bench and not from the witness stand. By law, we are unable to give
       any significance to statements that were made in this manner, which did not give the
       Prosecution the possibility of questioning the Defendant about them. With respect to
       the many things that the Defendant said on the diplomatic and political levels, both
       during the trial and during the summations, we are not permitted to relate to them since
       they are irrelevant to the question of the Defendant’s guilt of the crimes with which he
       is charged. These issues were explained in the Ruling with respect to the authority of
       the Court: a person who acts outside of the framework of legal combat, and who
       perpetrates acts of terrorism for the purpose of causing injury, without distinction, to
       the civilian population, exposes himself to the ordinary criminal sanctions of national
       criminal law (see the decision that was handed down by the Court in this case, dated
       January 19, 2003 on pages 29 – 33). Opposition to the occupation, as claimed by the
       Defendant, does not serve as justification, in accordance with any law, for acts of
       killing that have been carried out against innocent civilians. Furthermore: The place for
       this claim – if any – is during sentencing claims, since it relates to the motivation for
       the crime as distinguished from the criminal intention required in order to prove them.

    B. Since the Defendant chose not to conduct a defense case, he also did not bring any
       claims against the admissibility of the evidence or its significance. However, the Court
       considered itself obligated to consider this question of its own initiative and to ignore
       the inadmissible evidence that was submitted by the Prosecution or which was used in
       his summation (including hearsay evidence included in witnesses’ statements,
       transcripts and statements that were not submitted by an interrogator by the name of s
       who recorded them, expert opinions based on intelligence information and evidence
       that was not submitted during the trial, and points in the transcript that relate to
       polygraph findings.)




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      We also examined the evidentiary material from the Defendant’s perspective, not only
       from the perspective of the Prosecution, as described in his summation. In spite of this,
       we are subject to the general principle by which the Defendant who does not testify in
       his case is not entitled to rely on comments from external statements that he gave: these
       statements are valid as evidence against him but not in his favor since it was not
       possible to question him about those statements (see Criminal Appeal 205/75 Krantz v.
       The State of Israel, PD 30 (2) 471, on page 474).

    C. The Prosecution subpoenaed 21 field commanders and terrorism operatives who were
       involved in the terrorist attacks that are subject of the Indictment to testify about the
       Defendant’s connection to them, in accordance with that which has been set forth
       above. These witnesses – without exception – refused to answer the questions of the
       attorney for the Prosecution, and it seems that this was not a personal decision of each
       individual but rather an instruction given from above. These witnesses were not willing
       to testify against their commander and leader; this is clear. In a conversation conducted
       between the Defendant and Ahmed Barghouti after they were arrested, which was
       recorded without their knowledge, Ahmed warned the Defendant about the testimony
       that would be given by terrorism operatives who had been arrested, and the Defendant
       replied, with laughter in his voice, “In Court everyone will deny everything they
       admit… everything will be canceled… the interrogators told me. I told them that
       no one will admit anything in Court” (Transcript 127 (c) on page 109). So the
       Defendant said, and so it happened.

       In these circumstances, all of the terrorism operatives were declared hostile witnesses
       and their statements during interrogation were submitted under Section 10 (A) of the
       Rules of Evidence. With respect to these witnesses, we comment as follows:

       (1) Most of the Prosecution witnesses testified after they themselves were tried, and
           mostly convicted, on the basis of their own confessions for crimes including their
           involvement in the terrorist attacks that are the subject of the Indictment. In their
           confessions to the facts




                                                           [Stamp] Gilmore 00799 [continued]

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          in the Indictments filed against them, these witnesses incriminated the Defendant.
          However, the law with respect to a Defendant’s confessions of this type when they
          are given by a person who is a witness in Court, is that they are considered an
          external statement that is covered by Section 10 (A) of the Rules of Evidence, but
          confessions of this type are not ascribed the weight of truth. From the point of view
          of the witness – the confession that he gives during his trial focuses entirely on the
          facts relating to him, and it is highly doubtful that he was aware at that time of the
          implications that part of his confession might have on others (see: Criminal Appeal
          4541/90 Eliyahu Sela v. The State of Israel, High Court Compendium 91 (2)
          2086.)

       (2) In general, an external statement made by a witness is hearsay evidence that is
           discounted as testimony on the veracity of its content. An exception to this
           generalization is stated in Section 10 (A) (a) of the Rules of Evidence, in
           accordance with which the Court is permitted to accept a statement of this kind and
           even rely on it and prefer it over the witness’s testimony in Court, when a witness in
           the case refuses to testify or he denies the version that he gave during interrogation.

          The purpose of this Section is to deal with the common phenomenon of witnesses
          who deny the version that they gave during their interrogation, in order to prevent a
          situation in which it is impossible to confront them in Court with the version that
          they gave during their interrogation. (See the explanation of the proposed
          legislation for amending the Rules of Evidence, 5734 – 1974.) And note: a witness
          who is subpoenaed to testify and has taken his place on the witness stand is
          considered a “witness in the trial”, even if he refuses to answer questions and
          therefore the above mentioned Section 10 (a) (a) applies to him rather than Section
          10 (a) (b), which deals with the case of a witness who it is impossible to bring to
          Court at all, for reasons enumerated in that Section. (See: Additional Criminal
          Proceedings 4390/91 State of Israel v. Haj Yihe, PD 47 (3) 673; compare with the
          expert opinion of A. Stein, “Section 10 (A) of the Rules of Evidence: Its Proper
          Interpretation and Rulings of the Supreme Court”, [the journal] Mishpatim 21, 5752
          [1992], on page 325, on pages 336 – 338.)

       (3) According to Section 10 (A) (a) of the Rules of Evidence, admission of an external
           statement of a witness in the trial, when that witness denies the contents of the
           testimony he gave during the course of his interrogation, is conditional on proving
           that the statement was given, that it was given by that witness in the trial, and that
           the parties were given an opportunity to question him. In our case, these conditions
           are met for the 21 terrorism operatives mentioned above.

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        (4)The Court is entitled to rely on findings from an external statement that was
           admitted in accordance with Section 10 (A) of the Rules of Evidence and even to
           prefer it to testimony given by the witness in Court “if it sees fit to do so,
           considering the circumstances of the case, including the circumstances in
           which the statement was given, the evidence that was presented in Court, the
           behavior of the witness in Court and signs of the truth revealed during the
           trial; its reasons shall be recorded” (see Section 10 (A) (c) of the Rules of
           Evidence).

       (5) According to Section 10 (A) (d) of the Rules of Evidence, a person may not be
           convicted on the basis of external statements admitted, in accordance with this
           Section, unless there is something in the evidentiary material to reinforce it. The
           intention is additional evidence that reinforces the reliability of the external
           statement and dispels the concern that it not truthful (see: Y. Kedmi, On Evidence,
           on pages 354 – 365.)

          On this issue it should be noted that the external statement of one witness, which
          itself requires reinforcement, can serve as reinforcement for the external statement
          of another witness (the above mentioned by Y. Kedmi on page 366, and the rulings
          cited therein). As noted above, the Defendant’s silence during the trial can also
          serve as the reinforcement of a witness’s external statements, as can abstention from
          cross-examination (Y. Kedmi, op. cit. on pages 369 – 371, and the rulings cited
          therein).

          The clear ruling is that the Defendant’s abstention from cross-examining witnesses
          also reinforces the Prosecution’s evidence (see Criminal Appeal 4736/91 Patir v.
          The State of Israel (High Court Compendium 94 (2) 1866). The Defendant may
          not thereafter bring any claims based on the fact that the witnesses were not cross-
          examined




                                                          [Stamp] Gilmore 00800 [continued]

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             (see: Criminal Appeal 1632/95 Uzi Meshulam v. The State of Israel, PD 49 (5)
             534, on page 550, where the trial was held without the Defendant being present, at
             his request, and the Defense was instructed not to question the witnesses). A
             Defendant cannot thwart the legal proceedings being conducted against him by
             simply abstaining from offering a defense.

     In the current case, the Defendant’s conviction is supported by a broad reliable network
     of evidence that includes confessions that the Defendant gave during the course of his
     interrogation, statements that the Defendant made in the media, documents that were seized
     from the Defendant and the Palestinian Authority and a large amount of testimony given by
     the terrorism operatives during their interrogations, which supports and reinforces each
     other. It emerges from the evidentiary infrastructure described above that it is completely
     clear that the terrorism operatives decided to abstain from testifying during the trial in order
     to thwart the process and to avoid revealing the versions that they gave during their
     interrogations. The Defendant expressed anger during the course of his interrogation over
     the incriminating comments that field operatives said against him (see: Report of the
     Meeting of the Defendant with Aweis Prosecution/77 (b); comments that the Defendant
     said to Agent John Doe No. 3 Prosecution/123 on page 1 and Prosecution/124 (a) Section
     1; comments that the Defendant said to Agent John Doe No. 1 Prosecution/112 (a) Sections
     6 – 7, Prosecution/ 114 (a) Section 7, Prosecution/115 (a) Sections 13, 14, Prosecution/116
     Section 9; and the Defendant’s conversation with Ahmed Barghouti Prosecution/127 (c) on
     pages 3, 4, 72, 84), and this fact reinforces the conclusion that the terrorism operatives said
     correct things about the Defendant during their interrogation.

     Under these circumstances, the statements given by the witnesses during their
     interrogations are to be preferred over their testimony in Court since there is much more
     than “reinforcement” for the statements that they gave during their interrogation. The
     statements that the terrorism operatives made correspond very well with each other, and
     together with comments that the Defendant said during the course of his interrogation as
     well as the documents that were seized from the Palestinian Authority reveal a clear picture
     that points to the Defendant’s role and position in the terrorist attacks that are the subject of
     the Indictment.

133. We do not find any reason to cast doubt on the reliability of the Israel Security Agency
     interrogators who testified that the transcript they recorded during the interrogation of the
     Defendant reasonably reflect the main points of the Defendant’s statements. When
     considering the significance of these points, it is necessary to consider the guidelines that
     we explained at length in Serious Crimes Case 1074/02 State of Israel v. A’asi Muhsin
     (District Court Compendium 2003 (2) on page 3553, Sections 76 – 84). These transcripts

                                                                            [Stamp] Gilmore 00801

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     are composed of the Defendant’s statements, but unlike accepted practice in police
     interrogations, they contain only a summary of the interrogation; the person being
     interrogated is not always warned with respect to his rights; the person being interrogated
     does not read what is being recorded in the transcript and does not sign them; transcripts
     are not infrequently written in Hebrew even when the interrogation was conducted in
     Arabic despite the clear guidelines given in Court rulings. In spite of this, it is important to
     emphasize that these transcripts certainly constitute admissible evidence, although when
     considering their significance, the extent and manner in which they are recorded and
     documented must be considered (see: Criminal Appeal 6613/99 Samrik v. The State of
     Israel, Ruling of the Israel Supreme Court 56 (3), 529, on page 553).

     In the current case, many of the transcripts were backed up by transcripts of recordings
     made during the interrogation in which the Defendant is heard speaking his own voice, in
     Hebrew [Translator’s note: as written], a language in which he knows how to express
     himself quite well. This removes the doubt with respect to their reliability. Similarly, the
     Defendant was told explicitly throughout his entire interrogation that he is not obligated to
     say anything, and anything that he does say can be used as evidence against him. The
     Defendant even met with a lawyer during the course of his interrogation (see below).
     Furthermore: the comments that the Defendant said during his Israel Security Agency
     interrogation, as they were written in the transcript and largely recorded and transcribed,
     are well supported by the testimony of the terrorism operatives that win accordance with
     that which has been set forth above, and sometimes also by the documents that were seized
     from the Defendant’s [office] and the interviews that he gave to the electronic media. In
     this situation, we do not need to rely only on the transcripts that were recorded by the Israel
     Security Agency interrogators as the Defendant spoke, and not only on the comments that
     were said by the terrorism operatives during their interrogations (since they refused to
     testify in Court and denied the things that they had said during their interrogationas).
     Rather, we are able to form a direct impression based on comments the Defendant said
     during his Israel Security Agency interrogation, based on the recordings and transcripts.

134. When evaluating the significance of the Defendant’s words during his Israel Security
     Agency interrogation, we considered the fact that although the Defendant himself did not
     bring any claims in this regard, this was a long and exhausting interrogation. The
     Defendant was




                                                               [Stamp] Gilmore 00801 [continued]



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    interrogated for very long periods of time during which he slept only a little and sat fettered
    to the chair, which he described in a conversation with Agent John Doe No. 1
    (Prosecution/112 (c) (1) on pages 3-4) as torture.

    It was made clear to the Defendant that as long as he did not cooperate with his
    interrogators it would be necessary to continue the interrogation. It was even hinted to him
    that the way to meet with members of his family would be to cooperate (Transcript
    Prosecution/12 Section 13). During one of the interrogations, the Defendant was told that
    his interrogation would not end until he told the truth, as was the case for all of the
    terrorism operatives who eventually admitted the Defendant’s part in the acts ascribed to
    him (Transcript Prosecution/63 Section 9 – 10). During one of the interrogations, the
    Defendant refused to continue with the interrogation until he was given a reasonable
    amount of time to sleep and the interrogator explained that he would not be allowed to
    sleep until he admitted to at least the main points with respect to his activities, but the
    Defendant rejected this proposal (Transcript Prosecution/21 Section 26 – 28). Similarly,
    moral pressure was used against the Defendant to encourage him to confess and behave
    like a leader who takes responsibility for the acts of his subordinates, instead of denying the
    things that his subordinates did and presenting them as liars (Transcripts Prosecution/16 –
    Prosecution/17).

    When considering the fact that the Defendant was interrogated for many long hours, it is
    important to note that the Defendant was arrested and interrogated during Operation
    Defensive Shield, during a period in which many terrorist attacks were perpetrated against
    Israel. In this situation, it is clear that it was important to complete the interrogation as
    quickly as possible, because it was being conducted not only in order to determine his guilt
    but also, and perhaps primarily, in order to thwart additional attacks. The Israel Security
    Agency interrogators explained how important it was to them to reach the terrorism
    operatives and terrorist cells that were connected to the Defendant quickly, and that the
    interrogation of the Defendant was primarily for purposes of intelligence (interrogator
    “Itai” on page 154 and interrogator “Wadi” on page 97.)

    Investigation of the Serious Crimes with which the Defendant is charged and the
    intelligence needed to obtain information from him as quickly as possible required his
    continuous interrogation for many hours. This does not lead to invalidating the Defendant’s
    statements, since it is clear that he said to his interrogators only those things that he wanted
    to say and there were justifiable, relevant reasons to use this means of interrogation,
    because of the security situation that prevailed at that time (see: Y. Kedmi, On Evidence,
    Part One, 5764/2003 Edition, on pages 55 – 58).


                                                                           [Stamp] Gilmore 00802

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135. It was clear during the interrogation process that the Defendant gave much thought, aloud,
     to whether he should admit his connection to the terrorist attacks with which he was
     charged in the Indictment. He even explained that this could be an obstacle for him in his
     future as a leader of the Palestinian people (for example, see Transcript Prosecution/24
     Section 7; Transcript Prosecution/68 Section 6). In the end, the Defendant decided to admit
     to some of the things that he had done after he understood that the field operatives had
     confessed during their interrogation and incriminated him, meaning that the interrogators
     had solid evidence with respect to the accusations against him. Therefore, the Defendant
     admitted only to those things that his people had previously admitted, and he repeatedly
     explained and made clear that he would admit only to those items that were presented to
     him and which were correct (Transcript Prosecution/22 Sections 8 – 9, which was
     submitted and verified by an interrogator by the name of “Mofaz”, on page 58, and
     Transcript Prosecution/23 Section 9, which was submitted and verified by an interrogator
     by the name of “Danny”, on page 90). The Defendant asked to meet with the head of the
     Israel Security Agency and said that he would be willing to admit to those things for which
     he was responsible if he could be shown that others had already admitted to them
     (Transcript of Interrogation Prosecution/98 (a) on pages 16 – 18, 26 – 28).

     In this context it should be emphasized that the Defendant himself said, in his conversation
     with Agent John Doe No. 1, that he learned during the course of his interrogation that the
     field operatives who had been arrested provided a large amount of reliable information
     about him. When the agent asked him if the information they give about him was true, he
     answered, “much of it, that is to say there is proof and accuracy” (Transcript of
     Conversation Prosecution/112 (c) (1) on page 6). Further, the Defendant told Agent John
     Doe No. 1 that his driver (Ahmed Barghouti) provided a confession that connected the
     Defendant to eight suicide terrorist attacks in Israel, and when the Defendant was asked if
     Ahmed Barghouti “closed him in with his confession” – he responded positively
     (Transcript Prosecution/114 (a) Section 7). Throughout all the conversations between the
     Defendant and Agent John Doe No. 1, it is possible to see that the subject of the
     confessions given by the field operatives during their interrogations bothered him greatly,
     and he was aware of the fact that they had given correct information with respect to him
     (see Reports Prosecution/112 (a) (1), Prosecution/113 (a), Prosecution/.113 (c),
     Prosecution/114 (a), Prosecution/114 (c), Prosecution/115 (a), Prosecution/115 (g) (1) (a),
     Prosecution/116.)

     The Defendant told John Doe No. 1 that he claimed during the course of his interrogation
     to be a political leader, but the confessions given by others against him and the large
     amount of material that was seized from his office and from the offices of the Palestinian
     Authority would force him “to talk

                                                            [Stamp] Gilmore 00802 [continued]

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     during the interrogation” (Report Prosecution/117 Sections 29, 32 that was submitted by
     an interrogator by the name of “Robert”).

136. The turning point in the interrogation of the Defendant began on April 21, 2002,
     approximately one week after the Defendant had been arrested, when he decided to tell the
     facts from his perspective and at his responsibility, but he asked if first the information that
     his men had given during interrogation could be presented to him, and if he could be
     allowed to meet with the head of the Israel Security Agency or his deputy (Transcript
     Prosecution/19 – Prosecution/20). The Defendant accepted the interrogators’ proposal to
     distinguish between his refusal to make incriminating statements to the police, which could
     be revealed in the future, and his providing details of his activity during the Israel Security
     Agency interrogation (Transcript Prosecution/20 Sections 10 – 12, Transcript
     Prosecution/24 Section 7). The Defendant based himself on the assumption that things he
     said to the police would be revealed to the public and obligate him, as opposed to things
     that he said during the Israel Security Agency interrogation, which the Defendant planned
     to deny, as indeed he did during his police interrogation and his trial. The Defendant said
     this explicitly during the course of his interrogation by the Israel Security Agency, when he
     was told atht the transcript recorded during the course of his interrogation would be
     submitted as evidence in Court as if they were police testimony (Transcript Prosecution/25
     Section 23, which was submitted and verified by an interrogator by the name of “Mofaz”,
     on page 58).

     In this regard, it should be noted that six days after his arrest, the Defendant was questioned
     and warned in the customary manner, that by law he is not obligated to say anything, and
     that anything he would say could be used as evidence against him (see Transcript
     Prosecution/40 Section 1, and testimony of the interrogator “Mofaz”, on page 59). The
     interrogator “Mofaz” testified that these warnings were given to the Defendant during all of
     his interrogations, and the interrogator “Emile” also testified to this (on pages 57, 59 and
     the warnings included in the Transcript Prosecution/41 Section 1; Prosecution/44,
     Prosecution/25; Transcript of Interrogation Prosecution/98 (j) on page 37). Although it was
     sometimes hinted to the Defendant that he might not actually be brought to trial, because
     there was a possibility that he would be deported, the Defendant noted that he preferred the
     option of standing trial, even if it was clear that he would be tried and sent to jail for many
     years (Transcript Prosecution/10, Prosecution/11, Prosecution/14 and Prosecution/19
     Section 5, and Transcript Prosecution/63 Section 25).




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137. During the course of his interrogation, the Defendant said that he planned to conduct a
     political trial while ignoring evidence that had been developed against him during the trial
     (Transcript Prosecution/42 Section 8 that was submitted and verified by an interrogator by
     the name of “Wadi”, on page 96; and Transcript Prosecution/56 Section 3 that was
     submitted and verified by an interrogator by the name of “Smith”, on page 85). During the
     Defendant’s conversation with Agent John Doe No. 1, he explained to him that the tactics
     he would take during the interrogation – namely he would not admit to anything other than
     things about which the interrogators already knew and would try to buy time in order to
     understand what the interrogators knew so as not to incriminate others. He also told his
     attorney that he would not make any statements to the police (see Report Prosecution/118
     Section 3, Prosecution/120 Section 2, and his comments to John Doe No. 3 in Report
     Prosecution/122 Section 1). At this point, it should be noted that the Defendant first met
     with his lawyer, Attorney Boulos, three days after he was arrested (Exhibit
     Prosecution/164, and Transcript Prosecution/111 Section 14). During the course of his
     interrogation, the Defendant met with Attorney Boulos several times (Transcript
     Prosecution/90 Section 1.)

138. In conclusion: We have no reason to assume that the Defendant’s confessions during his
     Israel Security Agency interrogation were given because any sort of illegitimate means
     were used against him that led the Defendant to negate his free will. The Defendant never
     claimed that this happened. During the trial, as well as during his police interrogation,
     when comments that he had said during his Israel Security Agency interrogation were
     presented to the Defendant, he repeatedly claimed that they were “lies and forgeries.” He
     did not claim that any illegitimate means were used against him during the interrogation
     and our clear impression is that the interrogators treated the Defendant respectfully, as the
     Defendant himself said during his Israel Security Agency interrogation (Transcript
     Prosecution/75 Section 2, Transcript Prosecution/90 Section 1 and Transcript of the
     Defendant’s Interrogation Prosecution/98 (f) on page 29). At the time that testimony was
     given in Court, the Defendant shook hands with some of the Israel Security Agency
     interrogators, and this fact also testifies that the Defendant does not harbor any negative
     feelings against his interrogators.

     The Defendant had full control of the comments that he said to his Israel Security Agency
     interrogators: he decided what things he was willing to say during the course of his
     interrogation , which he expected were already known to the interrogators anyway, and
     which things he intended to hide from them. The Defendant was very cautious during the
     course of his interrogation and more than once refused to answer a question that had been
     asked or


                                                             [Stamp] Gilmore 00803 [continued]

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    answered in an indirect, implied manner. He chose the tactics that he used during
    interrogation, namely to expand on political subjects, be brief with respect to those related
    to acts of terrorism and, in any case not to provide any details other than those which he
    expected that the interrogators already knew.

    As Agent John Doe No. 1 testified, the Defendant told him, “Even if the entire
    Palestinian people admits to something, he will decide what to say during
    interrogation” (Prosecution/110 Section 10). From all which is stated above, it is clear that
    the Defendant gave his statements of his own free will.




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Part IV:         Legal Analysis and Conclusions
1.   Activity and Membership in a Terrorist Organization

139. In the Indictment, the Defendant is charged with the crimes, among others, of activity and
     membership in a terrorist organization, in accordance with Sections 1 – 3 of the Prevention
     of Terrorism Ordinance, 5708 – 1948, which states:

     “1. Interpretation
         ‘Terrorist organization’ means a group of persons that uses, in its
         activities, acts of violence calculated to cause death or injury to a person
         or to threats of such acts of violence; a ‘member of a terrorist
         organization’ means a person belonging to it and includes a person who
         participates in its activities, publishes propaganda in favor of a terrorist
         organization, its activities or aims, or collects money or goods for the
         benefit of a terrorist organization or its activities.

     2.    Activity in a terrorist organization
           A person fulfilling a managerial or instructional position in a terrorist
           organization or participating in the deliberations or decision-making of a
           terrorist organization or acting as a member of a tribunal of a terrorist
           organization or delivering a propaganda speech at a public meeting or on
           the radio on behalf of a terrorist organization shall be guilty of an offence
           and shall be liable, upon conviction, to imprisonment for a term not
           exceeding twenty years.

     3.    Membership in a terrorist organization
           A person who is a member of a terrorist organization shall be guilty of an
           offence and be liable, upon conviction, to imprisonment for a term not
           exceeding five years.”

     Section 7 of the Prevention of Terrorism Ordinance states:

     “7.   Proof of the existence of a terrorist organization
           In order to prove in any legal proceeding that a particular group of
           persons is a terrorist organization, it shall be sufficient to prove that –

           (a)    One or more of its members, on behalf of or by order of that group
                  of persons, at any time after 5 Iyar 5708 (May 14, 1948), committed
                  acts of violence calculated to cause death or injury to a person or
                  made threats of such acts of violence; or




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         (b) The group of persons, or one or more of its members on its behalf or
             by its order, has or have declared that that body of persons is
             responsible for acts of violence calculated to cause death or injury to
             a person or for threats of such acts of violence, or has or have
             declared that that body of persons has been involved in such acts of
             violence or threats, provided that the acts of violence or threats were
             committed or made after 5 Iyar 5708 (May 14, 1948).”




                                                        [Stamp] Gilmore 00805 [continued]

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140. The fact that Fatah, Tanzim and Al Aqsa Martyrs Brigades are terrorist organizations, in
     accordance with that which has been set forth in the Expert Opinion of Brigadier General
     Cooperwasser Prosecution/1, is clearly proven by the seized documents that were taken
     during Operation Protective Shield, which were presented as evidence in this Court, and
     also from the testimony of the terrorism operatives and the Defendant himself (see above,
     Sections 7 – 10; testimony of Aweis in Sections 21 – 23; testimony of Abu Hamid in
     Section 25; testimony of Ahmed Barghouti in Section 29; testimony of Ahawil in Section
     35; testimony of Aidiya in Section 40; testimony of Sharif in Section 55; testimony of Abu
     Radaha in Section 57; and the Defendant’s statements from his interrogation as described
     in Sections 60 – 64). The terrorist attacks covered by this Indictment, and many others,
     were brought into being by the field operatives of Fatah – members of the Tanzim – and by
     cells that were organized within the framework that is called “the Al Aqsa Martyrs
     Brigades”. The Defendant was the leader of Fatah in the West Bank and commander of the
     Tanzim and Al Aqsa Martyrs Brigades, as he admitted during the course of his
     interrogation and is proven by much additional evidence (see Section 17 and Sections 60 –
     65 above).

     The Defendant’s roles in leadership of the terrorist organizations was also described at
     length (see Part II, Chapter D above). The Defendant was the commander of terrorist
     organizations and terrorist cells, even if sometimes they did not follow his orders, and he
     made an effort to supply them with weapons, explosives and money for the purpose of their
     activities (see Part II, Chapter D (1) and (3) above). He was also personally involved in
     some of the terrorist attacks that have been carried out by the organizations that he led (see
     Part II, Chapter D (2) above). The Defendant also handled assistance for wanted men and
     the families of people who were arrested or killed, recruited operatives for the terrorist
     organizations and trained them (see Part II, Chapter D (4) – (5) above). He was the person
     who expressed the positions of the terrorist organizations in the media (see Chapter D (6)
     above).

     In this case, therefore, we are not dealing merely with “a person fulfilling a managerial or
     instructional position in a terrorist organization” in accordance with that which has been set
     forth in Section 2 of the Prevention of Terrorism Ordinance, rather the Defendant was the
     person who headed these terrorist organizations, created their policy and made propaganda
     speeches on their behalf in the media.

     Therefore, the foundations of Sections 2 and 3 of the Prevention of Terrorism Ordinance,
     namely membership in a terrorist organization and activity in such an organization, are
     proven.


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2.   Responsibility of the Joint Perpetrator, the Solicitor and the Accessory and the
     Differences Between Them

141. The Indictment charges the Defendant with the direct responsibility of a “joint perpetrator”
     in all of the acts of murder and attempted murder that are the subject of the Indictment,
     which lists 37 different terrorist attacks.

     The Indictment also charges the Defendant with the crimes of being an accessory to murder
     and soliciting murder, even though the Prosecution’s claim in its summation is that the
     Defendant should be considered a joint perpetrator in these crimes, and not only an
     accessory or one who solicits others, because he was a leader of terrorist organizations and
     the main person responsible for perpetrating murderous terrorist attacks that were brought
     into being by these terrorist organizations. Therefore, it is necessary to review the degree of
     responsibility claimed for the Defendant in the terrorist attacks that are the subject of the
     Indictment: first – as one who committed acts of murder as a joint perpetrator together with
     the field operatives and the terrorists who actually perpetrated the attacks; second – as the
     person who solicited others to perpetrate the attacks; third – as an accessory to acts of
     murder. In this framework, is necessary to examine the traits that characterize “the joint
     perpetrator” and to distinguish between them and those that characterize the accessory and
     the one who solicits [the offense].

142. In Section 29 (b) of the Penal Code, 5737-1977, the responsibility of the joint perpetrator is
     defined as follows:

             “The participants in the perpetration of a crime who take action in
             order to commit it are joint perpetrators and it makes no difference if
             all of the actions are done together or if some are accomplished by one
             and some by




                                                              [Stamp] Gilmore 00806 [continued]

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             another.”

     Section 30 of the Penal Code, 5737 – 1977, defines the responsibility of the solicitor as
     follows:

             “Anyone who causes another to perpetrate a crime by persuasion,
             encouragement, demand, pleading or any other manner that exerts
             pressure is soliciting a crime.”

     Section 31 of the Penal Code, 5737 – 1977, defines the responsibility of the accessory as
     follows:

             “Anyone who, before the commission of crime or during its commission,
             does anything to make commission of the crime possible, who makes it
             easier, secures it or prevents the capture of the perpetrator, its
             discovery or negation or contributes in any other manner to the
             creation of conditions for committing the crime, is an accessory.”

143. In order for a person to be considered a joint perpetrator who commits a crime together
     with others, there needs to be a foundation of “taking action in order to perpetrate” the
     crime, as Section 29 (b) of the law instructs.

     Rulings have interpreted the concept “perpetrate” broadly when defining the essence of the
     act that it requires. Similarly, rulings have set flexible criteria with respect to the degree to
     which the participant needs to be close to the circle of perpetrators and for his ability to
     influence their deeds (Additional Proceeding 1294/96 Uzi Meshulam v. The State of
     Israel PD 52 (5) 1, on page 21 (the Honorable Justice A. Matza), on page 54 – 55 (the
     Honorable Justice M. Cheshin) and on pages 63 – 64 (the Honorable Justice Y. Kedmi)).

     With respect to the act that is required in order for it to be possible to consider a person to
     be a joint perpetrator, it has been ruled that it sufficient for the act of perpetrating the crime
     to be beyond simple preparation (this is also the criteria for the existence of attempt), and
     be accompanied by the appropriate mental basis (Additional Proceeding 1294/96, as above,
     in the case of Meshulam, on pages 23 – 24). This act is not required to be essential for the
     success of the crime nor does it need to be an act that is part the basic factual foundation of
     the crime; it is sufficient that the act is included in the plan for the crime or the division of
     tasks among the participants (the above mentioned Additional Proceeding 1294/96, in the
     case of Meshulam, on pages 63 – 64 (the Honorable Justice Y. Kedmi)).

A.   The Joint Perpetrator in Comparison to the Accessory



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144. The distinction between the “joint perpetrator” in a crime, in accordance with Section 29
     (b) of the Penal Code, and the “accessory”, in accordance with Section 31 of the law, has
     become a matter of major importance since amendment to the Penal Code (Amendment
     No. 39) (Preliminary Part and General Part), 5754 – 1984 [Translator’s note: date as written]
     came into force because in accordance with Section 32 of the law in its new version, the
     punishment of an accessory is half that of a joint perpetrator, whereas in accordance with
     the previous law their punishment was the same. The maximum punishment for an
     accessory to murder is 20 years’ imprisonment (see Section 32 (1) of the Penal Code) while
     the mandatory sentence for a joint perpetrator murderer, in the absence of circumstances
     for reduced responsibility, is life imprisonment.

     In Criminal Appeals 8901, 8873, 8710, 8620, and 8573/96 Mercado et al. v. The State of
     Israel (“the discount banker’s trial”), PD 51 (5) 481, the Honorable Justice Goldberg
     wrote on page 545:

             “Amendment No. 39 to the Code expresses the recognition that the
             moral guilt and the subjective and objective danger adhering to the
             accessory is less than that of the joint perpetrator. This disparity is the
             foundation for the distinction in sentencing between the joint
             perpetrator and the accessory and it is what should guide us when
             determining the test to be used for distinguishing between a principal
             offender and an accessory.”

145. The distinction between a “joint perpetrator” and an “accessory” was clarified in Criminal
     Appeals 4389/93 and 4497/93, Yossi Mordecai et al. v. The State of Israel, PD 50 (3)
     239, in Criminal Appeals 2796/95, 2813/95, and 2814/95, John Does v. The State of
     Israel, PD 51 (3) 388, the above mentioned Additional Proceeding 1294/96 in the matter of
     Meshulam; the above mentioned Criminal Appeal 8573/96, in the matter of Mercado, on
     pages 543 – 550; and Criminal Appeal 2111/99 Heyro v. The State of Israel, PD 58 (1)
     411. The distinction between a joint perpetrator and accessory is found in both its factual
     basis and its mental basis. In principle, “The quality of the accessory’s contribution to
     perpetration of the crime is a lower one than the quality of the contribution of the
     principal offender” (the above mentioned Criminal Appeal 8573/96, on page 545).




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    With respect to the factual basis of the crime – the main distinction between is between
    direct and indirect partners in perpetrating the crime. The joint perpetrators are those
    “participants who take action in order to perpetrate” the crime, but each one is not
    required to personally perpetrate all of the factual bases of the crime (see Section 29 (b) of
    the Code). In contrast, the accessory does something that in some way contributes to
    “creating conditions for committing the crime” (see Section 31 of the Code). The joint
    perpetrator is part of the inner circle that commits the crime while the contribution of the
    accessory to the commission of the crime is entirely external. Therefore, the Court
    examines the degree of proximity for each participant in the crime, meaning is he part of
    the inner circle of the criminal task (Criminal Appeal 3390/98 Rosh v. The State of Israel,
    PD 53 (5) 871,




                                                             [Stamp] Gilmore 00808 [continued]

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     878). This, then, is “the proximity test” that was explained by the Honorable Presiding
     Justice A. Barak in the above mentioend Criminal Appeal 4389/93, the matter of
     Mordecai, on page 250:

             “The difference between the joint perpetrator and the accessory is
             expressed in that the joint perpetrators act as a single unit to commit a
             criminal task. They are all chief offenders… The contribution of each of
             the joint perpetrators is “internal”… therefore, with respect to the joint
             perpetrators, it may be possible to divide the work between the
             offenders so that they act in different places and at different times
             without each of them completing the crime, but each part is significant
             for implementing their common plan. Uniform time and place are not
             essential, as long as the role of each is an internal role for the criminal
             task.”

146. In the rulings that were cited above, the Supreme Court reviewed the various distinctions
     that have been proposed in rulings and in legal literature in order to set boundaries between
     a joint perpetrator and an accessory. There are those who emphasize “the test of control”
     as a characteristic of the joint perpetrator: the joint perpetrator has control, together with
     others, over commission of the crime; he is part of a joint plan for committing a crime, and
     works together with others in order to carry out it. On the status of the joint perpetrator in
     light of the “test of control,” the Honorable Presiding Justice A. Barak wrote in the above
     mentioned Criminal Appeal 2796/93, in the matter of John Does (see Section 28):

             “The characteristic of the joint perpetrator is that he is master of the
             criminal activity. He has functional – substantive control, together with
             the other joint perpetrators, over the criminal act. He is part of the
             joint decision to commit the crime and he is part of the overall plan to
             commit the crime, and works together with the others to realize the
             forbidden criminal act. He works together with the other joint
             perpetrators so that each one of them has control – together with the
             others – over the entire activity. His status with regard to the decision to
             commit the crime is one of a person who is ‘inside.’ His contribution is
             ‘internal.’ He has a substantial share in completing the joint plan…”

     Similarly, in the ruling that was handed down on the above mentioned Criminal Appeal
     8573/96, in the matter of Mercado, on pages 547 – 548. In contrast, in regard to the
     accessory, the Honorable Presiding Justice A. Barak wrote that the accessory “is not the
     father of the idea” to commit the crime and in Section 30 he wrote as follows:




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            “The accessory is an indirect secondary partner (Mordecai case,
           Section 14). He is found outside of the inner circle of perpetration. He is
           an ‘external’ force. He does not initiate the perpetration and he does
           not solicit it… He does not decide to commit the crime and he does not
           control it…”




                                                          [Stamp] Gilmore 00809 [continued]

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     (See also the above mentioned Criminal Appeal 4389/93, in the matter of Mordecai,
     Sections 13-14).

147. In contrast to the “test of control,” there are those who emphasize the “test of
     functionality,” in accordance with which the joint perpetrator is a person who takes a
     substantial role in committing the crime itself, while the share of the accessory is expressed
     in an act of assistance and is external to the crime.

     This test finds expression in the language of Section 29 (b) of the law (“participants in the
     commission of an offense while taking action in order to commit it”). In the above
     mentioned Criminal Appeal 2792/93, in the case of John Does, (see Section 27) the
     Honorable Presiding Justice A. Barak wrote with regard to joint perpetrators:

             “They are the main partners in the commission of the crime. The
             partnership between them is expressed in that they have taken part in
             the commission of a crime as direct perpetrators. They work as a single
             unit to commit a criminal task… Each takes a principal part in of
             commission of the crime.”

     In continuation of his words (see Section 27), Honorable Presiding Justice A. Barak wrote:

             “Being a joint perpetrator requires joint planning. It is based on a
             division of work among the perpetrators… ”

     The Honorable Justice Y. Kedmi wrote clearly about the decisive importance of the “test of
     functionality” in Criminal Appeal 5206/98 Halil Abud v. The State of Israel, PD
     52 (4) 185 (see Section 2):

             “‘The joint perpetrators’ are not only the partners in the commission of
             the ‘act’ of the crime itself; rather, they include everyone who ‘took
             part’ in the commission of the crime, in the broadest sense of the word
             ‘commission.’ Whereas anyone who only ‘contributed’ to its
             commission, without actually taking part – which is to say without
             having a ‘role’ in its framework – remains in the ‘outer circle’ of those
             who are responsible for its commission. He is not the partner in
             commission; his role is limited to simple ‘assistance’ for the commission
             of the crime.




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             The distinction between those who are included in the ‘inner circle’ –
             ‘the joint perpetrators’ – and those who are included in the ‘outer
             circle’ – ‘the accessories’ – is to be found in the quality and character of
             their involvement in its commission: if ‘they took part in its
             commission’ – meaning if they have a ‘role’ in its commission, then they
             are ‘co-conspirators’; but if they only ‘contributed’ to it from the
             outside – then they are merely ‘accessories.’”

     Further on in the ruling, the Honorable Justice Kedmi explains that the distinction between
     the joint perpetrator and the accessory is not dependent on the question of whether the
     Defendant’s behavior assisted in the commission of the crime, since a joint perpetrator can
     also assist its commission; the question is “if he took part – meaning: if he played a role
     – in the commission of the crime.”

     In Additional Proceedings 1294/9 6, 1365 Meshulam et al. v. The State of Israel, PD
     52 (5) 1, on page 63, the Honorable Justice Kedmi wrote:

             “‘An active partnership’ need not be expressed in joint action in
             committing an ‘act’ that is an element of the factual basis of the crime,
             and the broad comprehensive meaning of ‘act’ expresses ‘partnership’
             in committing the crime. In Section 29 of the Penal Code, the definition
             of ‘active partnership’ does not require that the ‘act’ be done while
             committing the factual basis of the crime but it certainly expresses
             ‘partnership’ in its commission. The ‘partnership’, as noted, can begin
             with the suggestion of the idea to the people who are designated to
             commit the crime.”

     The Honorable Justice M. Cheshin noted in the same manner that the law does not require
     that an act of partnership in the commission of a crime be done while the crime is actually
     being committed or is adjacent to it (on pages 53 – 54).

148. In the above mentioned Additional Proceeding 1294/96, in the matter of Meshulam, the
     Supreme Court explained that “the test of control” is a auxiliary test that is not the sole or
     exclusive test, and that it should be combined with other tests and considerations;
     controlling the commission of the crime is important evidence of a person being a joint
     perpetrator but the lack of control or a lack of critical physical contribution to commission
     a crime does not necessarily negate this conclusion (Honorable Presiding Justice A. Barak
     on page 50; Honorable Justice A. Matza on pages 24 – 27; Honorable Justice Y. Kedmi on
     page 65). Furthermore, even when the Court is aided by the “test of control” this is done
     while emphasizing that it does not mean continuous control throughout the commission of
     the entire crime but rather “control of a certain portion of the crime that was allotted to a
     particular perpetrator” (Honorable Justice Y. Kedmi on page 64).

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149. With respect to the mental basis for the crime – certainly the mental attitude of the
     accessory is on a lower level than that of a principal perpetrator, for everything related to
     the degree of his awareness of details that are related to the commission of the crime and
     his desire to realize it. We would rule that for the accessory, it is sufficient if he is aware of
     the fact that his behavior contributes to creating the conditions necessary for committing
     the main crime and that the principal is about to commit it. In addition, the accessory needs
     to have in mind the purpose of assisting the principal in committing the crime and making
     it easier for him to do so. However, when the principal crime is consequential and it
     requires an element of haste or special intention – it is not necessary to prove that the
     accessory acted out of intention of this type or that he intended that the principal
     perpetrator would realize his goals. For example, in the case of murder, it is not necessary
     to prove that the accessory intended for the principal to murder the victim or that he wanted
     that outcome; it is sufficient that the accessory’s intention be to aid the principal criminal,
     whatever the motivations of the accessory might be (these rules were clarified in Criminal
     Appeal 320/99 John Does v. The State of Israel, PD 55 (3) 22, on pages 31 – 37).

      In contrast to this, when dealing with the joint perpetrator, it must be proven that he had a
      high level of mental involvement and awareness of the details of the crime being
      committed in the addition to his desire to realize it:

             “The co-conspirator contributes his contribution to a criminal act with
             multiple participants with a mental attitude of creating a crime onimo
             auctoris. He considers the commission of the crime his business and not
             that of someone else (words of S. Z. Feller in his book Foundations of
             Criminal Law, quoted in Criminal Appeal 4389/93, as above, in the case
             Mordecai, on page 251).

      In summation: The joint perpetrator, as opposed to the accessory, needs to have a mental
      basis that is equal to that of the other principals in the crime and he needs to have all the
      elements of the mental basis that are determined by law for the crime in which he has taken
      part (the above mentioned Criminal Appeal 2796/95, in the matter of John Does, on page
      402).

      In the above mentioned Criminal Appeal 8573/96, in the case of Mercado, the Honorable
      Justice A. Goldberg wrote, on pages 548 – 549, that the categorization of the Defendant as
      a joint perpetrator or as an accessory is the result of combined test of the mental basis and
      the factual basis – a test which is like a parallelogram of forces:




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            “The greater the mental basis (with regard to his degree of interest in
           its commission) of the person who committed the crime, the more it is
           possible to be satisfied with a lower level of factual basis. In this spirit,
           it has already been said that ‘when the “mental” basis is proven (the
           awareness – A.G.), the division of the tasks among the participants
           involved in the event is no longer important’ (the above mentioned
           Criminal Appeal 4188/95, 5235, [43], on page 550). Conversely, the
           greater




                                                           [Stamp] Gilmore 00812 [continued]

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             the factual basis for the commission of the crime, from the perspective
             of the quality of his contribution to its perpetration, it is possible to be
             satisfied with the lower level of mental basis.”

     These points were confirmed in the above mentioned Additional Preceedings 1294/96 in
     the matter of Meshulam (on page 27, in accordance with that which has been set forthby
     the Honorable Justice A. Matza).

150. From the law that was cited above, it becomes apparent that participation in planning a
     crime serves as a clear sign of a joint perpetrator. In this case, is not necessary for him to be
     physically present at the scene of the crime in order to be considered a joint perpetrator.

     In the above mentioned Additional Preceedings 1294/96 in matter of Meshulam (on page
     64), the Honorable Justice Y. Kedmi ruled:

             “‘Participation’, as stated, can begin with proposing an idea to the
             people who intend to commit the crime, and in any case, by my method,
             there is no doubt that planning the perpetration, giving orders and
             delineating the lines of action, including assigning roles to the
             participants, compose an ‘act’ that expresses ‘participation’, as stated.”

     In Criminal Appeal 3596/93 Hamoud Abu Sror v. The State of Israel, PD 52 (3) 481, the
     Honorable Justice A. Matza wrote on page 491:

             “The practical contribution of the appellant to the commission of
             murder was indeed smaller than that of his two companions. However,
             his active participation in the preparations and the warning role he
             played gave him control over bringing the murderous plan into being.
             From the fact that he participated in the preparation for its
             perpetration and acted for the success of the program, it becomes
             apparent that he had the required criminal intention for inclusion in
             responsibility for the crime of premeditated murder.”




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    In the above mentioned Criminal Appeal 2796/95, in the matter of John Does, four
    adolescents were convicted of premeditated murder despite the fact that only one of them
    throw the grenade that caused the death of the crime’s victims. One (Ze’ev) was convicted
    as a joint perpetrator because he took part in all stages of planning and perpetration, and
    was present at the scene when the crime was committed, despite the fact that he decided
    not to throw that the fatal grenade himself (“he did not implement the act of killing. This
    is meaningless since a joint perpetrator is responsible even if he himself did not
    commit all bases of the crime… ” – on page 407). The second (Gershon) was convicted
    as a joint perpetrator even though he was not even present at the scene by crime and his
    entire function was to report the deed to media after it was done, because he fulfilled the
    role that was assigned to him in advance, for the purpose of realizing the crime (on page
    408). The third (Tal) was convicted as a joint perpetrator, despite the fact that he, too, was
    not present at the scene of the murder because




                                                             [Stamp] Gilmore 00813 [continued]

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     he participated in the planning of the crime, and was part of the group that decided to
     commit the murder and even was its leader (on pages 408-409).

151. When the principal crime is preceded by a conspiracy to commit the crime, there is a
     tendency to consider each of the conspirators as a joint perpetrator in the main crime, and
     only if they took a genuine part in the commission thereof. The reason for this is that the
     conspiracy to commit a crime is evidence of the fact that each of the conspirators is
     interested in its commission. According to the statements that were set forth by S. Z. Feller,
     which were quoted in the above mentioned Criminal Appeal 8573/96, in the matter of
     Mercado, on page 550: “Conspiracy between two or more people to commit a criminal
     offense includes the development of joint thought in order to realize the goal of the
     conspiracy – each is a future candidate to be the direct perpetrator, in the spirit of
     creating animo auctoris.”

     In the above mentioned Criminal Appeal 3390/98, in the matter of Rosh, on page 878, the
     Honorable Justice A. Matza wrote:

             “The additional test with respect to ‘proximity to the act’, which
             requires that the share of each joint perpetrator be an ‘internal part of
             the criminal act’, is intended to ensure that commission of a marginal
             act, which on the basis of its nature could be included in the definition
             of ‘perpetration’, will not make its doer responsible as a joint
             perpetrator when the nature of his mental basis for committing the
             crime is doubtful (Additional Proceeding 1294/96 Meshulam v. The
             State of Israel (hereinafter – ‘the Meshulam matter [3],’ on pages 21-22).

             It is not the same when determining the responsibility of someone who,
             as a matter of principle, is included as a participant in preparing the
             criminal plan, and no doubt arises with respect to his having the
             required criminal intention for inclusion in the planned crime. This
             type of party to a crime carries the responsibility of a ‘joint
             perpetrator’ even if his physical contribution to commission is no
             greater than that of an accessory (Criminal Appeal 3596/93, Abu Sror v.
             The State of Israel, [4], on page 491).”




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152. With respect to presence at the scene of the crime, indeed it is not essential in order for
     person to be considered a joint perpetrator, and in the language of the Honorable Presiding
     Justice A. Barak in the above mentioned Criminal Appeal 2796/95, in the matter of John
     Does (see Section 27): “Being a joint perpetrator is not necessarily based on uniform
     place and time” (see also the above mentioned Additional Proceeding 1294/96, in the
     matter of Meshulam, on pages 30, 38, 49, 51, 53 – 54 and 64). However, the non-random
     presence of a person at the scene where a crime is being committed does create an
     assumption, which may be contradicted, that he is a joint perpetrator in the crime (see:
     Criminal Appeal 3006/96 Matias v. The State of Israel, Supreme Court Laws, Volume 52
     526).

B.   The Crime of the Accessory




                                                            [Stamp] Gilmore 00814 [continued]

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153. The factual basis and the mental basis of the crime of the accessory in general, and of the
     accessory to murder specifically, were recently clarified in a verdict that was written by the
     Honorable Presiding Justice A. Barak in Criminal Appeal 320/99 John Does v. The State
     of Israel, PD 55 (3) 22, on pages 31 – 37 (which was upheld in Criminal Appeal 11131/02
     Angelika Yosefov v. The State of Israel, not yet published). The law, as determined by
     these rulings, can be summarized as follows:

     a. The characteristic behavior of the accessory is that it is an indirect, secondary
        contribution to the commission of the main crime: the contribution of the accessory is
        considered indirect and secondary because he does not take part in the main
        commission of the crime but only makes an indirect contribution to the realization of
        the main crime. The accessory is an “external” force who is outside the inner circle of
        the crime (see also: Criminal Appeal 7085/93 Najar et al. v. The State of Israel, PD
        51 (4) 221, on page 238).

     b. The factual basis for the crime of the accessory, which is a crime of behavior, is the
        action or lack of action which creates the conditions for realization of the factual basis
        of the crime being committed by the principal. The accessory needs to be “able” to help
        in realization of the main crime but is not required to be effective or the condition
        without which the main crime could not have been realized (see also Criminal Appeal
        4317/97 Poliakov v. The State of Israel, PD 53 (1) 289, on page 307). Similarly, it is
        not necessary that the principle crime actually be committed since the crime of an
        accessory is not a consequential crime. In addition, it is necessary to prove as part of
        the factual basis of the crime of the accessory, that the circumstances relating to the
        criminality of his behavior is secondary and indirect.

     c. The accessory must be directed towards a crime that has a concrete purpose, meaning
        the action is done in order to assist the commission of a specific crime, rather than
        simply crime (see also Criminal Appeal 426/67 Yosef Be’eri et al. v. The State of
        Israel, PD 22 (1) 477, on page 481; the above mentioned Criminal Appeal 7085/93, in
        the matter of Najar, on pages 238 – 239).

     d. The mental basis of the crime of the accessory includes three cumulative conditions:

         (1) Awareness of the nature of the accessory behavior, meaning: of the fact that this
             behavior contributes to the creation of conditions for committing the main crime,
             which has a concrete goal;



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        (2)Awareness of the existence of the relevant circumstances at the time of the
           accessory’s behavior, meaning: awareness that the principal is committing or about
           to commit the crime, even though awareness of the specific details of the crime is
           not necessary (see also the above mentioned Criminal Appeal 7085/93, in the matter
           of Najar, on pages 238 – 239).

       (3) The accessory must be aware of having the goal of assisting the principal in
           committing the crime or make it easier for him to commit the crime.

           The “ability to anticipate” can be applied to this requirement, meaning: the
           awareness of the accessory to the fact that his behavior might almost certainly be
           the contribution that assists the principal is weighed against his purpose for aiding
           him, even if he is not at all interested in the commission of the main crime (see also
           the minority opinion of the Honorable Justice Y. Engelard in the above mentioned
           Criminal Appeal 4317/97 in the matter of Poliakov, on pages 320 – 323 and the
           expert opinion of the Honorable Justice M. Ilan in Criminal Appeal 807/97 State of
           Israel v. Azizian, PD 53 (5) 747, on pages 757 – 758).

    e. When the principal crime is consequential and it requires a mental basis of haste or
       special intention,




                                                            [Stamp] Gilmore 00815 [continued]

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         it is not necessary to prove that the accessory acted out of intention of this type or that
         he intended that the principal perpetrator would realize his goals. For example, in the
         case of murder, it is not necessary to prove that the accessory intended for the principal
         to murder the victim or that he wanted that outcome; it is sufficient that the accessory’s
         intention be to aid the principal criminal, whatever the accessory’s motivation might be.

154. With respect to the required degree of likelihood that the principal defender will commit
     the crime, it is important to note that in accordance with the law stated by the Honorable
     Presiding Justice A. Barak in the above mentioned Criminal Appeal 320/99, in the matter
     of John Does, it is sufficient that the accessory is aware of the fact that the principal
     offender is going to commit a crime with a concrete goal (on pages 31 – 32 of the ruling).
     The requirement for awareness of the almost certain likelihood relates to the basis of the
     purpose, meaning: the accessory’s awareness that his behavior is likely almost certainly to
     contribute to commission of the principal crime; this type of awareness is equivalent to the
     goal of assisting the principal criminal. As stated by Presiding Justice A. Barak : “The
     mental basis of the goal (‘in order that’) is therefore directed towards the act of
     assisting and not towards the act of the main crime” (on page 35).

     In this context, the question arises of when it can be said that the Defendant was “aware”
     that the main criminal would be committing a crime with a concrete purpose.

     The law is that “turning a blind eye”, which is also referred to as “intentional blindness”, is
     considered in comparison to awareness of the character of the act and other existing
     circumstances. This ruling is currently expressed in Section 20 (c) (1) of the Penal Code
     which states as follows:

             “A person who suspects something about the nature of his behavior or
             the possibility of existing circumstances is considered that he was aware
             of them, if he avoided clarification.”

     (See: Y. Kedmi, On Criminal Law, updated and expanded edition (1966), Part One, on
     page 37, and Criminal Appeal 3417/99 Margalit Har-Shefi v. The State of Israel, PD
     55 (2) 735, on pages 757 – 758).

     In Y. Kedmi’s above mentioned book, it is written on page 37:




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            “a.     Section 20 (c) (1) of the amendment anchors in firm instruction
           the general principle in accordance with which: in a place where a
           person actually ‘suspects’ that the nature of his behavior could lead him
           into the bounds of forbidden behavior, if there is a practical possibility
           that they are circumstances that require clarification and he avoids
           clarifying the ‘veracity’ of the suspicion, he is considered as someone
           who is aware of the true nature of his behavior and the existence of the
           circumstances of (if it is found that they actually exist).

           b.       Also… it seems that the level of suspicion needs to be at least
           ‘the level of likelihood’ meaning: it is more reasonable that the
           suspicion is true than that it is unfounded.”

    The law in this regard is clarified by Professor S. Z. Feller, Fundamentals of Criminal
    Law (Volume 1, 5744 [1984]), on page 519, which was also referred to by the Honorable
    Justice M. Cheshin in the above mentioned Criminal Appeal 3417/99, on page 758, stating:

           “Awareness of the possibility of the existence of a circumstance, on
           which the crime is dependent, obligate a person to check, in practice,
           his actions in that circumstance, in order to desist from it if the
           existence of that circumstance is confirmed.




                                                         [Stamp] Gilmore 00816 [continued]

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           If, despite a suspicion, the person did not do so, whether because he was
           determined to complete the act regardless of the circumstances or
           because it was convenient for him not to know or for any other reason,
           it means that he accepted the existence of the circumstances.

           Therefore, conscious disregard of the possibility that there exists a set of
           circumstances is considered consciousness that they do exist; since this
           set of circumstances stood before the person but he did not bother to
           examine the situation or to clarify them. If it turns out after the fact
           that the relevant circumstances did indeed exist, awareness of the
           possibility that they might exist, because of a suspicion, is considered
           awareness of their existence.

    In the above mentioned book by Y. Kedmi, on page 37, he wrote that the level of suspicion
    necessary in order to carry out the law of “turning a blind eye” legal rulings ranged from
    the level of “reasonable” prior to the amendment of 5754 [1994] to the Penal Code, to the
    level of “high.” In this matter, Professor Feller, Fundamentals of Criminal Law
    (Volume 1) wrote on page 523 as follows:

           “In our opinion there is no basis to the assumption that other than the
           rationality of the suspicion – which is obviously subjective – or more
           precisely in place of its rationality, the suspicion needs to be of a high
           level to the point of being nearly certain or lacking in any real doubt in
           the mind of the person with respect to its veracity…

           In order to compare “turning a blind eye” to awareness, it is sufficient
           that awareness of this rational suspicion with respect to the possible
           existence of circumstances and avoidance of clarifying the situation in
           order to confirm it.”

    And on page 524 it says:

           In conclusion, it is sufficient for the suspicion to be anchored in reality,
           meaning rational, in order to define the act as being done by “turning a
           blind eye” if, in practice the person avoids checking the suspicion and
           understanding it in order to verify it. It is not necessary for there to be a
           high degree of objective likelihood that the suspicion is true.




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      The test for the existence of “turning a blind eye” emerges from the awareness that it is, in
      accordance with that which has been set forthabove, subjective. In spite of this, the Courts
      regularly determine a Defendant’s subjective awareness using the test of a reasonable
      person’s objectiveness as the test (see also: Criminal Appeal 15/78 Moshe Bibas v. The
      State of Israel, PD 32 (3) 64, on page 83; Criminal Appeal 5612/92 The State of Israel v.
      Be’eri et al., PD 48 (1) 302, on page 363; compare with the application of the test of a
      reasonable man for the Defendant’s awareness to be high likelihood of damage to national
      security: Criminal Appeal 3116/99 Yehuda Gil v. The State of Israel, PD 54 (4) 193, on
      page 204).

155. From the decisions in accordance with that which has been set forth above, especially those
     in the ruling of the above mentioned Criminal Appeal 320/99 in the matter of John Does, it
     becomes apparent that a person who suspects that his companion is about to commit a
     certain crime but avoids clarifying the issue and even helps his companion commit the
     crimes despite the awareness that he is, almost certainly, helping his companion to commit
     the crime – if it is committed – is considered an accessory in accordance with Section 31 of
     the Penal Code. From these rulings, it becomes apparent that it is not necessary to prove
     that the accessory expected the commission of the main crime as a nearly certain
     possibility: it is sufficient that he is aware of the logical, reasonable and realistic possibility
     that the main crime will be committed and, In spite of this, he assists the person’s
     commision, he does so with an awareness that his behavior is likely, almost certainly, to
     assist the principal. Similarly, it is not necessary prove that the accessory desired the
     commission of the principal crime or that he acted out of intention that the principal crime
     be committed.

      However, in the above mentioned Criminal Appeal 11131/02, in the case of Yosefov, the
      Honorable Justice A. Rivlin ruled that the Prosecution needs to prove that the Defendant
      knew that his behavior would be likely, almost certainly, to assist the crime of murder
      committed by the




                                                                 [Stamp] Gilmore 00817 [continued]

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     principal and that: “in order for the rule of expectations to apply, it is necessary to
     show, as stated, awareness of near absolute certainty of the possibility for commission
     of the crime…” (see Section 13 of the ruling). This statement is different in its overtones
     from that in the above mentioned Criminal Appeal 320/99, in the matter of John Does,
     where the Honorable Justice Rivlin said in the above mentioned Criminal Appeal
     11131/02, at the beginning of the ruling (see Section 9), that:

            “awareness – both of the nature of the accessory act and of the
            circumstances of the commission of the main crime – can be replaced by
            a suspicion with respect to the accessory nature of the act and
            awareness of the possibility that they are circumstances for the
            commission of a crime by the principal, in accordance with the orders
            of Section 20 (c) (1) of the Penal Code (‘turning a blind eye’).”

156. From the rulings above it becomes apparent that it is not necessary to prove that the
     Defendant was aware of every detail with respect to the crime to which he is an accessory.
     In this regard, the Honorable Justice A. Rivlin wrote, in the above mentioned Criminal
     Appeal 1131/02, in the matter of Yosefov, the following words, which are important to our
     case:

            “The previous Court has rightly said that awareness that the principal
            is going to a commit a crime does not mean awareness of all of the
            details of the crime that he is planning (see for example: Criminal
            Appeal 7085/93 Najar v. The State of Israel, PD 51 (4) 221, 239). In the
            matter before us, the appellant knew that Zayid, whom she
            accompanied, was carrying explosives with him, and that he had
            already carried out terrorist attacks in the past, and that he wanted
            revenge for the death of his brother who was killed by an action of the
            security forces. Based on the appellant’s testimony, the previous Court
            was impressed that she understood quite well that Zayid was planning
            to perpetrate a terrorist attack in the city of Tel Aviv. In this context,
            the question of whether she knew the exact location at which he
            planned to place the explosives is unimportant.”

     On the same issue, the Honorable Justice Rivlin also wrote:




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            “Indeed, as we already noted, the accessory does not need to be aware
           of all the details of the crime which the principal intends to commit. In
           spite of this, he must be aware, at the time he proffers assistance to the
           principal, that there is a possibility that he is assisting the principal in
           committing a genuine crime, and in other words – to the fact that the
           principal crime has a ‘concrete target’ see also: Criminal Appeal 426/67
           Be’eri v. The State of Israel, PD 22 (1) 477, on pages 481 – 482;
           Criminal Appeal 5544/91 Moyel v. The State of Israel (not yet
           published). It is not sufficient to have knowledge of a vague or
           hypothetical willingness of the principal to commit a crime in order for
           a person to be an accessory.

           Therefore it is likely, as we have noted, that the awareness of
           circumstances of the factual basis – which is to say awareness of the fact
           that the principal will commit a crime – can be replaced by awareness
           of the possibility that he is going to commit a crime.

           However, in order for it to be said that the accessory ‘turned a blind
           eye’, we must be convinced that there actually existed a rational-
           subjective suspicion in the accessory’s mind that the principal was
           going to commit a crime (S. Z. Feller, in his above mentioned book
           (Volume 1) pages 521 – 524, 530).

           Furthermore, the accessory must be aware of the fact that the crime
           may be committed when he offers the assistance. If the accessory
           believed, at the time that he performed the acts that were accessory to
           the crime, that there was no longer any substantial possibility that the
           principal would commit the crime he then cannot be considered an
           accessory – even if he evaluated at an earlier stage that a possibility
           such as




                                                          [Stamp] Gilmore 00818 [continued]

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            this existed.”

     With respect to the requirement for awareness of the principal’s intentions to commit a
     crime with a concrete purpose, the Honorable Justice M. Landoy (as he was known at the
     time) in Criminal Appeal 426/67 Yosef Be’eri et al. v. The State of Israel, Supreme Court
     PD 22 (1) 477, on page 481, wrote that when the accessory supplies a tool for committing
     the crime, such as a vehicle or weapon – it is sufficient that the accessory supplied the tool
     that is used to commit the crime for the purpose of committing a crime of the same type
     that was committed, but not necessarily for exactly the same crime. The Honorable Justice
     Landoy said that this ruling, which is based on English rulings, applies “at least in those
     cases in which the accessory leaves it to the principal’s ‘discretion’ to choose the
     appropriate time and place for realizing their joint criminal intentions.”

     In the above mentioned case, the Honorable Justice Landoy ruled that even if the appellant
     (who was acquitted in the end) were to prove that he gave his car to the perpetrator of the
     robbery in order to make it easier for him to escape from the scene of the crime – it is not
     necessary to prove that he planned for him to rob the tourists who were in fact robbed.

157. The requirement that the Defendant be aware of the existence of a specific crime with a
     concrete purpose also consists of the “principle with respect to involved intent”, which is
     expressed in Section 20 (c) (2) of the Penal Code, 5737 – 1977.

     This Section states with respect to criminal intent that “it makes no difference if the act
     was committed by another person or another object than the one that was planned”
     (see: Y. Kedmi, On Criminal Law – Updated and Completed, 1996 edition, Part One, on
     page 38). On the basis of this principle it was ruled, even before Section 20 (c) (2) of the
     law was enacted in 5754 [1994], that, “if he intended to murder this person and he did
     kill that person, he is judged as a murderer” (Criminal Appeal 406/72 in Snir v. The
     State of Israel, High Court PD 28 (1) 234, on pages 242 – 243; Criminal Appeal 388/76
     Ibrahim v. The State of Israel, High Court PD 31 (1) 601, on page 607; Criminal Appeal
     6059/92 Shibam v. The State of Israel, High Court Compendium 93 (4) 255; Criminal
     Appeal 887/96, Biton v. The State of Israel, High Court Compendium 97 (1) 848). As the
     Honorable Justice H. Cohen wrote in the above mentioned matter of Snir, “We do not
     consider that criminal intent must be directed at a particular person specifically.”
     This is also a principal of English law, as is noted by the Honorable Justice H. Cohen.




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C.   The Crime of Solicitation and the Distinction between the Joint Perpetrator and the
     Solicitor

158. Section 34 (d) of the Penal Code, 5737 – 1977, states:

             “Beyond what is clearly stated in the statute or derived from it, every
             law that applies to the principal perpetrator of a completed crime also
             applies to an attempt, solicitation, attempt to solicit or aid the same
             crime.”

     From here it follows that it the liability of the solicitor is the same as that of the primary
     perpetrator, insofar as the solicitor is considered a main partner of the joint perpetrator –
     unlike the accessory, who is considered to be a secondary partner – in that he makes a
     substantial contribution to the occurrence of the crime, which is manifested by the fact that
     he caused another person to commit a crime (see: the statements by the Honorable
     Presiding Justice A. Barak in the above mentioned Criminal Appeal 2796/95, in the matter
     of John Does, on page 404, which relates to the solicitor, despite these points, as an
     “indirect partner”, and the statements by the Honorable Justice D. Beinish in Criminal
     Appeal 8464/99 Avigdor Eskin v. The State of Israel, PD 55 (2) 65, on pages 82 – 83, in
     comparison with the statements by the Honorable Justice M. Cheshin in the above
     mentioned matter of John Does on page 416, which express reservation with respect to the
     expression “indirect partner”, insofar as in his opinion, the contribution of the solicitor is a
     direct contribution, just like the contribution of the primary perpetrator.




                                                               [Stamp] Gilmore 00819 [continued]
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     The provision contained in Section 34 (d) of the Penal Code is derived from the reference
     to the solicitor as a primary partner to the perpetrator of the offense. Therefore, it was
     established in this provision, which is also emphasized in case law, that the punishment of
     the solicitor is identical to that of the primary perpetrator. (See: the above mentioned Civil
     Appeal 2796/95 John Does, on pages 401 – 402, 415; the above mentioned Criminal
     Appeal 8464/99 in the matter of Eskin, on page 82; the above mentioned Additional
     Proceeding 1294/96 in the matter of Meshulam, on pages 42 – 43).

159. In the above mentioned Criminal Appeal 2796/95, in the matter of John Does, the
     Honorable Presiding Justice A. Barak clarified (on page 404) the liability of the solicitor
     for the commission of the crime and its significance, saying:

            “The contribution of the person who solicits the crime is manifested in
            the fact that he caused the perpetrator to decide to commit the crime
            (S. Z. Feller in his above mentioned book (8) on page 228). He is the one
            who influenced the perpetrator – whether he is an independent
            perpetrator (or principal) or a joint perpetrator – to the state at which
            he made the decision to commit the crime and took the steps to realize it
            (whether an attempted or a completed crime). He is the ‘spiritual father
            of the crime’ (M. Gur-Arye “Proposed Penal Code (preamble and
            general), 5752 – 1992” (13), on page 46). Therefore, society wishes to
            protect itself not only against one who perpetrates a crime – whether he
            is an independent perpetrator or a joint perpetrator – but also against a
            broader group of people who cause others to commit crimes…

            ‘The proximity’ of the person who solicits the crime is expressed by the
            fact that he is the one who planted in the principal criminal’s heart the
            criminal thought to perpetrate the crime. He is the ‘auteur intellectuel’
            of the crime (see Feller in his above mentioned book (8), on pages 225 –
            226). He is the one who causes the perpetrator to develop the idea of
            perpetrating the crime – whether he planted the idea in advance or
            whether he tipped the scales when the perpetrator was hesitant.

     The Honorable Justice M. Cheshin ruled in the above mentioned matter of John Does, on
     page 415, that the act of the person who solicits is primarily manifested though his
     conversation with the other, which causes him to commit a crime that, in the absence of the
     solicitor, would not have been committed at all.




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    These points lead to the question of the causal relationship required between the
    solicitation and the commission of the crime by the one who was solicited. The Honorable
    Presiding Justice Barak ruled, in the Section quoted above, that the solicitor is the one who
    influenced the perpetrator to decide to commit the crime, whether he planted the idea in
    advance or whether he tipped the scales when the perpetrator was hesitant (on page 404).

    In the above mentioned Criminal Appeal 8469/99 in the matter of Eskin, the Honorable
    Justice D. Beinish ruled (on pages 78 – 79), with regard to the essence of soliciting and the
    requirement for a causal relationship that, “the main point is that the behavior of the
    solicitor has ‘potential effectiveness’ that is likely to influence the person being
    solicited to commit the crime being solicited such that there is circumstantial
    connection between the soliciting behavior and the initial perpetration of the crime.”
    However – the Honorable Justice Beinish continued (on page 79):

           “In the context of the framework for solicitation, it is not essential, and
           it is not even adequate, for the initiative or for the idea for commission
           of the crime be that of the ‘solicitor.’ The circumstantial element of the
           crime of soliciting – is the existence of another (‘the solicited’) who is
           mentally moved to make a decision to carry out the crime – which can
           also exist in situations where the criminal idea first arose in the
           thoughts of the person being solicited




                                                            [Stamp] Gilmore 00820 [continued]

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             but did not develop into a decision to commit it. In this case, if the
             behavior of the solicitor caused the final decision of the person solicited
             to commit the crime, then the factual basis for the crime of solicitation
             has been established.”

160. With respect to the mental basis for the crime of solicitation, the Honorable Justice D.
     Beinish ruled in the above mentioned Criminal Appeal 8469/99, in the case at Eskin, on
     page 81:

             “In general, in order to establish the mental basis within the context of
             the act of solicitation it must be proven that two requirements have
             been met: first, that the person soliciting be aware that his behavior is
             capable of bringing another, (“the solicited”) to commit the crime being
             solicited. This requirement relates to awareness of the quality of the
             soliciting behavior and also aware of the existence of the other who
             requires mental motivation in order to commit the crime that is the
             subject of solicitation. Second, the one soliciting intends to bring the one
             being solicited to the point of committing the crime to the solicitation.
             In other words, the solicitation needs to be accompanied by an
             aspiration – and goal – on the part of the person soliciting that the
             crime in question indeed be perpetrated, with all of its elements, by the
             “solicited” (S. Z. Feller in his above mentioned book (Volume 2) (18) on
             page 234).”

161. In rulings that pertain to the responsibility of the person who is soliciting – in contrast to
     rulings that pertain to the responsibility of the accessory – it is not stated that the
     solicitation must relate to a particular crime with a concrete purpose, perhaps because this
     is self-evident. However, this requirement is structured within the basis of the solicitation
     and required a fortiori by the nature of solicitation, which carries the same punishment as
     that of the principal perpetrator (as opposed to the accessory, whose punishment is half of
     that of the principal perpetrator). In order to prove the crime of solicitation, it is necessary
     to show a circumstantial connection between the solicitation and the commission of the
     main crime by the person solicited, and even the goal and aspiration of the solicitor that the
     crime be committed. All of these require that the solicitation relate to a specific crime with
     a concrete purpose, as has also been ruled in the case of the accessory. Thus, Professor S.
     Z. Feller wrote in his book, Fundamentals of Criminal Law, 5747 – 1987, Volume 2, on
     page 226:




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            “It is appropriate to explain that the concept of solicitation, as a form
           of participation in the crime, has a meaning that is not always apparent
           from the ordinary use of this language. This is a meaning that gives
           expression to the relationship between one individual in another, the
           solicitor and the solicited, and not to the relationship between an
           individual and the public in a situation where the individual incites,
           agitates, and provokes a certain public, without any distinction between
           the individual identities of the people in that public, to perpetrate
           criminal offenses.

           These actions are unlikely to nurture specific crimes and even using the
           word “solicit” for them, this is not “solicitation” in its form as a
           partnership in crime, which we will consider below.”

    However, as has been determined in the case of the accessory, it is not necessary to prove
    that the solicitor was aware of all of the details involved in the crime that he solicited and it
    is sufficient that he solicited the perpetrator of a crime of the same type as the crime that
    was finally committed (see Section 145 above). Furthermore, with respect to the case of
    solicitation, obviously, the principal with respect to intent is transferable: it makes no
    difference if the crime is eventually committed by another person.

    In summation: It is not possible to convict a person for the general crime of solicitation for
    an act of murder when he calls




                                                              [Stamp] Gilmore 00821 [continued]
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     for carrying out terrorist attacks against Israel; therefore, there is the crime of inciting to
     violence or terrorism (see Section 1448 (d) (2) of the Penal Code, 5737 – 1977). Similarly,
     it is not possible to convict person for the general crime of being accessory to murder when
     he supplies money or weapons or explosives for various crimes that are not specific. For
     this, there is the crime of supplying means for the perpetration of a crime in accordance
     with Section 498 of the Penal Code, 5737 – 1977, that was legislated especially in order to
     deal with situations in which definite knowledge of the intent to perpetrate a particular
     crime cannot be proven, so that the person cannot be considered an accessory (see the
     explanation of the proposed legislation for amending the Penal Code (No. 36) 5733 – 1972,
     Propose Legislation 5733 [1972] 1021, on page 20).

162. With respect to that line distinguishing between the solicitor and the joint perpetrator, the
     Honorable Presiding Justice A. Barak ruled in the above mentioned Criminal Appeal
     2796/95, in the matter of John Does, on page 406, that, “the contribution of the solicitor
     is in that he caused the creation of the mental basis of the principal” and that, “the
     more intensive the solicitation of the solicitor and the more it involves not only
     activities on the mental level but also on the factual level, the closer the solicitor moves
     to being a joint perpetrator.” In the above mentioned matter of John Does, the minor
     referred to as “T” was convicted of murder as a joint perpetrator and not only as a solicitor
     because he threw a grenade at Arabs even though he refused to join the action itself;
     therefore, it was ruled that he was a joint perpetrator in planning the crime and was “the
     leader and first of them all” (on pages 408 – 409).

     With respect to the distinction between the accessory and the solicitor, the Honorable
     Presiding Justice A. Barak said (on page 406) that when assistance is “spiritual”, the
     accessory may be a solicitor: “The dividing line distinguishes between assistance to
     someone who has already developed his own criminal thoughts (the accessory) and
     contributing to the development of that criminal thought (solicitor).”

     In the above mentioned Additional Preceedings 1294/96 in the matter of Meshulam, the
     Honorable Justice Y. Kedmi ruled (on page 63):




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              “As stated, the responsibility of the ‘joint perpetrator’ rests on – in
             accordance with that which has been set forth in Section 29 of the Penal
             Code – ‘participation’ – commission of a crime by ‘taking action’ to
             commit it… and the absence of an ‘act of participation’ – in accordance
             with that which has been set forth– is not a basis for responsibility of
             this type… By contrast, the responsibility of the ‘solicitor’ for the
             commission of a crime by another person is found in doing an ‘act of
             solicitation’, one of the acts listed in Section 30 of the Penal Code. This
             act does not constitute an ‘act of participation’ in the perpetration but
             rather leaves the person ‘outside’ of the circle of perpetration.”

     On page 66, the Honorable Justice Y. Kedmi wrote:

             “Theoretically, the distinction between the solicitor and the joint
             perpetrator rests on the fact that the contribution of the solicitor to the
             commission of the crime is creation of the ‘mental basis’ required for
             the person being solicited to commit the crime of which he is the
             principal; and while the contribution of the joint perpetrator is,
             primarily, on the behavioral level of the crime since he is required to
             ‘participate’ while taking action to commit the crime (see this subject in
             Feller’s above mentioned book (Volume 2) [20] on pages 196, 228).
             While from the practical point of view, the boundary line between the
             solicitor and the co-conspirator is drawn between the person who
             ‘participates’ in committing the crime, meaning someone who is
             included in the inner core of the people committing the crime – and
             someone who is only ‘involved’, meaning that he is outside of the inner
             circle of principals.”

D.   The Responsibility of the Leader of the Criminal Group as a Joint Perpetrator or as a
     Solicitor

163. When determining a responsibility of the Defendant as a joint perpetrator or a solicitor,
     Courts have given decisive weight to the fact that the Defendant is a leader of a criminal
     group that perpetrated one of the main crimes. According to the above mentioned Criminal
     Appeal 2796/95 in the matter of John Does, the minor referred to as “T” was convicted as
     a joint perpetrator and not simply for solicitation, although he did not actually participate




                                                             [Stamp] Gilmore 00822 [continued]

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    in the act of murder itself, because he participated in planning and was a leader of the
    group, and in the language of Honorable Presiding Justice A. Barak, he was “the leader and
    first of them all”.

    In the above mentioned Criminal Appeal 8461/99 in the matter of Eskin, the Defendant
    was convicted for soliciting the crimes of arson and unauthorized entry to place of ritual or
    burial that was committed by a person who was subordinate to the Defendant and accepted
    his authority; the Court emphasized the fact that the Defendant was “a leader and a guide”
    and the fact that the Defendant was the one who gave his “agreement and authorization”
    for commission of the crime and received a report after was completed (on pages 77 – 81,
    84, 90 – 91). In spite of this, it should be noted that the Defendant in that case took part in
    planning the crime and provided monetary aid for its commission. In those circumstances,
    the Honorable Justice D. Beinish noted, by the way, that it might have been possible to
    convict him as a joint perpetrator and not only for solicitation when she said (on page 84):

           “Even if we were to have said that the main ‘contribution’ of the
           appellant to commission of the crime was giving his ‘authorization’ to
           the criminal plan and its realization, in these special circumstances, it is
           possible that ‘agreement’ to committing the crime could be considered
           participation ‘in committing a crime by taking action so that it is
           committed’, in accordance with that which has been set forth in Section
           29 of the Penal Code.”

    In this statement, the Honorable Justice Beinish refers to the statements by the Honorable
    Justice Y. Kedmi in Criminal Appeal 5589/98 Bisan Sultan v. The State of Israel, High
    Court Compendium 99 (3) 98, Section 9. In that case, the appellant was convicted for
    premeditated murder when it was proven that he had given his agreement and authorization
    for perpetration of the murder, and sent the joint perpetrator to actually commit the murder
    and even instructed him in the method to be used.

    Judge Kedmi emphasized that without the agreement of the appellants, the murder would
    not have taken place and therefore the approval he gave for the murder could be compared
    to “the opening shot that starts the athlete running,” and can be considered “an act of
    participation in committing the crime.” Therefore, the appellant was convicted as a joint
    perpetrator and as a solicitor, and the Court emphasized that he was found to be “in the
    inner circle of perpetration”, as someone who had a role in its perpetration and was “the
    brains of the group”, while someone who solicits a crime is outside of the inner circle of
    perpetration.




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     The Honorable Justice Kedmi added that in the circumstances described above, in which
     the appellant had given “a green light for murder” and provided operational orders for how
     it should be done, his behavior was at the least “a full measure of solicitation, on the way
     to being encouragement.” Also in the above mentioned Criminal Appeal 8469/99 in the
     matter of Eskin, it was ruled sufficient that the appellant approved setting the fire as a
     leader or guide in order to reach the conclusion that giving his approval was
     encouragement for the principal to actually implement the idea of arson and move it from
     the potential to the kinetic (on page 93).

164. The question of the responsibility of the leader of a criminal group who did not physically
     participate in the crime committed by those who accepted his authority was raised in its
     severity in the above mentioned Additional Procedure 1294/96 in the matter of Meshulam.
     In a majority of six justices, the Court ruled that a master criminal, who is a leader of a
     group of criminals that commits crimes as his agent and in accordance with his planning
     and his orders, is not simply someone who solicits a crime: he is considered a joint
     perpetrator because of the complete control that he has on commission of the crime and its
     perpetrators. The Honorable Justice D. Dorner explained in the minority opinion that a
     person of this type should be seen only as one who solicits (on pages 42 – 47). Another
     opinion, in accordance with which the leader of a criminal organization should be
     considered “committing the crime through another”, in accordance with Section 29 (c) of
     the Penal Code, emerges from the articles written by M. Kremnitzer “The Perpetrator in
     Criminal Law: Main Characteristics” in [the journal] Plilim 1 (5750 – 1990) 65 on page
     72 and M. Gur-Arye “Aspects of Crime – Amendment 39 to the Penal Code as Tested
     in Rulings” in Trends in Criminal Law, on page 83. In the article by Professor Kremnitzer,
     it is written on page 72:

            “It seems that we do not need to explain at length that the usual
            concepts of indirect participation (accessory and solicitation) are not
            appropriate for criminal phenomena such as war crimes, crimes
            committed




                                                            [Stamp] Gilmore 00823 [continued]


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             by a criminal state (Nazi crimes) or by a criminal organization (‘the
             Mafia’). A person who is in a position of control in these type of systems
             (and not only the person at the top of the hierarchy) who gives the order
             to kill a person is not simply soliciting or an accessory to murder when
             his command is perpetrated. The special nature of this act is evident in
             the fact that when he gives the command, he can rest assured that his
             orders will be followed without being acquainted with the physical
             perpetrator. He knows that if one of the possible organizations that
             might implement the order does not, another will. The main point is –
             the task will be done.

             The direct perpetrator does indeed control the acts (he commits it with
             his own hands with the required mental basis and not under duress),
             although from the perspective of the one who gives the order, he is
             perceived in an entirely different manner – as an anonymous,
             expendable figure who can be replaced much like a bolt or a wheel in
             the operating mechanism of the organization, in the hands of the person
             who gave the orders. The fungibility of the direct perpetrator makes
             one who controls of the organization into someone who commits a crime
             through another.”

165. In the above mentioned Additional Proceeding 1294/96 in the matter of Meshulam, the
     Honorable Justice A. Matza ruled that “a participant of this type – who has full control
     over the perpetration and overall activity and not only solicits and prepares but also
     gives orders to the worker-criminals and supervises their activities – is a joint
     perpetrator in every way” (on page 27). He emphasized that presence at the scene of the
     crime is not an essential basis for person to be a joint perpetrator, and he said (on page 30):

             “In the new legal reality, making direct responsibility dependent on
             presence means that the ‘godfathers’ and leaders of criminal groups
             who send ‘little fish’ who accept the authority to the scene to perpetrate
             the crimes while they direct the criminal activity from a distance would
             not be considered joint perpetrators but only people who solicit the
             crime. This possibility, which certainly does not reflect the desirable
             law, is also not required by the actual law.”

     The Honorable Justice A. Matza emphasized, regarding the control the leader has over his
     people, the fact that the Defendant was able to order his people to desist from committing
     the crime (on page 32, and see also the statements by the Honorable Justice Kedmi on page
     63).



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    The Honorable Presiding Justice A. Barak joined the Expert Opinion of the Honorable
    Justice A. Matza but emphasized the fact that the Defendant in that case was present at the
    scene of the crime until he was arrested and that he put the criminal plan into motion (on
    page 50). The Honorable Presiding Justice Barak ruled (on page 51):

           “The status of Meshulam does not allow considering him merely as
           soliciting the crime. Meshulam was the head of the group. He was a
           leader. He planned the operation. This was his operation. He is not one
           with a criminal idea: he is not simply the ‘spiritual father’ of the crime.
           He is not an external person who is asking someone else commit a
           crime. He made an internal contribution to the commission of the
           crime… In Meshulam’s hands, as leader of the group, was effective
           control of the criminal event and he had the criminal thought required
           to determine his responsibility as a joint perpetrator.”

    The Honorable Justice M. Cheshin also ruled (on page 55): “Master criminal John Doe,
    who initiates, plans, determines




                                                           [Stamp] Gilmore 00824 [continued]

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    the tasks and sends his ‘soldiers’ to commit the crime” – is considered a joint
    perpetrator even if he is not present at the scene of the crime. He added that a person of this
    type is not considered merely a solicitor, whose responsibility is less than that of a joint
    perpetrator. The Honorable Justice M. Cheshin wrote (on page 59):

           “From this, we know that our classification of the master criminal as a
           solicitor – as opposed to a as joint perpetrator – is like reducing his
           responsibility and making it easier for him. ‘The soldiers’ that the
           master criminal dispatched to commit the crime will bear full
           responsibility for the various crimes that they committed while he – the
           mastermind and supreme leader – will bear lesser responsibility, even
           though ‘an ordinary person could have been aware of the possibility’
           that one of the various crimes was being committed. This conclusion is
           puzzling, strange and hard to accept.”

    The Honorable Justice M. Cheshin additionally wrote (on page 59):

           “Would it be acceptable for the mastermind to be beneath the ‘soldiers’
           who do his bidding? If indeed the mastermind is the mastermind –
           without whom the octopus-participants in the crime could not have
           moved his tentacles – is hard for us to accept that his responsibility
           could be less in the responsibility of a joint perpetrator. The evil spirit
           of the leader pervades the entire criminal operation, his mind wound
           the operating spring before it was set in action and while the crime was
           being committed he was ‘present’ with the criminals as a joint
           perpetrator with them. He will continue to be ‘present’ with them
           unless or until he takes visible action to stop the crime, nothing less.”

    The Honorable Justice Cheshin justified this conclusion with an analogy that he drew from
    Section 29 (c) of the Penal Code when he considered the leader sending his “soldiers” to
    commit a crime as if he were someone “committing the crime through another” when he
    said, “‘Soldiers’ will obey the orders of their leader to the point that they completely
    erase their will in favor of his” (on page 60). With respect to the Defendant in that case,
    the Honorable Justice Cheshin emphasized that, “his responsibility is derived from the
    fact that he planned and perpetrated the ‘rebellion’ before he was arrested – the
    planning and perpetration of the leader – that responsibility is continued even after
    his arrest as long as he did not do anything apparent to stop the wagon rolling down
    the hill” (on page 61).

   The Honorable Justice Y. Kedmi ruled in this spirit when he wrote (on pages 66 – 67):




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            “In this situation, when the involvement of the leader in the group that
           has decided to commit a crime is expressed through planning, guidance
           and division of responsibilities, the question of whether the person
           before the Court is a ‘joint perpetrator’ or a ‘solicitor’ will be
           determined by the nature of his ‘involvement’: if this was ‘involvement’
           that makes a contribution equivalent to ‘participation’ in the
           perpetration or whether it is only the external ‘involvement’ of
           solicitation.

           Implementing this distinction is not always easy but it is always
           possible. In any case, when considering a leader – or the head of a
           group – who presents his followers and minions with a concrete plan for
           committing a crime, when this includes a division of tasks and orders
           for the manner of its commission, there can be no doubt that this is not
           a ‘solicitor’ but rather a leader whose ‘participation” is expressed in
           stated the ‘act of planning.’ The ‘act of planning’ – as distinguished
           from the ‘act of solicitation’ – is an act of ‘participation’ in the act
           because it is actually the first stage of bringing the criminal plan into
           being, meaning of the perpetration. This is unlike ‘solicitation’, which is
           not part




                                                          [Stamp] Gilmore 00825 [continued]
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            of the perpetration but rather an external motivation for the operation.
            As was explained above, assistance for this determination can be found
            in testing for the existence of a ‘controlling connection.’ The existence of
            a ‘controlling connection’ will confirm that the group leader is a ‘joint
            perpetrator’ with all the ramifications thereof; in an instance where
            there is no ‘controlling connection’ as explained above, this will be an
            indication of the possibility that is a case of involvement that bears only
            the responsibility of a solicitor.”

166. The Honorable Justice Y. Kedmi repeated this approach in Criminal Appeal 4720/98,
     5310/98, 5454/98, Nahman Cohen et al. v. The State of Israel, High Court Law, Volume
     57 366. In this case, Nahman was convicted as a joint perpetrator after it was proven that
     he was the one who initiated, requested and led the murder plot and the one who confirmed
     the identification of the intended victim when he was presented with it. The Honorable
     Justice Y. Kedmi wrote (in Section 9):
            “According to my method, which I have presented more than once in
            the past, ‘the leader’ of a group, who initiates and leads the
            perpetration of a crime by the group, is included among the
            ‘perpetrators.” The leader ‘participates’ in committing the crime in
            accordance with the meaning of this requirement in Section 29 of the
            Penal Code. His fate is entwined with the fate of the actual perpetrator;
            he is responsible as if he were ‘next to’ the perpetrators while they were
            committing the crime. This is the legal standing of the ‘leader’ and this
            is the legal standing of ‘the planners’ and those who fulfill other
            ‘essential roles’ whose contribution to the act formally ‘end’ before it
            actually begins but remain an inseparable part thereof. The fate of
            these – the leader, the planner and their ilk – is connected to the fate of
            those will actually commit the act: they are one body, and all of the
            limbs bear responsibility for what the ‘hands’ do.
            According to my method, the leader of the ‘group’ whose members
            have committed a crime did not ‘solicit’ the members of the group but
            rather he is their leader who ‘guides’ them to realizing their joint
            intrigue. The solicitor is outside of the inner circle of ‘commission’; the
            act of solicitation is solicitation, with no more meaning: it is an
            independent and separate act from the overall effort of perpetration.
            Whoever ‘participates’ in the perpetration – and in my method, as
            required by the above mentioned, must give the concept ‘participation’
            in this context a broad meaning – cannot be a ‘solicitor.’ The ‘solicitor’
            and the perpetration are ‘separated’ by the perpetrator who is
            characterized by ‘taking a part’ in the perpetration, in accordance with
            that which has been set forth– the person before us is not a ‘solicitor’
            but rather a joint perpetrator.

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3.   Conclusions with Respect to the Defendant’s Responsibility as a Joint Perpetrator,
     Solicitor and Accessory

167. Analysis of the evidence presented above leads to the following factual conclusions with
     respect to the share and role of the Defendant in the terrorist attacks that are the subject of
     the Indictment:

     a. The Defendant was the commander of the Fatah and Tanzim in the West Bank. He was
        a field leader of the Fatah in the [West] Bank and responsible for the “military
        operations” of the Fatah in all parts of the [West] Bank. The expression used by the
        Defendant, such as “military operations”, is nothing more than a euphemism for
        terrorist attacks against Israel that have been carried out by the field cells of the Fatah,
        which were organized into the Tanzim movement and the framework of the Al Aqsa
        Martyrs Brigades. The Defendant established the Al Aqsa Martyrs Brigades and was
        responsible for their activities as the leader and commander of the members of the field
        cells and their commanders. For these activities, the Defendant was directly subordinate
        to the chairman of the Palestinian Authority, Yasser Arafat. The “military” activity of
        the Defendant described above continued in parallel with his political activity as
        Secretary General of the Fatah in the [West] Bank and as a member of the Palestinian
        Legislative Council.

     b. The Defendant was of the opinion that Fatah was obligated to lead the “armed struggle
        against Israel,” and therefore publicly supported terrorist attacks against soldiers and
        settlers. This was the declared position of the Defendant, who explained that from his
        perspective, women and children living in the settlements were also considered an
        enemy to be attacked. The Defendant was opposed, a matter of principle, to terrorist
        attacks within Israel, meaning over the Green Line, and also opposed suicide terrorist
        attacks. However, in practice he did not cease his support for his men and helped them
        by supplying money, weapons and explosives even after he learned time and again that
        they were carrying out terrorist attacks, including suicide terror attacks, inside Israel.
        Thus, the Defendant expressed his agreement to all types of terrorist attacks that have
        been carried out by people in the field who were affiliated with Fatah. This position of
        the Defendant was also expressed in his media appearances, in which he encouraged
        Fatah operatives and others to carry out terrorist attacks against Israel and also praised
        those who perpetrate the terrorist attacks – including those that were made within
        Israel.




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    c. The Defendant did not have complete control over members of the cell and their
       commanders. However, he did have a great degree of influence over them, because he
       was their leader and because of the assistance that he extended to them, including
       money, weapons and explosives. The influence of the Defendant on members and
       commanders of the cells is also evident in that he would, on occasion, instruct them to
       cease the terrorist attacks against Israel and then later call for them to renew the
       terrorist attacks – sometimes in accordance with orders that he received from Arafat.
       Yasser Arafat would not give his orders in an explicit manner, but would make sure
       that his subordinates clearly understood when he was interested in a cease-fire and
       when he was interested in terrorist attacks against Israel. Arafat himself also considered
       the Defendant to be the person who controlled people in the field and therefore he
       would reprimand him when a terrorist attack was carried out against the opinion of the
       Chairman.

    d. Members of cells in the field and their commanders did have a great degree of
       independence when carrying out terrorist attacks. They generally did not involve the
       Defendant in the planning of the terrorist attacks and there is no evidence that they
       would report to him prior to the perpetration of a terrorist attack (other than a few
       solitary cases). In spite of this, the Defendant would receive a report from the
       commanders after every terrorist attack. This pattern of activities is an outgrowth of the
       Defendant’s desire, and the desire of the field commanders, to protect the Defendant
       from Israel and maintain him as a “political figure,” who is not involved, as it were, in
       the murderous terrorist attacks against Israel. For this reason the Defendant did not
       have direct contact with those who carried out terrorist attacks, other than for
       exceptional cases. Thus, the Defendant also was careful not to personally assume
       responsibility in the name of the Fatah or Al Aqsa Martyrs Brigades after the terrorist
       attacks were completed; this was done by the cell commanders. The Defendant was
       satisfied with taking general responsibility through the media in an indirect overall
       manner, without relating to any specific terrorist attack, by expressing support for the
       terrorist attacks that had been perpetrated.




                                                            [Stamp] Gilmore 00827 [continued]

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    e. Other than the overall supreme responsibility of the Defendant for all of the members
       of the Tanzim and Al Aqsa Martyrs Brigades because he was the commander, he also
       had better control over a few cells that operated under the command of people who
       were his close advisors and benefited from his special assistance and support, such as
       Ahmed Barghouti, Aweis, Abu Hamid and Abu Satha.

       The Defendant took responsibility during an interrogation for the activities of the
       groups that operate under the command of these people (other than Aweis), although he
       claimed that he was only one of the “addresses” to which these people turned in order
       to receive assistance and financing, and that he did not have complete control of them
       but rather only influence over them.

    f. The Defendant generally did not have direct contact with people in the field who
       perpetrated the terrorist attacks; the connection was through people who were close
       associates of Defendant and who worked around him, including Ahmed Barghouti,
       Aweis, Abu Hamid and Abu Satha. These people worked in the Defendant’s environs
       and with his support, planned and brought about murderous attacks, using the money,
       weapons and explosives with which the Defendant was careful to supply them for this
       purpose.

    g. The Defendant was responsible for the supply of money, weapons and explosives to
       cells in the field through his associates, including Ahmed Barghouti, Aweis, Abu
       Hamid and Abu Satha. He would refer their requests to Arafat for his approval and was
       responsible for the purchase of weapons and supplying the cell members through his
       close associates. The Defendant also proffered assistance to wanted men and to the
       families of the terrorists.

    h. Despite the fact that Defendant, like his men, was generally careful not to involve
       himself personally in the planning and the perpetration of the terrorist attacks,
       unequivocal evidence was submitted with respect to four terrorist attacks that had been
       carried out with the knowledge, approval and encouragement of the Defendant. He
       even initiated two of them.

       The terrorist attack at the gas station in Givat Ze’ev, in which Yoela Chen, of blessed
       memory, was murdered, was carried out as a result of direct orders given by the
       Defendant to his men, in revenge for the targeted assassination of Ra’ed Karmi, and the
       Defendant admitted to responsibility for this terrorist attack during the course of his
       interrogation.



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       Thus, too, in the case of terrorist attack in which the Greek Orthodox monk
       Tzibouktzakis Germanos, of blessed memory, was murdered in Ma’ale Adumim as a
       result of the Defendant’s being contacted by the terrorist Radaida, who wished to
       perpetrate a suicide terrorist attack.

       The Defendant referred Radaida to a person who could teach him and supply him with
       a weapon and instructed him to perpetrate a shooting terrorist attack rather than a
       suicide terrorist attack. As a result, Radaida set out to perpetrate the terrorist attack and
       shot a Greek Orthodox monk to death, thinking that he was a Jew.

       In addition, the Defendant gave his approval for the terrorist attack at the Seafood
       Market restaurant in Tel Aviv, and that was before the terrorist departed. The
       Defendant did indeed instruct his people that the terrorist attack should take place in a
       settlement or near a military roadblock and not within Israel, but he did approve the
       terrorist attack itself.

       Similarly, Defendant gave approval to his men for the perpetration of a suicide terrorist
       attack by exploding a car bomb, even though he did instruct them that the terrorist
       attack should take place in the Occupied Territories and not within Israel. This incident
       ended with the death of the two terrorists near the Malha Mall in Jerusalem, when they
       exploded in their car on the way to the terrorist attack.




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     i. Other than the four terrorist attacks that have been listed in Subsection (h) above, no
        evidence was submitted connecting the Defendant personally and directly to
        involvement in the terrorist attacks that are the subject of the Indictment. From the
        Defendant’s conversation with his associate, Ahmed Barghouti, which was recorded
        without their knowledge, there emerges significant concern that the Defendant knew far
        more than what he and his people have revealed during the course of interrogation, but
        is not possible to determine this with the degree of certainty that is required by a
        criminal Court on the basis of the existing evidence.

         One way or another: it is clear from the evidence that has been submitted that more
         than a few of the murderous terrorist attacks that have been listed in the Indictment
         were planned and brought into being by field commanders who operated in proximity
         to the Defendant and with his support, using weapons that the Defendant helped supply
         and which were given to the terrorists by the cell commanders who were close to the
         Defendant (Ahmed Barghouti, Aweis, Abu Satha and Abu Hamid). The Defendant
         received reports from his men with regard to these terrorist attacks after they were
         perpetrated and gave his consent – at least by way of his silence and behavior – to
         continuing the attacks.

168. The analysis of the evidentiary material in accordance with that which has been set forth
     above leads to the conclusion that the Defendant made a substantive contribution to the
     terrorist attacks that have been carried out by the Fatah cells, the Tanzim and the Al Aqsa
     Martyrs Brigades, even if he did not take part in the perpetration.

     The assistance in the form of the provision of weapons, explosives and money to those
     cells, the recruitment of field operatives, the making of arrangements for their training and
     the assistance to their families – all of these created the necessary conditions for the
     perpetration of acts of murder by the terrorist cells. Without a doubt, the Defendant was
     aware of this fact. He also knew that the field operatives that he supported were going to
     continue perpetrating murderous terrorist attacks against Israel, and he acted with the clear
     goal of helping them continue in this way. This is not simply a reasonable suspicion or
     “turning a blind eye” on the part of the Defendant, but rather genuine knowledge of what
     the members of the cells were perpetrating, and would continue to perpetrate, murderous
     terrorist attacks against Israel using the weapons, explosives and money that the Defendant
     supplied to them for this specific purpose. More than that: the Defendant was not only
     aware of the acts of murder that some members were perpetrating but rather he gave them
     assistance, in accordance with that which has been set forth above, out of a goal and
     aspiration that they would act in this manner.


                                                                         [Stamp] Gilmore 00829

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     In spite of this, other than the four instances that have been set forth above, there is no
     evidence that the Defendant was involved in planning and perpetrating the terrorist attacks
     or that he knew in advance about the terrorist attacks that were going to be perpetrated by
     the men in the field and the commanders of the cells, who he supported and for whom he
     was, effectively, their commander. In fact, Ali Aidiya did say during the course of his
     interrogation that the Defendant knew about the events and approved the shooting terrorist
     attacks perpetrated by members of the Tanzim (see Section 40 above). However, other than
     this sole testimony, given by a person who was not close to the Defendant, there is no other
     evidence that the Defendant knew in advance about all of the terrorist attacks that were
     going to be perpetrated, and he himself denied this claim. The Prosecution also does not
     claim that Defendant knew in advance about all of the terrorist attacks (see page 47 of its
     summation).

169. Furthermore: from the evidentiary material it becomes apparent that the Defendant did not
     have total control over the commanders of the cells and the men in the field. Although he
     was considered their leader and commander and did have influence over them, they did in
     any case have a significant degree of independent discretion in planning the terrorist
     attacks and their perpetration; there is no evidence that they would consult with the
     Defendant in this regard. From the overall body of evidence it becomes apparent that the Al
     Aqsa Martyrs Brigades were not an organized body under one leader, but rather a
     collection of field cells, with each one having its own commander. It emerges from the
     evidentiary material that the Defendant’s men did indeed perpetrate suicide terrorist
     attacks, and terrorist attacks inside the Green Line, contrary to the Defendant’s stated
     position and sometimes contrary even to the opinion of Chairman Arafat. In addition, it
     emerges from the evidentiary material that the men the field who were involved in the
     terrorist attacks made an effort to distance the Defendant and separate him from personal
     involvement in those terrorist attacks in order protect him from Israel and maintain him as
     a “political figure.”




                                                            [Stamp] Gilmore 00829 [continued]

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     The Defendant himself also tried to keep as far as possible from “military” activity and any
     direct connection to the cells that perpetrated the terrorist attacks which were carried out by
     the field commanders, some of whom were close associates of the Defendant and operated
     under his control, with his assistance and with his encouragement (such as Ahmed
     Barghouti, Abu Hamid, Abu Satha and Aweis). This fact reinforces the conclusion that the
     Defendant generally did not know in advance about the terrorist attacks and was not
     personally involved in their planning or approval because this pattern of activity was
     intentionally chosen by him and by his people.



     Therefore, the Prosecution states in its summation (on page 47) that:

             “Within the context of the organizational arrangement of terrorist
             organizations, the field commanders and operatives were given broad
             authority and wide space for maneuvering when carrying out terrorist
             attacks, and they were not required to obtain the Defendant’s approval
             for all of the terrorist activities that were perpetrated, in accordance
             with the policy that was designed by the Defendant and the
             organizations’ leadership, in accordance with that which has been set
             forthabove.

             The Defendant was aware of the activities conducted by the people
             subordinate to him and he was kept up to date about them, sometimes
             in advance and sometimes after the fact, in accordance with the these
             organizations’ operational concept as mentioned above.”

170. The law, in accordance with that which has been set forth above, is that assistance must be
     consciously directed to a particular crime with a concrete purpose, and it must be
     proven that the accessory was aware of the fact that the principal was almost certainly
     going to perpetrate this crime, meaning – a crime with a concrete purpose. It is not
     sufficient that the accessory knows that the principal has a vague willingness to commit a
     crime. Although there is no need to prove that an accessory was aware of all the details of
     the crime, such as its exact location (the above mentioned Criminal Appeal 11131/02, in
     the matter of Yosefov) or the identity of the victim of a crime or the time its commission
     (the above mentioned Criminal Appeal 426/67, the matter of Be’eri): it is sufficient that he
     was aware of the fact that the principal was going to commit a particular crime of the type
     that was ultimately committed and In spite of this assisted in its commission.




                                                                           [Stamp] Gilmore 00830

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     However, in the current case – with respect to most of the terrorist attacks that are the
     subject of the Indictment, other than the four terrorist attacks in which the Defendant was
     personally involved – there is no evidence that the Defendant knew of the intent to commit
     them, in the sense of an intent to commit a specific crime with a concrete purpose, as
     required by the rulings. The Defendant had general knowledge that the men in the field
     who belonged to the organization that he led occasionally perpetrated murderous terrorist
     attacks against Israelis, using the weapons, explosives and money that he took care to
     provide them. However, no evidence was brought connecting the assistance provided by
     the Defendant to any specific terrorist attack (other than the murder of the Greek Orthodox
     monk, which will be discussed below). There is no evidence that the Defendant supplied
     weapons, explosives or money for the purpose of committing any specific terrorist attack.
     Indeed, in some cases it was proven that the terrorist attack was carried out using a weapon
     that was given to the terrorist by one of the Defendant’s close associates, such as Aweis,
     Abu Hamid or Ahmed Barghouti.

     According to the evidence submitted, the assistance that the Defendant gave to his close
     associates in this regard was general, and did not relate to any particular terrorist attack or
     any particular terrorist: in general, the Defendant made certain that men in the field were
     equipped with weapons, explosives and money, and this was through his close associates
     and the field commanders who accepted his authority, knowing that the weapons,
     explosives and money would be used for the purpose of terrorist attacks. However, in
     accordance with the law cited above, this is not sufficient in order to convict the Defendant
     as an accessory for each of the murderous terrorist attacks that have been carried out by the
     men who received his general assistance, through his associates, for the purpose of carrying
     out terrorist attacks.

171. This is a situation in which a person assists people who accept his authority with the
     knowledge that they are about to commit a particular




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     concrete crime although he does not know where, when, by what manner or by whom his
     people will commit the crime and who will be its victim. In this case, there is no evidence
     that connects the Defendant to the commission of a particular crime, with respect to either
     the factual basis for the crime or its mental basis, since has not been proven that the
     Defendant knew anything of the plans for committing them. In these circumstances, for
     most of the terrorist attacks that are the subject of the Indictment – it is not possible to
     ascribe to the Defendant the general comprehensive crime of being an accessory to
     premeditated murder in the cases of these terrorist attacks because of his only general
     knowledge that his men were carrying out terrorist attacks using the weapons, explosives
     and money that he took care to obtain for them.

     This does not mean that the Defendant does not bear any criminal responsibility for his
     deeds that led to the terrorist attacks being perpetrated using the weapons, explosives and
     money that he took care to obtain for the commanders in the field. For this purpose, there is
     the general crime of activity in a terrorist organization, which carries a sentence of
     imprisonment of up to 20 years, and the general crime (for which the Defendant is not been
     indicted) of providing means for committing a crime in accordance with Section 498 of the
     Penal Code, 5737 – 1977. This crime was intended for the case of providing means for
     implementing any crime, when is not possible to prove that the person providing the
     means had knowledge of the intent to commit a particular crime (see: Criminal Appeal
     507/79 State of Israel v. Eliyahu Asraf, High Court Decision 33 (3) 620, on pages 622 –
     623). This is the case before us.

172. The above mentioned conclusions relating to the crime of being an accessory also apply to
     the crime of soliciting murder, with which the Defendant is charged. Just as it is not
     possible to convict person in Israel for a general crime of being an accessory to an act of
     murder, so it is not possible to convict him for general crime of soliciting an act of murder.
     Just as the accessory must relate to a particular crime with a concrete purpose, so, too, must
     solicitation occur between one specific person and another, and the solicitation must relate
     to a particular crime with a concrete purpose. This conclusion is necessary for solicitation a
     fortiori, since the punishment of one who solicits a crime, unlike the accessory, is identical
     to the punishment of the principal criminal. When a Defendant is not aware in any way of
     the intention to commit a particular crime, it is not possible to prove the circumstantial
     connection, namely: that the principle perpetrator was solicited by him to perpetrate the
     crime.




                                                                          [Stamp] Gilmore 00831

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     In the current instance, with regard to the group of terrorist attacks that are the subject of
     the Indictment (other than the four terrorist attacks that will be discussed below) there is no
     evidence that the Defendant influenced the field commanders under his leadership or the
     members of the cells to perpetrate them because, there is no proof that the Defendant even
     knew of any intent to perpetrate these terrorist attacks. From the evidence submitted, it
     seems that no one needed to solicit them: the field commanders and the members of the
     cells acted, in general, in accordance with their independent initiative and judgment, while
     being careful not to involve the Defendant personally in the planning or the perpetration of
     the terrorist attacks. Similarly, it is not possible to convict the Defendant of an overall
     crime of soliciting the acts of murder that are the subject of this Indictment because of what
     could be called “solicitation directed to all”, meaning: the Defendant’s words of incitement
     to the media, when he called on the people under his leadership and others to carry out
     terrorist attacks against Israel. For this, there are the general crimes of inciting to violence
     or terrorism, activity in a terrorist organization, etc. (see Section 161 above).

173. On the basis of the legal principles and the law described above, it is also impossible to
     consider the Defendant as a joint perpetrator in all of the terrorist attacks that are the
     subject of the Indictment, together with the terrorists and planners who actually perpetrated
     them, since there is no evidence they he was aware of the intention to perpetrate them
     (other than the four terrorist attacks in which he was personally involved, as will be
     described below). Despite the very broad interpretation that rulings have given to the words
     “participation in perpetrating a crime by taking action to commit them” and the rulings
     relating to the responsibility of a leader in a criminal group – it is not possible to accept the
     Prosecution’s claim that this Defendant should be considered a joint perpetrator in all of the
     terrorist attacks that are the subject of the Indictment. According to the rulings explained
     above,




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    the minimum requirement for assigning the responsibility of a co-defendant to the leader of
    a group who was not present at the scene of the crime, is participation in the planning of
    the crime or in conspiracy to commit it; the giving of orders for approval before the crime;
    the supervision of the crimes perpetrated; or proposing the idea for the crime, in addition to
    assistance or planning. Each of these might be considered in accordance with the rulings as
    “acting to commit the crime”, which is the basis for the responsibility of a joint perpetrator.
    However, it is not sufficient that the leader controls his men and those who accept his
    authority, in order to assign to him the responsibility of joint perpetrator for all of the
    crimes committed by his men, when there is no evidence connecting the leader in any way
    to their planning or perpetration, and there is not even any evidence that he knew about the
    intentions to commit them.

    The Prosecution must prove that the Defendant is connected in some way to a particular
    crime – both the factual basis of the crime and the mental basis, and this was not proven
    except in the four cases that will be listed below.

    The Prosecution has placed trust in the law that was ruled in the above mentioned
    Additional Proceeding 1294/96 in the matter of Meshulam, in its petition to consider the
    Defendant a joint perpetrator in all of the terrorist attacks that are the subject of the
    Indictment.

    However, Meshulam was convicted as a joint perpetrator, together with his group of
    disciples who surrounded him and committed a variety of crimes, after it was determined
    that he gave orders to his men, supervised their activities, had control over them and
    intentionally avoided instructing them to cease committing the crimes (the Honorable
    Justice A. Matza on pages 30, 32). In addition, it was determined that he was present at the
    scene of the crimes close to the time they began, while simultaneously propelling the
    criminal plan forward, and was even the one who planned the operation (the Honorable
    Presiding Justice A. Barak on pages 50 – 51); and planned and perpetrated the “rebellion”
    before his arrest (the Honorable Justice Cheshin on page 61).

    The Honorable Justice Kedmi also related to Meshulam as someone whose involvement in
    the perpetration was expressed through planning, guidance and assigning roles, and noted
    that Meshulam desisted from instructing his men to cease committing the crimes (on page
    63, 66 – 67).




                                                                          [Stamp] Gilmore 00832

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     These characteristics – of total control over the perpetrators of the crime, attendance with
     them at the scene of the crime until it began, involvement in planning the crime, giving of
     orders for its perpetration and supervision thereof – do not exist in our matter , where it has
     not been proven that the Defendant knew in advance of intention to perpetrate most of the
     terrorist attacks that are the subject of the Indictment.

     The Defendant was not personally involved in initiating, planning or implementing the
     terrorist attacks that are the subject of the Indictment (other than the few terrorist attacks
     that will be described below). The Defendant did not give orders or approval for the
     perpetration of these terrorist attacks, and he also did not assist or solicit [these terrorist
     attacks] specifically, as explained above. Despite the Defendant having the unofficial title
     of Commander of the Tanzim and Al Aqsa Martyrs Brigades, there is no proof that the
     Defendant was part of a joint decision to commit the terrorist attacks covered by this
     Indictment, or that he worked together with others in order to realize these terrorist attacks,
     or that he took part in their perpetration or planning. Lacking all these, and on basis of the
     principles that have been established in rulings and in the orders of the Penal Code, it is not
     possible to consider the Defendant a joint perpetrator in the terrorist attacks that are the
     subject of the Indictment, in regard to which he had no personal involvement or
     knowledge, simply because he was the uncrowned leader of the Tanzim and the Al Aqsa
     Martyrs Brigades, or because of his closeness to the planners of the terrorist attacks and the
     general assistance that he provided them.

174. To summarize the above, the legal situation that prevails in the State of Israel does not
     make it possible to convict the leader of a criminal group or a terrorist organization for
     crimes that were committed by members of the said group or organization, not even for
     being an accessory or soliciting them, when he himself was not personally involved, on an
     individual basis, in any part of the crimes themselves, either before or during their
     commission. This is the situation, even when it is clear that this




                                                              [Stamp] Gilmore 00832 [continued]
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    leader gave his blessing to the commission of these crimes and gave his men general
    assistance although not for the purpose of the specific crime.

    In the current case, the Defendant encouraged and urged the cell commanders and the men
    in the field to carry out terrorist attacks and made sure that they would have the money,
    weapons and explosives necessary to perpetrate the terrorist attacks. He was the leader of
    the commanders and of the men in the field, and he had a not insignificant degree of
    influence over them.

    Many of the terrorist attacks that are the subject of the Indictment came into being and
    were planned by the field commanders who were close to the Defendant and were
    supported by him. Despite all of this, it is not possible to attribute the Defendant, in
    accordance with Israeli law, the criminal responsibility of a joint perpetrator, an accessory
    or a solicitor for those terrorist attacks for which there is no evidence connecting the
    Defendant to them and where it has not been proven that he knew of the intention to
    commit them.

    Therefore, there is a gap between the general and collective responsibility of the Defendant
    for a commission of the terrorist attacks covered by this Indictment, not to mention the
    moral responsibly for them, and the legal possibility to attribute criminal responsibility for
    perpetrating specific terrorist attacks to him when it was not proven that he knew about
    plans to perpetrate them. We are unaware of any precedent for convicting a person for the
    crime of murder, or solicitation or accessory to murder, when there is no evidence
    connecting him to the specific act. The Defendant does indeed bear heavy and terrible
    responsibility for the terrorist attacks covered by this Indictment, in which many people
    lost their lives, because he was the leader and commander of the terrorist cells that
    perpetrated the terrorist attacks. However, this is command responsibility that is “almost
    ministerial” and not responsibility they can be substantiated as required by the Penal Code.
    We must not extend the orders of the Penal Code beyond their natural limits, even when
    faced with a problem that is difficult for the Court to resolve using the orders of existing
    law.




                                                                         [Stamp] Gilmore 00833

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     The legal outcome is far from satisfactory, even offensive. This is what Professor M.
     Kremnitzer was referring to in his words quoted above with respect to the accepted
     categories of accessory and solicitation that are not appropriate for the phenomena of
     organized crime and terrorism, and therefore a proposal made by Professor M. Gur-Arye to
     amend the code in order to consider a leader of this type as “committing a crime through
     another” (see Section 164 above). In the above mentioned Additional Proceeding 1294/96
     in the case of Meshulam, the Court rejected the possibility of considering the leader of a
     criminal group as “committing a crime through another” in accordance with Section 29 (c)
     of the Penal Code, although Justice M. Cheshin fashioned an analogy based on the orders
     of the law with respect to the responsibility of the joint perpetrator as compared to the
     responsibility of solicitor (on pages 59 – 60).

175. Recently, the Legislature has made an effort to deal with this legal problem, if only
     partially. The Knesset [Israeli Parliament] enacted the Law on Combating Criminal
     Organizations, 5763 – 2003, which makes it possible to sentence the head of a criminal
     organization to imprisonment of up to 20 years, when the organization commit felonies for
     which the punishment is more than 20 years’ imprisonment. This law does not apply to the
     crimes of the type subject of this Indictment, which were committed before it was enacted;
     however, it does apply to terrorist organizations and their leaders (see the first extension
     that applies the law to crimes in accordance with Section 4 of the Prevention of Terrorism
     Ordinance, and the explanations of the proposed legislation: Proposed Legislation 5762
     [2002] 3155, on page 762). From the explanation of the proposed legislation, it is possible
     to understand that the Legislature is aware of the legal problem arising from the inability to
     convict people who head criminal organizations for the crimes committed by their
     subordinates because of their distance from the crime. The explanation states (on page
     762):

             “The proposed Law on Combating Criminal Organizations, 5762 –
             2002, is intended to address, on the legislative level, the phenomena of
             organized crime and the structure of criminal organizations that
             frequently make it difficult to prove the connection between the heads
             and leaders of organizations of this type and the crimes that were
             committed by others, all because of the hierarchal structure of some of
             these organizations,




                                                              [Stamp] Gilmore 00833 [continued]

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             which creates distance between the decision-makers and policy-setters
             and those who commit the crimes.”

      The explanation of the proposed legislation also states (on page 763) that Section 2 of the
      law that permits a sentence of up to 20 years’ imprisonment for the head of a criminal
      organization “is intended to address the difficulty in proving the connection between
      officials in criminal organizations and the crimes actually committed. It states that the
      very act of heading, managing or financing the organization, etc. is sufficient to be
      considered a crime… ”

      The continuation of the explanation says that for members of criminal organizations on a
      lower level, “it will remain necessary to prove connection to specific crimes.”

      From this it is clear that the law is intended to deal with the issue that is also being decided
      in this case, specifically, the inability, in accordance with the current legal situation, to
      convict the leader of a criminal organization or a terrorist organization for committing,
      soliciting or being an accessory to a specific crime that is committed by members of the
      organization.

      However, this law does not provide a response to the question asked by the Honorable
      Judge M. Cheshin in the above mentioned Additional Preceedings 1294/96 in the matter of
      Meshulam (on page 59), where he asks: “Would it be acceptable for the mastermind to
      be beneath the ‘soldiers’ who do his bidding?” Even in accordance with this law, the
      punishment of the person heading the organization is less that for than those who accept his
      authority who have committed the crime of murder, which carries a sentence of life
      imprisonment. Furthermore, in the case of a terrorist organization, this law is unnecessary
      since in accordance with Section 2 of the Prevention of Terrorism Ordinance, the head of a
      terrorist organization can in any case be sentenced to 20 years simply for holding a
      managerial official in the organization (see Subchapter I above).

176. The above mentioned applies to most of the terrorist attacks attributed to the Defendant in
     the Indictment, as listed in Chapter 5 of Part II of this verdict. For these terrorist attacks, as
     explained above, it is not possible to convict the Defendant for the crimes of being an
     accessory or for soliciting an act of murder, and not even for being a joint perpetrator. In
     spite of this, clear convincing evidence has been submitted for the Defendant’s
     involvement in three acts of murder that have been carried out by his men and an additional
     case of attempted murder, as follows:

     A.    The Murderous Terrorist Attack at the Gas Station in Givat Ze’ev


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         In this terrorist attack, which occurred on January 15, 2002, Yoela Chen, of the
         blessed memory, was murdered and the passenger traveling with her was injured.
         From the evidence submitted it emerges clearly that when they were in the mourners’
         tent that was set up after the targeted assassination of Ra’ed Karmi on January
         14, 2002, the Defendant ordered his close associate, Ahmed Barghouti, to perpetrate a
         terrorist attack in revenge. Ahmed Barghouti gave a weapon to Abu Satha, who was
         also a close associate of the Defendant and accepted his authority, and members of
         Abu Satha’s cell perpetrated the murder, and immediately thereafter reported to the
         Defendant on its results.

         The Defendant emphasized that this was the first terrorist attack that Fatah committed
         within Israel. In this case, the Defendant is directly responsible for the act of murder
         because he himself gave orders for it to be committed.

         Certainly this type of instruction given by the Defendant to people who accept his
         authority is solicitation to murder, even if the Defendant did not take specific interest
         in the location and manner in which the terrorist attack was committed. When the
         Defendant gave orders to commit a revenge terrorist attack, it was clear to him and to
         his people that the intention was to murder Israelis. However, the responsibility of the
         Defendant is not just that of a solicitor but rather that of a joint perpetrator, together
         with the other perpetrators, Ahmed Barghouti, Abu Satha and his men. The
         Defendant was part of the joint plan to




                                                             [Stamp] Gilmore 00834 [continued]
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         commit the terrorist attack, as the one who initiated it. He had a high level of mental
         involvement and knowledge that the crime was going to be committed in accordance
         with his instruction. The Defendant not only caused others to commit a crime in this
         case and not only gave his approval for commission of the crime but he also
         instructed them to commit crime; and because of his standing as the leader and
         commander and on account of his relationships with Ahmed Barghouti and Abu
         Satha, this instruction can be compared to pulling the trigger that caused the murder
         of Yoela Chen, of blessed memory.

         The Honorable Justice D. Beinish was referring to a case of this type in the above
         mentioned Criminal Appeal 8469/99 in the matter of Eskin: “In special
         circumstances, it is possible that ‘agreement’ to commission of the crime can be
         considered participation ‘in committing a crime by taking action so that it is
         committed’ in accordance with that which has been set forth in Section 29 of the
         Penal Code.” The Honorable Justice Justice Y. Kedmi also ruled in this manner in
         the above mentioned Criminal Appeal 5589/98 in the matter of Sultan, that giving the
         “green light to murder” is analogous to “the opening shot that starts the athlete
         running” and can be considered “an act of participation in committing the crime”
         (see Section 163 above).

         In the above mentioned Additional Preceedings 1294/96 in the matter of the
         Meshulam, the Honorable Judge M. Cheshin wrote (on page 59): “The evil spirit of
         the leader pervades the entire criminal operation, his mind wound the operating
         spring before it was set in action and while the crime was being committed he
         was ‘present’ among the criminals as a joint perpetrator with them.” This also
         can be said of the Defendant before us and therefore he should be convicted for this
         murderous terrorist attack as a joint perpetrator in premeditated murder and not only
         for solicitation.

    B.   Murder of the Greek Orthodox monk Tzibouktzakis Germanos, of blessed
         memory, in Ma’ale Adumim

         This terrorist attack was also perpetrated the instruction and initiative of the
         Defendant, on June 12, 2001. The terrorist Radaida asked the Defendant for a weapon
         to perpetrate a suicide terrorist attack.




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         The Defendant instructed him not to perpetrate a suicide terrorist attack, but rather a
         terrorist shooting attack “as is customary for the Tanzim”, and referred him to
         Muhaned in order to receive a weapon and training in shooting, with clear knowledge
         that Radaida would commit a shooting terrorist attack and would murder Israelis in
         accordance with his orders. Indeed, Radaida did this together with another terrorist,
         when they received two Kalashnikov rifles from Muhaned and also training in how to
         use them – all this at the instruction of the Defendant. In this terrorist attack, the
         Greek Orthodox monk Tzibouktzakis Germanos, of blessed memory, was murdered
         in Ma’ale Adumim, because the terrorists thought that he was a Jew.

         In this case, too, the responsibility of the Defendant for the murder of the Greek
         Orthodox monk is that of joint perpetrator, not merely of solicitor. The Defendant not
         only convinced Radaida to perpetrate the murderous shooting terrorist attack but also
         instructed him how to do it, helped him obtain a weapon and training for the purpose
         of the terrorist attack and instructed him to whom he should turn in order to bring the
         terrorist attack into being. At the same time, the Defendant instructed his people to
         assist Radaida in perpetrating the terrorist attack, and they indeed acted in accordance
         with the Defendant’s orders.

         According to law, solicitation, if it is accompanied by an act of perpetration such as
         planning or giving orders for perpetration – becomes participation in the commission
         of the crime, not merely solicitation. As the Honorable Presiding Justice A. Barak
         wrote in the above mentioned Criminal Appeal 2796/95 in the matter of John Does:
         “the more intensive the solicitation of the solicitor and the more it involves only
         not only activities on the mental level but also on the factual level, the closer the
         solicitor moves to being a joint perpetrator.” (See Section 161 above). Therefore,
         in the same case of the minor known as “T”, he was convicted as a joint perpetrator
         and not simply for solicitation because he participated in the planning of the crime
         and was “the leader and first of them all”.

         In this case as well, the liability of the Defendant as the joint perpetrator is derived
         from his status as leader and commander, and from the orders that he gave to Radaida
         and to his people with regard to the manner in which the terrorist attack should be
         perpetrated. The Defendant was not only an accessory to the terrorist attack and did
         not only solicit its perpetration by encouraging Radaida to act as he did, but rather the
         Defendant was




                                                            [Stamp] Gilmore 00835 [continued]
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         part of a joint plan to perpetrate this terrorist attack and he effectively gave orders for
         it. We have explained the significance of orders of this kind in Subsection (A) above,
         and therefore the Defendant should also be convicted for this terrorist attack as a joint
         perpetrator in premeditated murder.

    C.   Murderous Terrorist Attack in the Seafood Market Restaurant in Tel Aviv

         This terrorist attack was carried out on March 5, 2002, in the Seafood Market
         restaurant in Tel Aviv by the terrorist Ibrahim Hasouna, who murdered Yosef Habi,
         of blessed memory; Elihu Dahan, of blessed memory; and Staff Sergeant Major
         Barakat, of blessed memory, during the attack. From the evidence that was submitted
         it becomes apparent that this terrorist attack was planned and brought into being by
         close associates of the Defendant, Ahmed Barghouti, Abu Hamis and Aweis, and that
         Ahmed Barghouti reported to the Defendant before the terrorist attack was carried out
         that it was about to happen. The Defendant authorized the terrorist attack although he
         instructed that it not take place within Israel but rather in a settlement or at the
         military check point in the West Bank. Immediately after the terrorist attack was
         carried out, Ahmed Barghouti called the Defendant in order to report to him about it.
         The Defendant ordered Aweis not to take responsibility for the terrorist attack since it
         was carried out within Israel.

         From the evidence in accordance with that which has been set forth above, the
         responsibility of the Defendant for this terrorist attack as a joint perpetrator is clear.
         The Defendant was a partner in planning the terrorist attack, gave orders with respect
         to the location and approved it. The fact that the perpetrators did not follow the orders
         of the Defendant does not detract from his criminal responsibility. As was explained
         above, the responsibility of the Defendant for this terrorist attack is not only for
         solicitation, because he also gave approval for the perpetrating murderous terrorist
         attack, which is an act of participation in committing the crime. The Defendant was
         the part of the plan for the terrorist attack, and gave orders to the people perpetrating
         the terrorist attack regarding its location, and also received a report from them
         immediately after the attack. The leader of a criminal group who authorizes murder
         and gives orders for its commission bears responsibility for murder as a joint
         perpetrator, not only for solicitation, in accordance with the law explained above.
         Therefore, in this case, too, the Defendant should be convicted of responsibility as a
         joint perpetrator for the premeditated murder of three people.




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     D.   The Attempted Terrorist Attack Near The Malha Mall In Jerusalem

          The day before this terrorist attack, its perpetrator, Jihad Jawara, informed the
          Defendant of his plan to explode a car bomb, and the Defendant authorized the
          terrorist attack but ordered him not perpetrate it within Israel but rather on the West
          Bank. In fact, the two terrorists exploded with a car bomb outside of the Malha Mall
          in Jerusalem on their way to perpetrate in the attack. In this terrorist attack, the
          Defendant was assisted by his close associate Ahmed Barghouti.

          Here, too, the responsibility of the Defendant is not simply for solicitation but rather
          as a joint perpetrator who gave the “green light for murder” together with orders for
          perpetration. Since the terrorist attack failed, the Defendant is to be convicted, in this
          case, for the crime of attempted murder.


Part V:      Summation
177. The Defendant declared during summations: “I am opposed to the killing of innocent
     people, I am against the murder of children and women. We need




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     to oppose the occupation of the territories, I am against military operations or
     suicides. It is not true that I am responsible for the fact that there were suicides” (on
     page 24 of the session that was dated September 29, 2003). However, in actuality it has
     been proven beyond all doubt that the Defendant has taken part in and led murderous
     activities with the goal of harming innocent people – both in the areas of Judea and
     Samaria and within the “Green Line” – including suicide terrorist attacks.

178. The Defendant chose not to defend himself against the serious charges that arise from the
     evidence that has accumulated against him, in accordance with that which has been set
     forth above. The claims that he raised during the Court sessions and his summation focus
     on the question of this Court’s authority to judge this case and the justification for what he
     considers opposition to Israeli occupation. We related to these claims of the Defendant in
     the Preliminary Decision that was handed down on January 19, 2003 – as far as the are
     claims that are not limited only to the political level. We have rejected these claims and
     ruled as follows:

     a. Courts in Israel are authorized to judge “external crimes” against the security of the
        state, or against Israeli citizens or residents, wherever they may be perpetrated in
        accordance with Sections 13 (a) – (b) of the Penal Code, 5737 – 1977, although most of
        the crimes that are the subject of the Indictment are “internal crimes” that relate to
        terrorist attacks that have been carried out within Israel.

     b. The Law on Perpetration of the Interim Agreement on the West Bank and the Gaza
        Strip (Jurisdictional authorities and other Provisions) 5756 – 1996, which validates the
        Israeli-Palestinian interim agreement with respect to the West Bank and Gaza Strip, as
        well as the Regulation 2, Extension of the Law of Emergency Regulations (Judea and
        Samaria and the Gaza Strip – Jurisdiction Over Offenses and Legal Aissistance), 5738
        – 1977) do not negate the authority of an Israeli Court to judge the external crimes or
        internal crimes attributed to the Defendant. These laws transfer to the Palestinian
        Authority the authority to judge Palestinians who committed a crime within its territory,
        but not for crimes against Israeli citizens or residents in the Territory of the State of
        Israel or in the areas of Judea and Samaria and the Gaza Strip.

     c. The Defendant does not have any immunity from the crimes with which he is charged
        in this Indictment even though he was serving as a member the Palestinian Legislative
        Council, for international law does not recognize immunity of this type.




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     d. Defendant is not entitled to the status of “prisoner of war” in accordance with the Third
        Geneva Convention, and therefore there is no reason not to try him for the crimes he
        committed as an illegal combatant. A person who acts outside of the framework of legal
        combat and against the rules of war, who is involved in perpetrating acts of terrorism
        for the purpose of injuring the civilian population without distinction exposes himself
        to the ordinary criminal sanctions of international criminal law, and is not entitled to
        any the protection provided by international law.

     e. Opposition to occupation, as claimed by the Defendant, is not justification in
        accordance with any law for acts of killing directed at innocent civilians. Acts of
        terrorism that violate the rules of war and do not distinguish between military targets
        and civilian targets are not considered recognized combat activities in accordance with
        the principles of international law, even if the goal is the removal of occupation – as
        claimed by the Defendant.

179. In conclusion: Considering all of the reasons that have been explained in this verdict, we
     did not find any legal basis for convicting the Defendant for the commission of the entire
     list of terrorist attacks that are the subject of this Indictment, and based on law, we convict
     him for the general crimes with which he is charged in the Indictment, and crimes of
     murder and attempted murder in four of the terrorist attacks that are the subject of the
     Indictment (No. 3,




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     7, 12 and 36 in the appendix to the Indictment).

     On the basis of the infrastructure of evidence and the legal analysis above, we convict the
     Defendant for the following crimes:

     a. Premeditated murder in accordance with Section 300 (a) (2) of the Penal Code,
        5737 – 1977 (for three cases in which five people were murdered);

     b. Attempted murder in accordance with Section 305 (1) of the Penal Code, 5737 –
        1977;

     c. Activity in a terrorist organization in accordance with Section 2 of the Prevention
        of Terrorism Ordinance, 5708 – 1948;

     d. Membership in a terrorist organization in accordance with Section 3 of the
        Prevention of Terrorism Ordinance, 5708 – 1948;

     e. Crime of conspiracy to commit a crime in accordance with Section 499 of the Penal
        Code, 5737 – 1977 was also proven with regard to four terrorist attacks for which the
        Defendant was convicted and is subsumed within the principal crimes of premeditated
        murder and attempted murder.

Handed down and announced this day, 29 Iyar 5764 (May 20, 2004) in the presence of
Counsel for the Prosecution, the Public Defender and the Defendant.




Sarah Sirota, Vice President        Avraham Tal, Judge          Dr. Amiram Benyamini, Judge
     Presiding Judge




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